        Case 2:19-cv-05230-JP       Document 134       Filed 11/04/24     Page 1 of 180




                         UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF PENNSYLVANIA


 RALPH “TREY” JOHNSON,
 STEPHANIE KERKELES,
 NICHOLAS LABELLA,
 CLAUDIA RUIZ,                                     Civil Action No. 19-cv-5230 (JP)
 JACOB WILLEBEEK-LEMAIR,
 ALEXA COOKE,                                      THIRD AMENDED COMPLAINT –
 RHESA FOSTER,                                     Class and Collective Action
 ZACHARY HARRIS,
 MATTHEW SCHMIDT,                                  Jury Trial Demanded
 TAMARA SCHOEN STATMAN,
 GINA SNYDER,
 ESTEBAN SUAREZ and
 LIAM WALSH,
 individually and on behalf of all persons
 similarly situated,

                              Plaintiffs,

       v.

 THE NATIONAL COLLEGIATE ATHLETIC
 ASSOCIATION, a/k/a the NCAA, and the
 following NCAA Division I Member Schools
 as representatives of a Defendant Class of
 all private and semi-public NCAA Division I
 Member Schools:i
 CORNELL UNIVERSITY,
 FORDHAM UNIVERSITY,
 LAFAYETTE COLLEGE,
 SACRED HEART UNIVERSITY,
 VILLANOVA UNIVERSITY,
 UNIVERSITY OF OREGON,
 TULANE UNIVERSITY,
 UNIVERSITY OF NOTRE DAME,
 UNIVERSITY OF ARIZONA,
 PURDUE UNIVERSITY,
 DUKE UNIVERSITY and
 MARIST COLLEGE,
                      Defendants.




   i   NCAA Division I Member Schools are sued in their respective incorporated name and/or in
the name of their respective Board of Regents, Board of Trustees or governing body.


                                                                 www.StudentAthletePay.com
      Case 2:19-cv-05230-JP       Document 134         Filed 11/04/24   Page 2 of 180




                                TABLE OF CONTENTS

INTRODUCTION …………………………………………….....………………………………..….. 1

JURISDICTION AND VENUE ………………………..………...………………………….......… 4

THE PARTIES ………………………………………………………..………….…………………… 5

FACTS ………………………………….……………………………….………………………………8

 I.   STUDENT ATHLETES ARE EMPLOYEES UNDER THE TEST SET FORTH BY THE THIRD
      CIRCUIT…………...……….…………….……………………………………………………...8

       A.   The Applicable Employee Test……….……………………………...……………… 8

                i.   Johnson v. NCAA Factor No. 1 Collegiate athletes “perform services
                     for another party”.…………..……………………………………………… 9

               ii.   Johnson v. NCAA Factor No. 2 Collegiate athletes perform their
                     services “necessarily and primarily for the {other party’s}
                     benefit”……………………………………………………………….……… 10

              iii.   Johnson v. NCAA Factor No. 3 Collegiate athletes perform services
                     under the control or right of control of their
                     college…………………………………………………..………………..….. 29

              iv.    The Common Law Test for Agency………………………………….….. 36

               v.    Skill Required……………………………………………………………….. 37

              vi.    Source of instrumentalities and tools……………………………………. 39

             vii.    Location of the work…………………….………………………………….. 42

             viii.   Duration of relationship between parties………………………………. 43

              ix.    Whether the hiring party has the right to assign additional projects to
                     the hired party……………………………………………..……………….. 46

               x.    Extent of hired party/s discretion over when and how long to work.. 46

              xi.    Method of payment ………………………………………………………… 46

             xii.    Hired party’s role in hiring any paying assistants ……………..……. 52

             xiii.   Whether the work is part of the regular business of the hiring

                     Party…………………………………………………………………………. 52

             xiv.    Other factors ………………………………..……………………………... 53


                                                -ii-
                                                                www.StudentAthletePay.com
        Case 2:19-cv-05230-JP             Document 134          Filed 11/04/24   Page 3 of 180




                   xv.        Johnson v. NCAA Factor No. 4 Collegiate athletes perform their
                              services in return for “express” or “implied” compensation or “in-kind
                              benefits”………………………………………………………………………. 54

  II. THE COMPARISON TO WORK-STUDY PARTICIPANTS….……………………………….… 55

  III. DEFENDANTS ARE JOINT EMPLOYERS OF STUDENT ATHLETES ………………………… 64

         A.   NCAA Bylaws Apply to All Student Athletes on An Equal Basis ……………... 64

         B.   The Role(s) of NCAA Member Schools in Handing Down NCAA Bylaws …….64

         C.   The Role(s) of NCAA Member Schools in Enforcing NCAA Bylaws …….…… 67

         D. The Role(s) of NCAA Staff in Enforcing NCAA Bylaws …...……..………..…… 68

         E.   The Applicable Joint Employment Test ……………….……….…………….…… 74

              1.     The Enterprise Rent-A-Car Joint Employment Test …………..….…..…… 75

                         i.   Enterprise Rent-A-Car Factor No. 1…………..….…..…….…….……… 76

                         ii. Enterprise Rent-A-Car Factor No. 2…………..….…..…….…….……… 79

                         iii. Enterprise Rent-A-Car Factor No. 3…………..….…..…….…….……… 82

                         iv. Enterprise Rent-A-Car Factor No. 4…………..….…..…….…….……… 84

  IV.    STUDENT ATHLETES ARE NOT EXEMPT FROM THE PROTECTIONS
         OF WAGE AND HOUR LAWS ……………………………………………………….………… 86

  V.     DEFENDANTS’ VIOLATIONS OF THE WAGE AND HOUR LAWS ARE WILLFUL ……….… 87

         A.   The Livers v. NCAA Willfulness Test ……………….…….……………………..… 87

              1.     Defendants Never Relied upon DOL FOH § 10b03(e)
                     in Failing to Classify and Pay Student Athletes As Employees ……….…. 89

              2.     At All Relevant Times, Defendants Understood
                     That FOH § 10b03(e) Applies to Student-Run Groups
                     (incl. Interscholastic Club Sports), But Not to NCAA Sports …...........….. 90

              3.     At All Relevant Times, Defendants Understood
                     That Student Athletes Meet Employee Criteria
                     More Than Students Employed in Work Study …………………………….. 96

PLAINTIFFS’ PROPOSED FLSA COLLECTIVE ACTION ALLEGATIONS ……………... 96

PLAINTIFFS’ PROPOSED PMWA CLASS ACTION ALLEGATIONS ……………............. 99

  I.     CLASS DEFINITIONS …………………………………………….…………………….……. 99

                                                        -iii-
                                                                         www.StudentAthletePay.com
       Case 2:19-cv-05230-JP   Document 134     Filed 11/04/24   Page 4 of 180




  II. NUMEROSITY AND IMPRACTICALITY OF JOINDER ……………………………………….100

  III. COMMON QUESTIONS OF LAW AND FACT ……………………………………………….. 101

  IV. TYPICALITY OF CLAIMS AND RELIEF SOUGHT ………………………………………….. 102

  V.    ADEQUACY OF REPRESENTATION …………………………………………………………103

  VI. REQUIREMENTS OF RULE23(B) …………………………………………………………... 103

        A.   Rule 23(b)(1)……………….…….……………………..…………………………….. 104

        B.   RULE 23(B)(2)………………………………………………………………………….. 104

        C.   RULE 23(B)(3) …………………………………………………………………………. 104

PLAINTIFFS’ PROPOSED NYLL CLASS ACTION ALLEGATIONS……………………….105

  I.    CLASS DEFINITIONS …………………………………………….…………………………. 105

  II. NUMEROSITY AND IMPRACTICALITY OF JOINDER …………………………...…………. 107

  III. COMMON QUESTIONS OF LAW AND FACT ………………………………………..……... 108

  IV. TYPICALITY OF CLAIMS AND RELIEF SOUGHT ……………………………………..…... 109

  V.    ADEQUACY OF REPRESENTATION …………………………………………………...…… 109

  VI. REQUIREMENTS OF RULE23(B) …………………………………………………………... 110

        A.   Rule 23(b)(1)……………….…….……………………..…………………………….. 110

        B.   RULE 23(B)(2)………………………………………………………………………….. 111

        C.   RULE 23(B)(3) …………………………………………………………………………. 111

PLAINTIFFS’ PROPOSED CMWA CLASS ACTION ALLEGATIONS……………………..112

  I.    CLASS DEFINITIONS …………………………………………….…………………………. 112

  II. NUMEROSITY AND IMPRACTICALITY OF JOINDER …………………………...………….113

  III. COMMON QUESTIONS OF LAW AND FACT ………………………………………..……... 114

  IV. TYPICALITY OF CLAIMS AND RELIEF SOUGHT ……………………………………..…... 115

  V.    ADEQUACY OF REPRESENTATION …………………………………………………...…… 116

  VI. REQUIREMENTS OF RULE23(B) …………………………………………………………... 116

        A.   Rule 23(b)(1)……………….…….……………………..…………………………….. 116

                                         -iv-
                                                         www.StudentAthletePay.com
       Case 2:19-cv-05230-JP   Document 134    Filed 11/04/24   Page 5 of 180




        B.   RULE 23(B)(2)………………………………………………………………………….. 117

        C.   RULE 23(B)(3) …………………………………………………………………………. 118

PLAINTIFFS’ PROPOSED NCWHA CLASS ACTION ALLEGATIONS………………….. 118

  I.    CLASS DEFINITIONS …………………………………………….………………………... 118

  II. NUMEROSITY AND IMPRACTICALITY OF JOINDER ………………………..……………..120

  III. COMMON QUESTIONS OF LAW AND FACT ………………………………………..……... 121

  IV. TYPICALITY OF CLAIMS AND RELIEF SOUGHT ……………………………………..…... 122

  V.    ADEQUACY OF REPRESENTATION …………………………………………………...…… 122

  VI. REQUIREMENTS OF RULE23(B) …………………………………………………………... 123

        A.   Rule 23(b)(1)……………….…….……………………..…………………………….. 123

        B.   RULE 23(B)(2)………………………………………………………………………….. 124

        C.   RULE 23(B)(3) …………………………………………………………………………. 125

PLAINTIFFS’ PROPOSED OMWEC CLASS ACTION ALLEGATIONS………………….. 125

  I.    CLASS DEFINITIONS ……………………………………………...………………….……. 125

  II. NUMEROSITY AND IMPRACTICALITY OF JOINDER ………………………..…………….127

  III. COMMON QUESTIONS OF LAW AND FACT ………………………………………..…….. 128

  IV. TYPICALITY OF CLAIMS AND RELIEF SOUGHT …………………………………….…... 129

  V.    ADEQUACY OF REPRESENTATION …………………………………………………….… 129

  VI. REQUIREMENTS OF RULE23(B) ………………………………………………………..... 130

        A.   Rule 23(b)(1)……………….…….……………………..……………………………. 130

        B.   RULE 23(B)(2)……………………………………………………………………….... 130

        C.   RULE 23(B)(3) ………………………………………………………………………... 131

PLAINTIFFS’ PROPOSED LLWCL CLASS ACTION ALLEGATIONS…………………... 132

  I.    CLASS DEFINITIONS …………………………………………….………..…………….…. 132

  II. NUMEROSITY AND IMPRACTICALITY OF JOINDER …………………………...………… 133

  III. COMMON QUESTIONS OF LAW AND FACT …………………………………………...….. 134

                                         -v-
                                                        www.StudentAthletePay.com
       Case 2:19-cv-05230-JP   Document 134     Filed 11/04/24   Page 6 of 180




  IV. TYPICALITY OF CLAIMS AND RELIEF SOUGHT …………………………………….….... 135

  V.    ADEQUACY OF REPRESENTATION ……………………………………………………..… 136

  VI. REQUIREMENTS OF RULE23(B) ……………………………………………………......... 136

        A.   Rule 23(b)(1)……………….…….……………………..…………………………….. 136

        B.   RULE 23(B)(2)………………………………………………………………………….. 137

        C.   RULE 23(B)(3) …………………………………………………………………………. 137

PLAINTIFFS’ PROPOSED AMWA CLASS ACTION ALLEGATIONS……………………. 138

  I.    CLASS DEFINITIONS …………………………………………….…………………………. 138

  II. NUMEROSITY AND IMPRACTICALITY OF JOINDER …………………………...………… 140

  III. COMMON QUESTIONS OF LAW AND FACT ………………………………………..……... 140

  IV. TYPICALITY OF CLAIMS AND RELIEF SOUGHT ……………………………………..…... 141

  V.    ADEQUACY OF REPRESENTATION …………………………………………………...…… 142

  VI. REQUIREMENTS OF RULE23(B) …………………………………………………………... 143

        A.   Rule 23(b)(1)……………….…….……………………..…………………………….. 143

        B.   RULE 23(B)(2)………………………………………………………………………….. 143

        C.   RULE 23(B)(3) …………………………………………………………………………. 144

PLAINTIFFS’ PROPOSED IMWL CLASS ACTION ALLEGATIONS…………………….. 145

  I.    CLASS DEFINITIONS …………………………..…………………….……………………. 145

  II. NUMEROSITY AND IMPRACTICALITY OF JOINDER …………………………..………….146

  III. COMMON QUESTIONS OF LAW AND FACT ………………………………………..……... 147

  IV. TYPICALITY OF CLAIMS AND RELIEF SOUGHT ……………………………………..…... 148

  V.    ADEQUACY OF REPRESENTATION …………………………………………………...…… 149

  VI. REQUIREMENTS OF RULE23(B) …………………………………………………………... 149

        A.   Rule 23(b)(1)……………….…….……………………..…………………………….. 149

        B.   RULE 23(B)(2)………………………………………………………………………….. 150

        C.   RULE 23(B)(3) …………………………………………………………………………. 150

                                         -vi-
                                                         www.StudentAthletePay.com
     Case 2:19-cv-05230-JP   Document 134       Filed 11/04/24   Page 7 of 180




COUNT I | VIOLATIONS OF THE FLSA ………………………………………………………....... 151

COUNT II | VIOLATIONS OF THE PENNSYLVANIA MINIMUM WAGE ACT ….……………...…. 152

COUNT III | PENNSYLVANIA UNJUST ENRICHMENT ………………………………….…...….. 153

COUNT IV | FAILURE TO PAY WAGES FOR ALL HOURS WORKED UNDER NYLL ………….. 155

COUNT V | FAILURE TO PAY WAGES FOR ALL HOURS WORKED IN VIOLATION OF NYLL

§191……………………………………………………………………………………………………. 156

COUNT VI | NEW YORK UNJUST ENRICHMENT....................…………………………..….….. 157

COUNT VII | VIOLATIONS OF THE CONNECTICUT MINIMUM WAGE ACT……………………. 158

COUNT VIII | CONNECTICUT UNJUST ENRICHMENT …..………………………………….… 159

COUNT IX | VIOLATIONS OF THE NORTH CAROLINA WAGE AND HOUR ACT …..…………… 160

COUNT X | NORTH CAROLINA UNJUST ENRICHMENT ....................………………………….. 162

COUNT XI | VIOLATIONS OF THE OREGON MINIMUM WAGE AND EMPLOYMENT CONDITIONS
LAW …..………………..………………..………………..………………..…………..……………… 163

COUNT XII | OREGON UNJUST ENRICHMENT ....................…………………………..………..164

COUNT XIII | VIOLATIONS OF THE LOUISIANA’S LABOR AND WORKER’S COMPENSATION
LAWS …..………………..………………..………………..………………..…………..……………165

COUNT XIV | LOUISIANA UNJUST ENRICHMENT....................…………………………..……..166

COUNT XV | VIOLATIONS OF THE ARIZONA MINIMUM WAGE ACT……………………..……..167

COUNT XVI | ARIZONA UNJUST ENRICHMENT…………………….……………………..……..168

COUNT XVII | VIOLATIONS OF THE INDIANA MINIMUM WAGE LAW……………………...…..169

COUNT XVIII | INDIANA UNJUST ENRICHMENT………………………..…………………….....171

PRAYER FOR RELIEF ……………………………………………………………………………. 172

JURY DEMAND ………………………………………………………………………………….… 173




                                        -vii-
                                                         www.StudentAthletePay.com
      Case 2:19-cv-05230-JP          Document 134       Filed 11/04/24     Page 8 of 180




                                      INTRODUCTION

       1.      Student Athletes – engaged in athletic work that is unrelated to academics;

supervised by full-time, well-paid coaching and training staff; and integral to the billion

dollar Big Business of NCAA sports – are student employees. They deserve to be paid fairly

pursuant to national wage laws.

       2.      These student athletes “collectively generate billions of dollars in revenues for

colleges every year” and “end up with little or nothing” for their labor. Nat'l Collegiate

Athletic Ass'n v. Alston, 594 U.S. 69, 110 (2021) (Kavanaugh, J., concurring). As they are not

paid, “enormous sums of money flow to seemingly everyone” involved in collegiate sports

“except the student athletes.” Id.

       3.      The Third Circuit, in evaluating the case at hand, described “athletes in the

collegiate context” as “sui generis” when it comes to their employment status. See Johnson

v. Nat'l Collegiate Athletic Ass'n, 108 F.4th 163, 177 (3d Cir. 2024).

       4.      The collegiate athlete is not analogous to a prisoner or an unpaid intern, as

the NCAA has previously argued. Rather, “the educational and vocational benefits of college

athletics . . . are all exactly the kinds of skills one would typically acquire in a work

environment,” “interscholastic athletics are not part of any academic curriculum,” and the

collegiate sports careers of these athletes “are actually detrimental to their academic

performance.” Id. at 180. Nor is a “history and tradition of amateurism” a sufficient reason

to allow Defendants to fail to pay these athletes in violation of wage laws. Id. at 181.

       5.      The Johnson Court therefore set forth a four-part test “to identify athletes

whose play is also work.” Id. at 178. As is made abundantly clear by this Complaint,

collegiate athletes perform services for the NCAA and their schools necessarily and




                                               -1-
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       Case 2:19-cv-05230-JP         Document 134         Filed 11/04/24      Page 9 of 180




primarily for the benefit of those institutions and under their control in return for express

and implied compensation and in-kind benefits. Collegiate athletes are therefore employees.

       6.      Further, collegiate athletes are employees of their schools and the NCAA as

much as, and arguably more than, fellow students employed in Work Study programs.1

       7.      In fact, under NCAA rules, NCAA Division I (“D1”) member schools treat

Student Athletes like students employed in Work Study programs by, among other things,

requiring adult supervisors to maintain timesheets for both. See NCAA D1 Bylaw

17.1.7.3.4. NCAA D1 member schools just refuse to pay Student Athletes the same as

students employed in Work Study.

       8.      Notably, student ticket takers, seating attendants and food concession workers

at NCAA contests are paid on a minimum wage scale averaging $10.53 to $13.36 per hour

under Work Study.2 At the same time, the Student Athletes, whose athletic work create those

Work Study jobs at the ticket gate, in the seats and at concession stands, are paid nothing.

       9.      Accordingly, Plaintiffs Ralph “Trey” Johnson, Stephanie Kerkeles, Nicholas

Labella, Claudia Ruiz, Jacob Willebeek-Lemair, Alexa Cooke, Rhesa Foster, Zachary Harris,

Matthew Schmidt, Tamara Schoen, Gina Snyder, Esteban Suarez and Liam Walsh

(together, “Plaintiffs”) through undersigned counsel, individually and on behalf of all

persons similarly situated, files this Class and Collective Action Complaint against

Defendants NCAA and private and semi-public NCAA D1 member schools seeking all

available relief under the Fair Labor Standards Act, 29 U.S.C. §§ 201 et seq. (“FLSA”), the

Pennsylvania Minimum Wage Act, 43 P.S. §§ 333.101 et seq. (“PMWA”),the New York Labor


   1  “Work study,” as herein referenced, includes all student employment by a college or university,
whether federally subsidized or not and irrespective of student financial need or assistance.

   2   See Bureau of Labor Statistics, May 2018 National Industry-Specific Occupational Employment
and Wage Estimates – NAICS 611300 – Colleges, Universities, and Professional Schools, e.g.,
Occupation Codes 35-3020, 39-3000, 39-3031 and 39-3090.

                                                 -2-
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       Case 2:19-cv-05230-JP         Document 134         Filed 11/04/24      Page 10 of 180




Law, N.Y. Lab. Law §§ 191 et. seq. (“NYLL”), the Connecticut Minimum Wage Act, C.G.S.A.

§§ 31-58, et. seq. (“CMWA”), the North Carolina Wage and Hour Act, N.C.G.S.A. Ch. 95, Art.

2A, et. seq. (“NCWHA”), Oregon Minimum Wage and Employment Conditions Law, ORS

§653.010, et. seq. (“OMWEC”), Louisiana’s Labor and Worker’s Compensation Laws, La.

Stat. Ann. § 23:631, et. seq. (“LLWCL”), the Arizona Minimum Wage Act, A.R.S. §23-362, et.

seq. (“AMWA”) and the Indiana Minimum Wage Law Indiana Code Chapter 22–2–2

(“IMWL”).

        10.    The allegations herein are made based upon: (i) federal regulations governing

Work Study; (ii) NCAA and Villanova policies published in their own documents and websites

which, upon information and belief, are representative of all NCAA D1 member schools;

(iii) NCAA and Villanova admissions in Livers (Phillips) v. NCAA, 2:17-cv-4271 (E.D. Pa.

Sept. 26, 2017),3 which, upon information and belief, are representative of all NCAA D1

member schools; (iv) NCAA President Mark Emmert’s 2014 testimony before a U.S. Senate

Committee; and (v) personal knowledge or information and belief.

        11.    To be clear, like most Student Athletes, Plaintiffs thoroughly enjoy(ed) and

deeply value(d) the experience of playing for their coaches and schools. This Complaint does

not disparage that experience, people closely associated with that experience or their

schools.

        12.    This Complaint merely recognizes that the NCAA athletic experience, by

comparison to Work Study, constitutes work for which Student Athletes deserve to be paid

under federal and state laws that override the NCAA’s self-defined amateurism.




   3   The parties in Livers (Phillips) v. NCAA stipulated to voluntary dismissal entered April 2, 2019
(ECF 138).

                                                  -3-
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      Case 2:19-cv-05230-JP        Document 134      Filed 11/04/24    Page 11 of 180




                              JURISDICTION AND VENUE

       13.     This Court has subject matter jurisdiction over Plaintiffs’ FLSA claim under

29 U.S.C. § 216(b) and 28 U.S.C. § 1331.

       14.     This Court has supplemental jurisdiction over Plaintiffs’ state law claims

under 28 U.S.C. § 1367 because those claims derive from the same nucleus of operative facts

as Plaintiffs’ FLSA claim.

       15.     Venue is proper in this District pursuant to 28 U.S.C. § 1391. Each of the

Defendants can be found, resides, has an agent, or transacts business in this District, and

the unlawful conduct has been, or will be, carried on in part by one or more of the

Defendants within this District.

       16.     Two (2) NCAA D1 member schools are in this District: Lafayette College and

Villanova University. Other member schools compete against those located in this District

in the recruitment of Student Athletes residing in this District, and in NCAA contests held

in this District.

       17.     The NCAA has entered into multi-year, multi-billion dollar agreements with

ESPN, CBS and Turner Sports to broadcast NCAA contests between NCAA D1 member

schools, including broadcasts from and into this District, and the NCAA has distributed, and

is to distribute, shares of these broadcasting fees to NCAA D1 member schools, including to

those in this District.

       18.     In addition to shares of fees from the NCAA’s broadcasting agreements,

NCAA D1 member schools, including those in this District, receive shares of fees from multi-

year, multi-million dollar agreements entered into jointly as part of an NCAA conference, or

individually, with television and radio networks to broadcast NCAA contests between

NCAA D1 member schools, including broadcasts from and into this District.



                                             -4-
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      Case 2:19-cv-05230-JP         Document 134        Filed 11/04/24      Page 12 of 180




       19.     NCAA D1 member schools aim to increase applications from prospective

students from this District through promotion of their NCAA sports programs, and through

advertisements during broadcasts of NCAA contests into this District.

       20.     In the past decade, the NCAA has conducted, and NCAA member schools have

participated in, NCAA D1 post-season and championship segments in this District,

including: Men’s Basketball (2013 Second and Third Rounds, 2016 East Regional, 2022 East

Regional); Women’s Basketball (2011 Regional); Men’s Hockey (2014 Championship, 2022

Midwest Regional, 2023 Midwest Regional); Men’s Soccer (2013 and 2017 Championships);

Men’s Lacrosse (2013, 2015, 2016, 2019 and 2023 Championships); Women’s Lacrosse (2015

and 2016 Championships); and Wrestling (2011 Championship). Furthermore, NCAA

member schools annually participate in the Penn Relays, the oldest track and field

competition in the nation, in this district.

       21.     NCAA member schools engage in other commercial conduct in this District,

including: (i) application pitches to prospective students in this District; (ii) collection of

application fees, tuition and room and board from residents of this District; (iii) fundraising

appeals to, and collections from, alumni and donors in this District; and (iv) in-store and

internet sales of collegiate- and NCAA-licensed products in this District.

                                         THE PARTIES

       22.     Plaintiff Ralph “Trey” Johnson is an individual residing in Tampa, Florida.

Johnson worked for Defendants as a Student Athlete on Villanova’s NCAA Football Team

from June 2013 to November 18, 2017. Johnson subsequently worked for the Pittsburgh

Steelers, and then Denver Broncos, of the National Football League, and currently works for

the Winnipeg Blue Bombers of the Canadian Football League. Johnson’s written consent to

be a Plaintiff in this action pursuant to 29 U.S.C. § 216(b) is attached hereto as Exhibit A.


                                                -5-
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     Case 2:19-cv-05230-JP        Document 134        Filed 11/04/24    Page 13 of 180




       23.    Plaintiff Stephanie Kerkeles is an individual residing in Arnold, Maryland.

Kerkeles worked for Defendants as a Student Athlete on Fordham University’s NCAA

Swimming and Diving Team from 2016 to 2020. Kerkeles’s written consent to be a Plaintiff

in this action pursuant to 29 U.S.C. § 216(b) is attached hereto as Exhibit A.

       24.    Plaintiff Nicholas Labella is an individual residing in New York, New York.

Labella worked for Defendants as a Student Athlete on Fordham University’s NCAA

Baseball Team from 2018 to 2019. Labella’s written consent to be a Plaintiff in this action

pursuant to 29 U.S.C. § 216(b) is attached hereto as Exhibit A.

       25.    Plaintiff Claudia Ruiz is an individual residing in Glen Head, New York. Ruiz

worked for Defendants as a Student Athlete on Sacred Heart University’s NCAA Tennis

Team from 2014 to 2018. Ruiz’s written consent to be a Plaintiff in this action pursuant to

29 U.S.C. § 216(b) is attached hereto as Exhibit A.

       26.    Plaintiff Jacob Willebeek-Lemair is an individual residing in Ithaca, New

York. Willebeek-Lemair worked for Defendants as a Student Athlete on Cornell University’s

NCAA Soccer Team from 2017 to 2018. Willebeek-Lemair’s written consent to be a Plaintiff

in this action pursuant to 29 U.S.C. § 216(b) is attached hereto as Exhibit A.

       27.    Plaintiff Alexa Cooke is an individual residing in Easton, Pennsylvania.

Cooke worked for Defendants as a Student Athlete on Lafayette College’s NCAA Tennis

Team from 2017 to 2021. Cooke’s written consent to be a Plaintiff in this action pursuant to

29 U.S.C. § 216(b) is attached hereto as Exhibit A.

       28.    Plaintiff Rhesa Foster is an individual residing in Clovis, California. Foster

worked for Defendants as a Student Athlete on the University of Oregon’s NCAA Track and

Field Team from 2016 to 2021. Foster’s written consent to be a Plaintiff in this action

pursuant to 29 U.S.C. § 216(b) is attached hereto as Exhibit B.



                                             -6-
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     Case 2:19-cv-05230-JP        Document 134        Filed 11/04/24     Page 14 of 180




       29.    Plaintiff Zachary Harris is an individual residing in New Orleans, Louisiana.

Harris worked for Defendants as a Student Athlete on Tulane University’s NCAA Football

Team from 2014 to 2018. Harris’s written consent to be a Plaintiff in this action pursuant to

29 U.S.C. § 216(b) is attached hereto as Exhibit B.

       30.    Plaintiff Matthew Schmidt is an individual residing in Chicago, Illinois.

Schmidt worked for Defendants as a Student Athlete on the University of Notre Dame’s

NCAA Lacrosse Team from 2017 to 2021. Schmidt’s written consent to be a Plaintiff in this

action pursuant to 29 U.S.C. § 216(b) is attached hereto as Exhibit B.

       31.    Plaintiff Tamara Schoen Statman is an individual residing in Phoenix,

Arizona. Schoen Statman worked for Defendants as a Student Athlete on the University of

Arizona’s Softball Team from 2015 to 2019. Schoen Statman’s written consent to be a

Plaintiff in this action pursuant to 29 U.S.C. § 216(b) is attached hereto as Exhibit B.

       32.    Plaintiff Gina Snyder is an individual residing in Jacksonville, Florida.

Snyder worked for Defendants as a Student Athlete on Purdue University’s Softball Team

from 2014 to 2017 and University of Arizona’s Softball Team from 2017 to 2019. Snyder’s

written consent to be a Plaintiff in this action pursuant to 29 U.S.C. § 216(b) is attached

hereto as Exhibit B.

       33.    Plaintiff Esteban Suarez is an individual residing in Los Angeles, California.

Suarez worked for Defendants as a Student Athlete on Duke University’s Track and Field

Team from 2016 to 2020. Suarez’s written consent to be a Plaintiff in this action pursuant to

29 U.S.C. § 216(b) is attached hereto as Exhibit B.

       34.    Plaintiff Liam Walsh is an individual residing in New York, New York. Walsh

worked for Defendants as a Student Athlete on Marist College’s NCAA Lacrosse Team from

2014 to 2018. Walsh’s written consent to be a Plaintiff in this action pursuant to 29 U.S.C. §

216(b) is attached hereto as Exhibit B.

                                              -7-
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      Case 2:19-cv-05230-JP         Document 134        Filed 11/04/24     Page 15 of 180




          35.   Defendants NCAA and NCAA D1 member schools maintain principal offices as

identified in Exhibit C attached hereto. Defendants jointly operate the billion dollar Big

Business of NCAA sports.

          36.   Defendants jointly employed Plaintiffs and have jointly employed, and

continue to jointly employ, similarly situated persons within the meaning of 29 U.S.C. §

203(g).

          37.   Defendants have been, and continue to be, enterprises engaged in commerce

within the meaning of 29 U.S.C. §§ 203(r) and (s), which employ individuals engaged in

commerce and to which minimum wage provisions of 29 U.S.C. § 206(a) apply. See 29 U.S.C.

§ 202(a).

                                             FACTS

I.        STUDENT ATHLETES ARE EMPLOYEES UNDER THE TEST SET FORTH BY THE THIRD
          CIRCUIT

          A.    The Applicable Employee Test

          38.   The Third Circuit, in evaluating the case at hand, described “athletes in the

collegiate context” as “sui generis” when it comes to their employment status. See Johnson,

108 F.4th at 177 (3d Cir. 2024).

          39.   The collegiate athlete is not analogous to a prisoner or an unpaid intern. See

id. at 180, 182; see also Vanskike v. Peters, 974 F.2d 806 (7th Cir. 1992), Glatt v. Fox

Searchlight Pictures, Inc., 811 F. 3d 528 (2d Cir. 2016). Rather, “the educational and

vocational benefits of college athletics . . . are all exactly the kinds of skills one would

typically acquire in a work environment,” “interscholastic athletics are not part of any

academic curriculum,” and the collegiate sports careers of these athletes “are actually

detrimental to their academic performance.” Johnson, 108 F.4th at 180. Nor is a “history




                                                -8-
                                                                   www.StudentAthletePay.com
     Case 2:19-cv-05230-JP         Document 134       Filed 11/04/24     Page 16 of 180




and tradition of amateurism” a sufficient reason to allow Defendants to fail to pay these

athletes in violation of wage laws. Id. at 181.

       40.    The Johnson Court therefore set forth a four-part test “to identify athletes

whose play is also work.” Id. at 178. This new test incorporates the common-law right of

control test in determining whether student athletes playing collegiate sports are employees

for the purpose of the FLSA. Id.

       41.    In doing so, the Third Circuit explicitly rejected the application of the test set

forth in Glatt, 811 F. 3d 528, which evaluated the employment status of unpaid interns.

Johnson, 108 F.4th at 180.

       42.    An analysis under this test demonstrates that Plaintiffs and the members of

the Proposed FLSA Collective (as defined at Paragraph 328 and following, infra,) the

Proposed Pennsylvania Class (as defined at Paragraph 339 and following, infra), the

Proposed New York Class (as defined at Paragraph 370 and following, infra), the Proposed

Connecticut Class (as defined at Paragraph 401 and following, infra), the Proposed North

Carolina class (as defined at Paragraph 432 and following, infra), the Proposed Oregon Class

(as defined at Paragraph 467 and following, infra), the Proposed Louisiana Class (as defined

at Paragraph 498 and following, infra), the Proposed Arizona Class (as defined at Paragraph

529 and following, infra), and the Proposed Indiana Class (as defined at Paragraph 492,

infra) are all “employees” of Defendants (as defined at Paragraph 560 and following, infra)

under the applicable law.

                     i.      Johnson v. NCAA Factor No. 1
                             Collegiate athletes “perform services for another party”

       43.    Plaintiffs were recruited or asked to play collegiate sports at their respective

colleges and universities.




                                              -9-
                                                                 www.StudentAthletePay.com
     Case 2:19-cv-05230-JP         Document 134       Filed 11/04/24     Page 17 of 180




       44.    Plaintiffs actually did work at their respective colleges and universities

through their participation in athletics at the behest of those institutions.

       45.    Plaintiffs were also performing services for the NCAA through their

participation in collegiate sports. In fact, “[t]he NCAA acknowledges that it controls the

market for college athletes.” Nat'l Collegiate Athletic Ass'n v. Alston, 594 U.S. 69, 109 (2021)

(Kavanaugh, J., concurring).

       46.    Plaintiffs, like other collegiate athletes, allowed the NCAA and their

respective colleges and universities to make money through television and streaming deals,

ticket sales, sponsorships, sales of branded and promotional items and sports gear, among

other revenue streams. Collegiate athletes “collectively generate billions of dollars in

revenues for colleges every year.” Id. (Kavanaugh, J., concurring) (emphasis in the original).

The services that collegiate athletes provide in the form of playing collegiate sports benefit

their institutions and the NCAA.

       47.    Collegiate athletes therefore perform services for the NCAA and its D1

member institutions.

                       ii.   Johnson v. NCAA Factor No. 2
                             Collegiate athletes perform their services “necessarily
                             and primarily for the [other party’s] benefit”

       48.    Plaintiffs’ participation in athletics was necessarily and primarily for the

benefit of the NCAA and the institutions they attended.

       49.    The Universities named in the Complaint all tout their commitment to their

educational missions. Notre Dame, for instance, describes its mission as “empowering

students to pursue, discover, and share knowledge, truth, and faith as a powerful means for

good.” University of Notre Dame, Mission and Vision,

https://enrollmentdivision.nd.edu/mission-and-

vision/#:~:text=Our%20Mission,a%20powerful%20means%20for%20good. Villanova’s

                                              -10-
                                                                 www.StudentAthletePay.com
      Case 2:19-cv-05230-JP          Document 134       Filed 11/04/24     Page 18 of 180




stated “primary goal is to educate the next generation of leaders, scholars and change

makers.” Villanova University, Mission and Ministry,

https://www1.villanova.edu/university/mission-ministry/education-advocacy.html

       50.        Duke University’s mission statement is over 200 words. It specifically

mentions providing “a superior liberal education to undergraduate students,” promoting

“intellectual environment built on a commitment to free and open inquiry,” “advanc[ing] the

frontiers of knowledge and contribut[ing] boldly to the international community of

scholarship,” curing disease, and advancing technology. Duke University, Duke

University's Mission & History, https://registrar.bulletins.duke.edu/about/mission-and-

history. It never mentions athletics or the responsibility of students to generate revenue

for the school.

       51.        In other words, students attend institutions of higher learning in pursuit of

an education. Instead, student athletes have their academic opportunities curtailed to

generate billions in uncompensated revenue through the work they perform for their

schools.

       52.        The billions of dollars in revenues the NCAA and its D1 institutions take in

yearly “flow to seemingly everyone except the student athletes. College presidents, athletic

directors, coaches, conference commissioners, and NCAA executives take in six- and seven-

figure salaries. Colleges build lavish new facilities. But the student athletes who generate

the revenues, many of whom are African American and from lower-income backgrounds,

end up with little or nothing.” Alston, 594 U.S. 69, 110 (2021) (Kavanaugh, J., concurring).

       53.        In response to an Interrogatory asking the NCAA and Villanova to describe

all academic or learning benefits from Student Athletes’ performances in NCAA sports, the

NCAA and Villanova identified no academic benefits. See Livers (Phillips) v. NCAA:

Defs.’ Resp. to Pl.’s First Set of Interrogs., at No. 3, attached hereto as Exhibits H and I.

                                                -11-
                                                                   www.StudentAthletePay.com
      Case 2:19-cv-05230-JP          Document 134        Filed 11/04/24      Page 19 of 180




(“Learning benefits from participation in NCAA athletics include, but are not limited to:

discipline, work ethic, strategic thinking, time management, leadership, goal-setting, and

teamwork.4)

       54.     The NCAA and Villanova admit that NCAA sports are not tied to the

student’s formal education program by integrated coursework or receipt of academic credit.

See Livers (Phillips) v. NCAA: Defs.’ Resp. to Pl.’s Second Set of Reqs. for Admis. (Exs. D

and E), at No. 37.

       55.     Villanova requires all undergraduate students to complete five (5) specified

Core Foundational Courses:

                        Augustine and Culture Seminars (ACS) 1000 and
                         ACS 1001;
                        Theology (THL) 1000: Faith, Reason and Culture;
                        Philosophy (PHI) 1000: Knowledge, Reality and Self; and
                        Ethics (ETH) 2050: The Good Life: Ethics and
                         Contemporary Moral Problems

College of Liberal Arts and Sciences / Undergraduate Programs / Core Curriculum, available

on Villanova.edu at:

https://www1.Villanova.edu/content/villanova/artsci/undergrad/core.html.

       56.     To accommodate all student schedules, required Core Foundational Courses

are offered multiple times – at different morning, afternoon, and evening hours – throughout


    4   Compare, also, these alleged “learning benefits” to former Northwestern University quarterback
Theodis Kain Colter’s testimony in In re Northwestern Univ. and College Athletes Players Ass’n, Case
No. 13-RC-121359, NLRB Tr., Feb. 18, 2014 (“Colter Test.”) on NLRB.gov at
http://apps.nlrb.gov/link/document.aspx/09031d4581603b6a:
               Q: But you’ve heard from the University that playing football helps
                  build character. You’ve heard that kind of thing before?
               A: Performing any type of job helps build, you know, these human
                  values. You know, character, perseverance, anything like that.
                  Those values don’t help us, you know, obtain a college degree. They
                  didn’t help me get my psychology degree.
Colter Test. at 174:15-23.

                                                -12-
                                                                    www.StudentAthletePay.com
      Case 2:19-cv-05230-JP       Document 134       Filed 11/04/24     Page 20 of 180




the academic week. See, e.g., Fall 2016 and Spring 2017 Core Foundational Course

schedules, attached hereto at Exhibit N and generated using NOVASIS Master Schedule of

Classes on Villanova.edu at:

https://novasis.Villanova.edu/pls/bannerprd/bvckschd.p_disp_dyn_sched.

       57.    For example, in Fall Semester 2016:

                     ACS 1000 was listed 113 times, including classes starting
                      as early as 8:30 a.m. and starting as late as 6:10 p.m.
                     THL 1000 was listed 46 times, including classes starting
                      as early as 8:30 a.m. and starting as late as 6:10 p.m.
                     PHI 1000 was listed 41 times, including classes starting
                      as early as 8:00 a.m. and starting as late as 8:00 p.m.
                     ETH 2050 was listed 35 times, including classes starting
                      as early as 8:30 a.m. and starting as late as 6:10 p.m.
Id.

       58.    For example, in Spring Semester 2017:

                     ACS 1001 was listed 113 times, including classes starting
                      as early as 8:30 a.m. and starting as late as 6:10 p.m.
                     THL 1000 was listed 31 times, including classes starting
                      as early as 8:30 a.m. and starting as late as 8:00 p.m.
                     PHI 1000 was listed 31 times, including classes starting
                      as early as 8:00 a.m. and starting as late as 6:10 p.m.
                     ETH 2050 was listed 23 times, including classes starting
                      as early as 8:30 a.m. and starting as late as 6:10 p.m.
Id.

       59.    Other than the required Core Foundational Courses, students are generally

permitted to select their preferred classes, from a broad range of topics and times available

on the NOVASIS Master Schedule of Classes, to attain credits in Additional Core Courses,

Major Course and Free Electives (subject to enrollment limitations related to class size,

completion of prerequisite classes, and Major prioritization). See College of Liberal Arts and

Sciences / Undergraduate Programs / Core Curriculum, available on Villanova.edu at:

https://www1.Villanova.edu/content/villanova/artsci/undergrad/core.html; NOVASIS

                                             -13-
                                                                www.StudentAthletePay.com
      Case 2:19-cv-05230-JP         Document 134        Filed 11/04/24      Page 21 of 180




Master Schedule of Classes on Villanova.edu at:

https://novasis.Villanova.edu/pls/bannerprd/bvckschd.p_disp_dyn_sched.

       60.     Student Athletes are obligated to schedule classes around required NCAA

athletically related activities – and not permitted to (re)schedule required NCAA

athletically related activities to accommodate their preferred/chosen classes and academic

degree programs.

       61.     Villanova only excuses a Student Athlete from participating in required

athletically related activities “if there is a conflict between practice and a class that a student

is required to take,” i.e., the required Core Foundational Courses already offered multiple

times – at different morning, afternoon and evening hours – throughout the academic week

to accommodate all student schedules. See Livers (Phillips) v. NCAA: Villanova’s Resp. to

Pl.’s Second Set of Reqs. for Admis. (Ex. D), at Nos. 11-12, 14, 16 and 40; Paragraphs 85

through 89, supra.

       62.     In NCAA football playing and practice seasons during Johnson’s tenure at

Villanova, required NCAA athletically related activities and activities incidental thereto (e.g.,

medical treatment before and/or after practice, dress for practice, showering, dress for class,

and travel to class) occurred on weekdays from 5:45 a.m. to 11:30 a.m. – precluding Johnson

from enrolling in any of the hundreds of non-required, non-Core Foundational, classes offered

during that time period including prerequisites for academic degree programs. See, e.g.,

Fall 2016 Courses conflicting with NCAA football practice between 5:45 a.m. to 11:30 a.m.,

attached hereto in Exhibit P and generated using the NOVASIS Master Schedule of Classes

on Villanova.edu at: https://novasis.Villanova.edu/pls/bannerprd/bvckschd.p_disp_dyn_sched

(incl. undergraduate level courses and graduate level courses available pursuant to NCAA D1

Bylaw 14.6 Graduate Student / Postbaccalaureate Participation).



                                               -14-
                                                                   www.StudentAthletePay.com
     Case 2:19-cv-05230-JP        Document 134        Filed 11/04/24    Page 22 of 180




       63.    NCAA D1 member schools, like Villanova, require Student Athlete participation

in Countable Athletically Related Activities (“CARA”) recorded on timesheets under NCAA

D1 Bylaw 17.1.7.3.4, including, but not limited to:

                     Activities considered as practice shall be considered to
                     have occurred if one or more coaches and one of more
                     student-athletes engage in any of the following activities:
                            Team conditioning or physical-fitness activities
                            Field, floor or on-court activity
                            Setting up offensive or defensive alignments
                            Chalk talk
                            Lecture on or discussion of strategy relating to the
                             sport
                            Activities utilizing equipment relating to the sport
                            Discussions or review of game films, motion
                             pictures or videotapes relating to the sport
                            Required weight-training and conditioning
                             activities held at the direction of or supervised by
                             an institutional staff member
                            Film or videotape reviews of athletic practices or
                             contests that are required, supervised or
                             monitored by institutional staff members
                            Meetings initiated by coaches or other institutional
                             staff members on athletically related matters
                            Individual workouts required or supervised by a
                             member of the coaching staff
                            On-court or on-field activities called by any
                             member or members of a team and confined
                             primarily to members of that team that are
                             considered as requisite for participation in that
                             sport (e.g., captain’s practices)

Villanova University Athletics Department Student-Athlete Handbook and Planner, at 28

(pdf page, because document is unnumbered), attached hereto as Exhibit O and available at:

https://s3.amazonaws.com/villanova.com/documents/2018/6/22/201718Handbook.pdf.

       64.    Under NCAA bylaws, Student Athletes are also required to participate in the

following Required Athletically Related Activities:

                                              -15-
                                                                 www.StudentAthletePay.com
        Case 2:19-cv-05230-JP         Document 134         Filed 11/04/24       Page 23 of 180




                            (a) Compliance meetings;
                            (b) Organized team promotional activities;
                            (c) Recruiting activities;
                            (d) Media activities;
                            (e) Fundraising events;
                            (f) Community service events;
                            (g) Team-building activities; and
                            (h) Travel to and from away-from-home competition.

NCAA D1 Bylaw 17.02.14.

         65.    If a Student Athlete fails to attend squad or individual meetings and

participate in athletic practice sessions and scheduled contests as specified by the sport coach,

s/he can be disciplined, including suspension or dismissal from the team. See, e.g., Athletic

Financial Aid Agreement (Ex. M), at ¶ 2.e.5

         66.    Because Student Athletes are obligated to schedule classes around required

athletically related activities – and not permitted to (re)schedule NCAA sports activities to

accommodate their preferred/chosen classes – considerable percentages of Student Athletes

reported in the NCAA Growth, Opportunities, Aspirations and Learning of Students in

College (“GOALS”) Study (2015) that participation in NCAA D1 sports prevented them from

taking classes they wanted to take:

                        Football Bowl Subdivision | 50%
                        Football Championship Subdivision | 42%
                        Men’s Basketball | 34%
                        Women’s Basketball | 51%
                        Baseball | 41%

    5    All Student Athletes are expected to attend squad or individual meetings and participate in
athletic practice sessions and scheduled contests as specified by the sport coach. The NCAA admits
that there is no principled distinction between scholarship athletes and walk-ons, and that the only
policies and practices that apply to scholarship athletes exclusively are bylaws that set the number of
scholarships schools may award and that permit revocation of scholarships for misconduct (as
opposed to revocation of athletic eligibility, which applies to scholarship athletes and walk-ons alike).
See Paragraph 332, infra.

                                                  -16-
                                                                       www.StudentAthletePay.com
     Case 2:19-cv-05230-JP       Document 134       Filed 11/04/24    Page 24 of 180




                     All Other Men’s Sports | 48%
                     All Other Women’s Sports | 53%

See Results from the 2015 GOALS Study of the Student-Athlete Experience, Findings on

Academic Experiences, at 13 (pdf page, because document is unnumbered),

http://www.NCAA.org/sites/default/files/GOALS_convention_slidebank_jan2016_public.pdf.

       67.    Because Student Athletes are obligated to schedule classes in academic degree

programs around required athletically related activities – and not permitted to (re)schedule

NCAA sports activities to accommodate their preferred/chosen academic degree programs –

considerable percentages of Student Athletes reported in the NCAA GOALS Study (2015) that

participation in NCAA D1 sports prevented them from majoring in what they really wanted:

                     Football Bowl Subdivision | 36%
                     Football Championship Subdivision | 28%
                     Men’s Basketball | 29%
                     Women’s Basketball | 32%
                     Baseball | 32%
                     All Other Men’s Sports | 23%
                     All Other Women’s Sports | 25%

Id. at 15 (pdf page, because document is unnumbered).

       68.    In addition to Countable Athletically Related Activities (CARA) recorded on

timesheets under NCAA D1 Bylaw 17.1.7.3.4, Student Athletes at Villanova are required to

participate in the following activities not considered CARA:

                     The following are considered non-countable athletically
                     related activities and are not counted in the weekly or
                     daily time limitations:
                           Training table or competition related meals
                           Physical rehabilitation
                           Dressing, showering or taping ….
                           Travel to and from practice and competition
                           Medical examinations or treatments ….




                                            -17-
                                                               www.StudentAthletePay.com
     Case 2:19-cv-05230-JP          Document 134       Filed 11/04/24    Page 25 of 180




Villanova University Athletics Department Student-Athlete Handbook and Planner (Ex. O),

at 29 (pdf page, because document is unnumbered).

       69.    In addition to Countable Athletically Related Activities (“CARA”) recorded on

timesheets under NCAA D1 Bylaw 17.1.7.3.4, Student Athletes at Villanova are encouraged to

participate in the following activities not considered CARA:

                              Voluntary individual workouts ...
                              Individual consultation with a coaching staff
                               member initiated voluntarily by a student-
                               athlete ….

Id. (emphasis supplied).

       70.    In the NCAA GOALS Study (2015), medians of Student Athlete reported

hours spent per week on all athletically related activities – Countable Athletically Related

Activities (“CARA”) recorded on timesheets and non-CARA – demonstrate a full-time

commitment to NCAA D1 sports that exceeds the (maximum) 20 hour per week, part-time

commitment of student employees in Work Study:

                      Football Bowl Subdivision | 42 hours per week
                      Football Championship Subdivision | 41 hours per week
                      Men’s Basketball | 34 hours per week
                      Women’s Basketball | 35 hours per week
                      Baseball | 40 hours per week
                      All Other Men’s Sports | 32 hours per week
                      All Other Women’s Sports | 32 hours per week

See Results from the 2015 GOALS Study of the Student-Athlete Experience, Findings on

Student-Athlete Time Commitments, at 33 (pdf page, because document is unnumbered).

       71.    The taxing nature and rigidity of Student Athlete schedules are exemplified

by the 15-hour daily schedule that the University of Florida lays out for its football players

during playing and practice season. Reporting about a June 8, 2015 tweet from Florida head



                                              -18-
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     Case 2:19-cv-05230-JP        Document 134        Filed 11/04/24     Page 26 of 180




coach Jim McElwain – “All Gators, All Day. Here’s an inside look at a typical day for our

players. #NoTimeToLose #GoGators” – SBNation observed:

                     Here’s that itinerary, stripped of the bright colors and ads:

                           6:00 – 7:00 a.m.:       Wake up
                           7:00 – 7:45 a.m.:       Eat breakfast
                           8:00 – 11:30 a.m.:      Class
                           12:00 – 12:30 p.m.:     Eat lunch
                           12:30 – 1:30 p.m.:      Lift
                           1:30 – 2:30 p.m.:       Fuel and recover
                           2:30 – 3:30 p.m.:       Meetings
                           3:30 – 5:30 p.m.:       Practice
                           6:00 – 6:30 p.m.:       Fuel and recover
                           6:30 – 7:00 p.m.:       Eat
                           7:30 – 9:00 p.m.:       Study
                     Savor those 30-minute breaks between the end of class
                     and lunch and the end of dinner and study hall, kids:
                     They’re all you’re going to get ….
                     [W]e rarely get as clear a delineation of the extraordinary
                     effort put forth by “student-athletes” to play sports (and to
                     be college students) ….
                     For a Florida football player, waking up at 6 a.m. is a fact
                     of life. So is a three-hour block of classes beginning at 8
                     a.m. that was plotted out by advisors. So is spending four
                     hours of every afternoon on mandatory football duties –
                     the maximum allowed to be mandated by the NCAA in
                     season, though extra work is always encouraged and
                     typically praised – and so is the hour and a half of studying
                     after the completion of a 13-hour day.
                     This schedule is a work schedule. The work done by
                     “student-athletes” is hard work. There is “no time to lose,”
                     of course, because inefficiency is the bane of businesses.

Andy Hutchins, “Florida details football players’ 15-hour days with daily schedule graphic,”

SB Nation, June 9, 2015. (emphasis supplied).




                                             -19-
                                                                www.StudentAthletePay.com
     Case 2:19-cv-05230-JP         Document 134       Filed 11/04/24      Page 27 of 180




       72.    Considerable percentages of Student Athletes reported in the NCAA GOALS

Study (2015) that they felt less than positive about their ability to keep up with classes in

NCAA D1 playing and practice season:

                      Football Bowl Subdivision | 40%
                      Football Championship Subdivision | 45%
                      Men’s Basketball | 38%
                      Women’s Basketball | 44%
                      Baseball | 44%
                      All Other Men’s Sports | 40%
                      All Other Women’s Sports | 39%

Id., Findings on Academic Experiences, at 11 (pdf page, because document is unnumbered).

       73.    The findings reported in the NCAA GOALS Study (2015) are consistent with

former Northwestern University quarterback Theodis Kain Colter’s testimony in In re

Northwestern Univ. and College Athletes Players Ass’n, Case No. 13-RC-121359, NLRB Tr.,

Feb. 18, 2014 on NLRB.gov at http://apps.nlrb.gov/link/document.aspx/09031d4581603b6a:

                    Q: Can you tell us how you view yourself?
                    A: We are first and foremost an athlete, an employee of
                       the school who provides an athletic service.
                    Q: And why do you say that?
                    A: Everything that we do is scheduled around football,
                       what classes you can take, what major you could really
                       participate in. It’s all depending on football and your
                       schedule.
                    *****
                    Q: And in terms of the academic calendar year, when are
                       the chemistry and physics classes generally scheduled?
                    A: Chemistry and organic chemistry were offered in the
                       mornings, only in the mornings.
                    Q: And so were you able to take any of those in the fall or
                       the winter?
                    A: I tried to take it the fall of my sophomore year. But I
                       think class began at 10:00 in the morning, and we were
                       going to still be in practice, so I would have to miss, you

                                              -20-
                                                                 www.StudentAthletePay.com
Case 2:19-cv-05230-JP    Document 134       Filed 11/04/24     Page 28 of 180




              know, a little bit towards the end of practice. And they
              informed me -- the athletic department and coaches, my
              advisers, that, you know, Kain -- you know I was taking
              a big role as the team starting quarterback and I was
              playing a lot. And they informed me that, you know,
              Kain, you can’t schedule this class. You can’t miss
              practice. So...
           *****
           Q: How does the playing of football affect or impact
              academic studies?
           A: It makes it hard for you to succeed. You know every
              year we do an exit interview with all the seniors after,
              you know, they’ve went through their time at
              Northwestern.
              And this year in our exit interview the number one
              thing said was, Due to the time demands, you can’t ever
              reach your academic potential. You’re merely just
              surviving. There’s so much time demand towards
              football and being a great football player that you have
              to sacrifice one, and we’re not allowed to sacrifice
              football. So...
           *****
           Q: Do you consider playing football, as the attorney for the
              University mentioned, part of your, quote, educational
              experience?
           A: Absolutely not. They’re completely separate.
           Q: Why do you say they’re completely separate?
           A: You know if they were together, you know, we would
              get academic credit for playing sports, but we don’t.
              Really, the amount of time that we dedicate towards
              football, it really makes it harder for us to, you know,
              be great academically. So it’s just a testament to the
              type of kids that we have at Northwestern, that they’re
              able to, you know, time manage and, you know, do fairly
              good academically while also having this huge time
              demand for football.
           Q: Do you see that being a student and an athlete are
              necessarily connected or are they separate?
           A: They are completely separate.
           Q: But you’ve heard from the University that playing
              football helps build character. You’ve heard that kind
              of thing before?


                                    -21-
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     Case 2:19-cv-05230-JP        Document 134        Filed 11/04/24     Page 29 of 180




                    A: Performing any type of job helps build, you know, these
                       human values. You know, character, perseverance,
                       anything like that. Those values don’t help us, you
                       know, obtain a college degree. They didn’t help me get
                       my psychology degree.
                    *****
                    Q: And in terms of the amount of time you spent studying
                       and attending classes, how would that compare to the
                       time you spent performing the various obligations as a
                       football player?
                    A: We spent a lot more time dedicating ourselves to
                       football, performing football activities.
                    Q: Than being -- than academics?
                    A: Than academics.
                    Q: Why is that?
                    A: Because I believe it just shows that we’re brought there
                       to play football. That’s our first priority. We must do
                       our football requirement. And then if you can, you
                       know, fit in the academics.

Colter Test. at 166:14-25; 169:1-18; 170:3-15; 173:18-174:23; and 177:7-21.

       74.    In recognition that participation in NCAA sports hinders academic progress,

NCAA D1 member schools, like Villanova, provide exclusive academic support services to

Student Athletes that exceed academic support services offered to other students.

       75.    Villanova, for example, operates an exclusive Office of Academic Support for

Athletics “to provide supplemental academic support for all varsity student-athletes at

Villanova University in a manner that addresses their unique academic needs.” See Office

of the Provost / Academic Support for Athletics, available on Villanova.edu at:

https://www1.Villanova.edu/villanova/provost/academicsupport.html.

       76.    Villanova does not operate any academic support office specific to the needs of

student employees in Work Study that is not generally available to all students. See Livers

(Phillips) v. NCAA: Villanova’s Resp. to Pl.’s Second Set of Reqs. for Admis. (Ex. D), at No. 9.




                                             -22-
                                                                 www.StudentAthletePay.com
      Case 2:19-cv-05230-JP         Document 134       Filed 11/04/24     Page 30 of 180




       77.       In the Office of Academic Support for Athletics, Villanova employs a Director,

Assistant Director, two Athletic Academic Advisors and an academic support staff person.

Id., at No. 5.

       78.       As part of the Office of Academic Support for Athletics, Villanova operates a

Tutorial Assistance Program and employs non-student athletes as tutors for Student Athletes:

                        The Tutorial Assistance Program was created in order to
                        provide supplemental instruction to classroom lectures
                        for student-athletes at Villanova University ….
                        Becoming a Tutor
                        Thank you for showing an interest in tutoring for the
                        Office of Academic Support for Athletics. For many of our
                        student-athletes, the Tutorial Assistance Program is a
                        fundamental component of their academic needs and
                        helps them achieve their goal of graduation. Below is
                        some basic information that you will need to consider
                        prior to applying for this position.

                        Tutorial Position Minimum Requirements
                        Academic Requirements:
                            Students with a 3.0 cumulative GPA or above with
                              Sophomore, Junior, or Senior standing. We also
                              hire Graduate students.
                        Our Tutors:
                              On average, we employ 70-80 qualified tutors to
                               help our student-athletes in a variety of
                               coursework.
                              Hours vary and are flexible. Hours are based on
                               the needs of the student-athletes and the subject
                               being tutored ….
                              Compensation varies and is based on the courses
                               tutored as well as the education level of the tutor
                               (i.e.: undergraduate vs graduate student). Contact
                               Krista Chmielewski for more information on pay
                               rates …

                        Expectations of Student-Athletes Receiving
                        Tutorial Services:
                              Be prepared to ask questions! Tutors are not
                               expected to teach the course and do not take the
                               place of the professor. Tutors are there to
                               supplement what you’re learning and can help

                                               -23-
                                                                  www.StudentAthletePay.com
     Case 2:19-cv-05230-JP         Document 134       Filed 11/04/24     Page 31 of 180




                              clarify any confusion you may have about the
                              course content …
                             Expect the tutor to challenge you to become an
                              independent learner who will answer your
                              questions along the way in an effort to help you
                              reach your academic goals.
                             Be patient! Learning new material takes time and
                              practice!

Academic Support for Athletics / Support Services / Tutorial Assistance Program, available

on Villanova.edu at:

https://www1.Villanova.edu/villanova/provost/academicsupport/services/tutor.html.

       79.    In its Office of Academic Support for Athletics, Villanova’s Athletic Department

employs Academic Support Interns at $1400 per month. See Athletic Department

Internship Program (Ex. L).

       80.    In response to Findings on Student-Athlete Time Commitment in the NCAA

GOALS Study (2015), the “Power Five” NCAA D1 conferences, i.e., Atlantic Coast, Big 12,

Big Ten, Pacific-12 and Southeastern, approved proposals during the 2017 NCAA Convention:

(i) requiring a time management plan for each sport, and an annual review of that plan;

(ii) prohibiting athletically related activities during a continuous 8 hour period between 9 p.m.

and 6 a.m.; and (iii) requiring a 7 day break after a season and 14 more days off during the

academic year. Other NCAA D1 conferences and/or member schools can individually decide

whether to adopt these proposals. See Michelle Brutlag Hosick, “Conferences refer time

demands proposals for further study,” NCAA.org, Jan. 15, 2016; Michelle Brutlag Hosick,

“DI student-athletes to have more time away from sports,” NCAA.org, Jan. 20, 2017; NCAA

D1 Bylaws 17.1.7.8; 17.1.7.9.6, 17.1.7.9.7, and 17.1.8.

       81.    Regarding the various NCAA proposals approved by the “Power Five” during

the 2017 NCAA Convention in response to Findings on Student-Athlete Time Commitment in

the NCAA GOALS Study (2015), former University of Oklahoma football player Ty Darlington,

                                              -24-
                                                                 www.StudentAthletePay.com
     Case 2:19-cv-05230-JP         Document 134       Filed 11/04/24     Page 32 of 180




“whose impassioned pleas on the [NCAA convention] floor [in 2016] were credited in part

with spurring action,” remarked:

                      Coaches need to understand that student-athletes aren’t
                      on call at all times.

Hosick, “DI student-athletes to have more time away from sports,” supra.

       82.    If this taxing schedule for student athletes were not enough evidence that

what collegiate athletes do is work and not merely play, it should be further noted that

colleges actually do offer students opportunities to play sports in a less intense, non-revenue-

generating environment, in the form of Club Sports.

       83.    Colleges do not provide professional-style investment and in-kind

compensation to Club Sports (e.g., training, practice and game equipment and facilities;

preventative care and medical treatment; dieticians and meals; travel and accommodations)

because, in the case of Club Sports, student leaders are responsible for arranging and/or

paying for those functions. Further, colleges do not attempt to monetize Club Sports in a

manner comparable to professional sports—colleges derive no ticket sales and concessions,

sales of related merchandise, licensing and sponsorship deals, or any radio or television

broadcast rights related to Club Sports. See Paragraphs 316-321, infra.

       84.    For reasons set forth in Paragraphs 43 through 83, infra, Student Athlete

performance is integral to the billion dollar Big Business of NCAA sports.

       85.    Further, for the reasons set forth in Paragraphs 210 through 241, infra,

NCAA sports do not provide any of the educational benefits that Work Study provides to

students.

       86.    The NCAA and Villanova admit that sports contests cannot take place

without athletes. See Livers (Phillips) v. NCAA: Answer (ECF 130), at ¶ 134.




                                             -25-
                                                                 www.StudentAthletePay.com
     Case 2:19-cv-05230-JP         Document 134       Filed 11/04/24      Page 33 of 180




       87.    The NCAA and Villanova admit that the NCAA permits only Student Athletes

eligible under NCAA bylaws to participate on teams in NCAA-governed sports. See Livers

(Phillips) v. NCAA: Defs.’ Resp. to Pl.’s First Set of Reqs. for Admis. (Exs. F and G), at No. 5.

       88.    The NCAA and Villanova admit the NCAA does not permit athletic contests

to take place if a participating school cannot field a team with the minimum number of

competitors required under the rules of the sport. Id.

       89.    While students (including academic scholarship recipients) in ticket taker,

seating attendant and food concession positions at NCAA contests are classified as employees

and paid at least the minimum wage by NCAA D1 member schools, the Student Athletes,

without whose performance there would be no NCAA contests, are not similarly classified

and paid. See Livers (Phillips) v. NCAA: Answer (ECF 130), at ¶¶ 4 and 67.

       90.    While the NCAA and Villanova admit that Student Athletes participate in

promotion of NCAA sports through use of their names, images and likenesses in advertising

and interaction with the community of sports consumers, sports donors and sports media,

only NCAA D1 member schools and conferences are permitted to financially benefit from

such promotion by, for example, entering into licensing, marketing, sponsorship,

advertising, broadcast and other commercial agreements that involve use of Student Athlete

names and likenesses. Id., at ¶ 135; also see NCAA D1 Constitution 3.2.4.21 and 3.3.4.6.

       91.    The NCAA and Villanova admit that NCAA member schools derive benefits

from school branding, identity and spirit related to NCAA sport mascots, and secure tangible

gross revenues, as a result of Student Athletes competing in NCAA sports. See Livers

(Phillips) v. NCAA: Defs.’ Resp. to Pl.’s First Set of Reqs. for Admis. (Exs. F and G), at No. 2.

       92.    As noted by the Johnson court, “athletic programs [are] higher education’s

primary form of mass media advertising,” to increase applications, which, in turn,



                                              -26-
                                                                 www.StudentAthletePay.com
     Case 2:19-cv-05230-JP        Document 134        Filed 11/04/24     Page 34 of 180




“contribute to a positive feedback loop producing more revenue, greater selectivity in

admissions, improved alumni engagement, greater fundraising, and better faculty

recruiting.” Johnson, 108 F.4th at 169.

       93.    This benefit of athletic programs, boosting alumni engagement and

fundraising from former participants in all NCAA sports is implicitly acknowledged by the

NCAA in a long-standing PR campaign promoting, “how the NCAA helps student-athletes go

pro in something other than sports,” including images of doctors and lawyers. See, NCAA

News Release, NCAA Launches Latest Public Service Announcements, Introduces New

Student-Focused Website, Mar. 13, 2007.

       94.    Notably, opportunities for alumni engagement and greater fundraising include

women alumni of mis-named “non-revenue” sports who have had success in corporate C-

suites. See, e.g., Kellogg School of Management at Northwestern University, “From athlete

to C-Suite,” Dec. 20, 2022 (citing a 2015 espnW and Ernst & Young survey that more than

half of women C-suite leaders competed in college sports); Zosia Bulhak, “5 Women Who

Started as Student-Athletes and Became CEOs,” Voice in Sport, Oct, 17, 2022 (profiling

women CEOS and presidents of corporate divisions, including, among others, a former diver,

track and field runner, lacrosse player, and swimmer).

       95.    By comparison to all NCAA sports, there are several recognized college

employees in functions that generate either less revenue or no revenue at all. For example,

and without limitation, in-house legal, human resources, purchasing, records management,

information technology, and facilities maintenance and janitorial services, among others, are

“cost centers” that generate less revenue than any NCAA sport or no revenue at all.

       96.    Importantly, nearly all Work Study-style jobs as staff in campus offices,

libraries, and dining halls – and as attendants at event and athletic facilities – generate less

revenue than any NCAA sport or generate no revenue at all.

                                             -27-
                                                                 www.StudentAthletePay.com
     Case 2:19-cv-05230-JP        Document 134       Filed 11/04/24    Page 35 of 180




       97.    For the Fiscal Year that ended August 31, 2018, the NCAA reported total

revenues of $1,064,403,240 – mostly from television and marketing rights fees,

championships and tournaments, and sales. See 2017-18 NCAA Financial Statements, at 4,

available at https://ncaaorg.s3.amazonaws.com/ncaa/finance/2017-

18NCAAFin_NCAAFinancialStatement.pdf.

       98.    For Fiscal Year 2016, NCAA D1 schools reported median total revenues for

NCAA sports of:

                     Football Bowl Subdivision “Power Five” | $97,276,000
                     Football Bowl Subdivision | $33,470,000
                     Football Championship Subdivision | $17,409,000
                     Sans Football | $16,018,000

See NCAA Revenues / Expenses Division I Report 2004 – 2016, at 12, available on NCAA.org

at http://www.NCAA.org/sites/default/files/2017RES_D1-

RevExp_Entire_2017_Final_20180123.pdf.

       99.    For the Fiscal Year that ended May 31, 2018, Villanova reported total revenue

for NCAA sports of $48,977,278. See U.S. Department of Education Equity in Athletics

Data Analysis (OPE ID: 00338800), available at: https://ope.ed.gov/athletics/#/.

       100.   By contrast to Student Athletes competing in NCAA sports, the NCAA and

Villanova admit that some college employees, including student employees in Work Study,

perform work that does not generate revenue for the school for which they work. See Livers

(Phillips) v. NCAA: Answer (ECF 130), at ¶ 130.

       101.   Neither the NCAA nor Villanova contends that the “learning benefits” that

they claim accrue to Student Athletes from participation in NCAA sports (i.e., “discipline,

work ethic, strategic thinking, time management, leadership, goal-setting, and teamwork”)

are comparable to the benefits that they admit accrue to NCAA member schools as a result



                                            -28-
                                                               www.StudentAthletePay.com
       Case 2:19-cv-05230-JP        Document 134        Filed 11/04/24       Page 36 of 180




of Student Athletes competing in NCAA sports (i.e., “tangible gross revenues” and “benefits

related to school branding, identity and spirit related to an athletic mascot”). See Livers

(Phillips) v. NCAA: Defs.’ Resp. to Pl.’s First Set of Reqs. for Admis. (Exs. F and G), at No.

2; Defs.’ Resp. to Pl.’s First Set of Interrogs. (Exs. H and I), at No. 3.

        102.   To summarize, collegiate athletes’ participation in athletics was detrimental

to their academic careers in numerous ways. At the same time, the NCAA and the

educational institutions they attended profited massively from their participation in

athletics. Collegiate athletes therefore perform their services necessarily and primarily for

the benefit of the NCAA and the institutions they attended.

                       iii.   Johnson v. NCAA Factor No. 3
                              Collegiate athletes perform their services under the
                              control or right of control of their college

        103.   The NCAA and its D1 member schools exercise the authority to control the

performance and conduct of Student Athletes in NCAA sports.

        104.   The NCAA and Villanova admit that all Student Athletes who participate in

NCAA sports are supervised by coaching and training staff. See Livers (Phillips) v. NCAA:

Answer (ECF 130), at ¶ 154. These coaching and training staff control playing time, practice

time, and conditioning time for athletes as well as more fundamental aspects of the life of

the collegiate athlete like nutrition.

        105.   Both Work Study and NCAA D1 sports require adult supervisors to maintain

timesheets for participants. See FSA HB, Ch. 2, at 6-48 and NCAA D1 Bylaw 17.1.7.3.4.

        106.   Work Study at NCAA D1 member schools is governed by 38 pages of the FSA

HB, Chapter 2.6 See FSA HB, Ch. 2, at 6-39 to 6-68; 6-71 to 6-72; and 6-83 to 6-88.



   6   Excluding 12 pages addressing Proprietary Schools, Apprenticeships, the Job Location and
Development Program and Work Colleges.


                                                -29-
                                                                    www.StudentAthletePay.com
       Case 2:19-cv-05230-JP        Document 134        Filed 11/04/24      Page 37 of 180




        107.   NCAA D1 member schools typically publish shorter, supplemental handbooks

articulating standards controlling student employee performance and conduct in Work Study.

See, e.g., the 6-page Villanova University Student Employment Program Handbook 7

available on Villanova.edu at: https://www1.Villanova.edu/villanova/hr/employment/student-

employment/student-handbook.html.

        108.   NCAA D1 sports are governed by the 415-page NCAA D1 Manual and the

NCAA Rule Books for each sport (available on NCAA.org at: www.NCAApublications.com).

        109.   In addition to the Rule Book for each NCAA sport that defines related work,

NCAA D1 member schools exercise authority, and discretion, to control Student Athlete

performance and conduct under threat of discipline, including suspension or dismissal from

the team, if a Student Athlete:

                             “Renders       himself/herself     ineligible   for
                              intercollegiate competition,” i.e., is suspected or
                              determined to have run afoul of any of the myriad
                              of bylaws in the NCAA D1 Manual
                             “Engages in serious misconduct … or manifest
                              disobedience,” i.e., is suspected or determined to
                              have run afoul of “Rules and regulations of the
                              Department of Intercollegiate Athletics and
                              specific rules of the recipient’s sport as defined by
                              the head coach as they apply”
                             “Fails to attend … squad or individual meetings
                              … and participate in athletic practice sessions and
                              scheduled contests, as specified by the
                              sport coach”
                             “Does not comply with expected personal conduct,
                              appearance and dress, both on and off the
                              University campus, and accepted uniform for
                              athletic contests, when such violations bring
                              discredit to the athletic program”


   7     The online handbook prints out as 6 pages after expanding headings, which headings include
Eligibility, International Students, On-Campus Employment, Off-Campus Employment, Completing
Employment Paperwork, Pay Policies, Employment of Relatives, Operation of Vehicles,
Employment Verifications, Resignations and Terminations, Sexual Violence Policy and Additional
University Policies.

                                               -30-
                                                                    www.StudentAthletePay.com
        Case 2:19-cv-05230-JP         Document 134         Filed 11/04/24      Page 38 of 180




                               “Fails to adhere to training rules and regulations”
                               “Engages in gambling activities on intercollegiate
                                activities prohibited by NCAA legislation”

See, e.g., Athletic Financial Aid Agreement (Ex. M), at ¶ 2.8

         110.   NCAA D1 member schools publish supplemental handbooks articulating

standards controlling Student Athlete performance and conduct on, and off, the field. For

example, the 44-page Villanova University Athletic Department Student-Athlete Handbook

and Planner states, among other things:

                        AGENTS
                        It is essential that student-athletes know the NCAA
                        rules related to professional sports. A violation of the
                        rules concerning agents could have severe negative
                        consequences for the student-athlete and the University.
                        To remain eligible for intercollegiate competition, NCAA
                        rules stipulate that a student-athlete may not:
                            1. Agree, either orally or in writing, to be
                               represented by an agent or organization in the
                               marketing of his/her athletic ability or reputation
                               until after completion of his/her collegiate
                               eligibility. In addition, representation by an agent
                               may not be arranged until after the last
                               intercollegiate contest, including post-season
                               games.
                            2. Negotiate or sign a playing contract in any sport
                               in which the student-athlete intends to compete.
                            3. Ask to be placed on a professional league’s draft
                               list. There are sport specific exceptions. Please
                               contact the Compliance Office for more
                               information.
                        *****




    8    All Student Athletes are subject to discipline, including suspension or dismissal from the team,
for the enumerated reasons. The NCAA admits that there is no principled distinction between
scholarship athletes and walk-ons, and that the only policies and practices that apply to scholarship
athletes exclusively are bylaws that set the number of scholarships schools may award and that
permit revocation of scholarships for misconduct (as opposed to revocation of athletic eligibility, which
applies to scholarship athletes and walk-ons alike). See Paragraph, infra.

                                                 -31-
                                                                      www.StudentAthletePay.com
Case 2:19-cv-05230-JP     Document 134       Filed 11/04/24   Page 39 of 180




             AMATEURISM
             The following are NCAA guidelines for maintaining
             athletic amateur status:
             WITHIN YOUR SPORT, YOU MAY NOT:
                1. Accept payment, or a promise of payment (in cash,
                   prizes, gifts, or travel) for participation in your
                   sport.
                2. Enter into an agreement of any kind to compete in
                   professional athletics (you cannot negotiate a
                   verbal or written professional contract).
                3. Request that your name be put on a draft list for
                   professional sports. In basketball, you may try out
                   during the summer and retain your eligibility so
                   long as you receive no more than actual and
                   necessary expenses from the professional
                   organization ….
             IN ANY SPORT, YOU MAY NOT:
                1. Agree to have your picture or name used to
                   promote a commercial product ….
                3. Be represented by an agent or organization to
                   market your athletic skill or reputation …

             *****
             GAMBLING
             Student-athletes shall not knowingly ….
                    Participate in any gambling activity through a
                     bookmaker, a parlay, or any other method
                     employed by organized gambling;
                    Participate in any gambling activity involving
                     collegiate or professional sports.
             INVOLVEMENT IN ANY OF THESE ACTIVITIES
             WILL RESULT IN YOUR IMMEDIATE LOSS OF
             ELIGIBILITY, DISMISSAL FROM THE ATHLETICS
             PROGRAM, AND/OR CANCELLATION OF YOUR
             ATHLETIC SCHOLARSHIP.
             Sports that cannot be bet on are:
                    All sports sponsored by the NCAA (including all
                     NCAA Tournament Pools)
                    Professional Sports
                    Amateur sports


                                      -32-
                                                       www.StudentAthletePay.com
     Case 2:19-cv-05230-JP         Document 134     Filed 11/04/24      Page 40 of 180




                           Fantasy sports
                    Sports that can be bet on if you are of age (21) include:
                    Horse Racing and Casino Games.

                    *****
                    SOCIAL NETWORKING
                    Villanova University Athletics Department recognizes
                    and supports its student-athletes’ rights to freedom of
                    speech and expression, including the use of online social
                    networks. However, each student-athlete must
                    remember that being a student-athlete at Villanova
                    University is a privilege, not a right. As a student-athlete
                    you represent not only yourself, your team, and this
                    department, but the University as a whole. As such, you
                    are expected to portray yourself, your team, and the
                    University in an appropriate manner at all times.
                    Therefore, any online postings must be consistent with
                    the Villanova University mission, Federal and State
                    laws, as well as Team, Department, University,
                    Conference, and NCAA rules, regulations and policies.

                    *****
                    Social Media: Non-permissive online activity
                    Inappropriate or offensive activities or behaviors on
                    online communities that could lead to student-athletes
                    facing the penalties outlined below include but are not
                    limited to:
                           Photos, videos, comments or posts showing the
                            personal use of alcohol, drugs and tobacco e.g., no
                            holding cups, cans, shot glasses etc. ….
                           Content online that is unsportsmanlike,
                            derogatory, demeaning or threatening toward any
                            other individual or entity
                               o    Example: derogatory comments regarding
                                    another institution; taunting comments
                                    aimed at a student athlete, coach or team
                                    at this or any other institution ….
                           Content online that would constitute a violation of
                            Conference or NCAA rules
                               o    Examples: commenting publicly about a
                                    prospective student-athlete …

Ex. O, at 21-25 (pdf pages, because document is unnumbered).



                                             -33-
                                                               www.StudentAthletePay.com
     Case 2:19-cv-05230-JP        Document 134       Filed 11/04/24      Page 41 of 180




       111.   The National Labor Relations Board has determined that certain restrictions

on Student Athlete speech and use of social networks constitute unfair labor practices. See

NLRB Advice Memo Re: Northwestern University, Case 13-CA-157467, Sept. 22, 2016;

Lester Munson, “Free to Tweet: Northwestern’s restrictions on football players ruled

unlawful,” ESPN.com, Oct. 10, 2016.

       112.   NCAA D1 member schools, like Villanova, publish NCAA team policies that

restrict the legal consumption of alcohol and legal use of nicotine products.

       113.   NCAA bylaws also restrict a Student Athlete’s self-employment:

                     A student-athlete may establish his or her own business,
                     provided the student-athlete’s name, photograph,
                     appearance or athletics reputation are not used to
                     promote the business.

NCAA D1 Bylaw 12.4.4.

       114.   In 2017, the ASSOCIATED PRESS reported on the NCAA’s investigation of

University of Central Florida kicker Donald De La Haye for his receipt of advertising revenue

from his YouTube channel as part of YouTube’s policies applicable to video content creators:

                     [De La Haye] could be violating NCAA rules by receiving
                     money from the advertising revenue off his YouTube
                     videos that chronicle his life as a college student and as a
                     college football player.
                     De La Haye has nearly 56,000 subscribers on YouTube
                     and his latest video detailing his battle to keep his
                     channel going had 113,042 views as of Wednesday
                     afternoon. YouTube pays video creators a percentage of
                     the ad revenue profits ….
                     NCAA rules prohibit student-athletes from profiting
                     from their likeness or status as student-athletes because
                     it violates amateur guidelines. NCAA bylaw 12.4.4
                     regarding self-employment states a student-athlete may
                     establish his or her own business, provided the student-
                     athlete’s name, photograph, appearance or athletics
                     reputation are not used to promote the business.
                     De La Haye, a marketing major, said in that video posted
                     Monday that he created the channel as a way to further

                                             -34-
                                                                www.StudentAthletePay.com
     Case 2:19-cv-05230-JP      Document 134        Filed 11/04/24     Page 42 of 180




                    his career. He went on to say it is means to make a little
                    extra money, money the Costa Rica native said his family
                    needs.
                    “Basically, I’m not allowed to make any money off my
                    YouTube videos,” he said. “So I’m working hard —
                    basically like a job filming, editing, creating ideas — and
                    I’m not allowed to make any money. And if I do bad things
                    will happen.”

“UCF kicker’s YouTube profits may be violation of NCAA rules,” AP, June 14, 2017.

      115.   FOX Business reported the decision to remove De La Haye’s NCAA eligibility:

                    Donald De La Haye, a backup kicker, has a YouTube
                    channel with more than 100,000 subscribers that has
                    generated over five million total viewers. The National
                    Collegiate Athletic Association (NCAA) ruled the kicker
                    ineligible because he earns advertising revenue from his
                    YouTube page, which chronicles his life as a college
                    student and a UCF football player.
                    In interview with FOX Business’ Stuart Varney, De La
                    Haye said the NCAA should change the rules to allow
                    student-athletes to earn an income while in college.
                    [T]he reason we go to college is to learn how to make
                    money, and an entrepreneur like myself should have the
                    right to profit off his own business, he said.
                    According to the NCAA amateur guidelines, the rules
                    prohibit student-athletes from profiting from their
                    likeness. NCAA bylaw 12.4.4 regarding self-employment
                    states that “a student-athlete may establish his or her
                    own business, provided the student-athlete’s name,
                    photograph, appearance or athletics reputation are not
                    used to promote the business.
                    “They offer[ed] me some conditions that you know the
                    NCAA didn’t really state too clearly. The waiver they
                    offered me to sign [] says, I can’t even post unmonetized
                    footage of me playing football. I can’t be at the beach
                    tossing up footballs with my friends. I can’t even mention
                    quarterbacks, nothing like that.” De La Haye said.
                    The former UCF football player noted it is unfair that any
                    other person or non-student-athlete is able to make a
                    profit off advertising revenue from a YouTube page.
                    “[A] student, you know, with the same aspirations and
                    goals and works as hard as me would be praised for what
                    he is doing, but you know the NCAA kicked me out.”


                                           -35-
                                                               www.StudentAthletePay.com
     Case 2:19-cv-05230-JP           Document 134       Filed 11/04/24    Page 43 of 180




Henry Fernandez, “NCAA rules UCF kicker Donald De La Haye ineligible over YouTube

profits,” FOX Business, Aug. 2, 2017.

       116.    There are no comparable school rules restricting a non-student athlete’s

pursuit of career options; use of social media; legal gambling; legal consumption of alcohol;

or legal use of nicotine products.

       117.    Therefore, for the collegiate athlete, the school and the NCAA control a

substantial portion of their daily lives, both on and off the field.

                      iv.     The Common Law Test for Agency

       118.    Further, collegiate athletes meet the definition of employees set forth in the

common law test for agency, or the right of control test. The Third Circuit has directed the

Court to look to this test in determining whether student athletes are employees under the

FLSA. Johnson, 108 F.4th at 180.

       119.    The Supreme Court has set forth this test in a number of opinions, including

Community for Creative Non–Violence v. Reid, 490 U.S. 730, 751-52 (1989) and Nationwide

Mut. Ins. Co. v. Darden, 503 U.S. 318, 323 (1992). These cases enumerate specific indicia of

employment under the right of control test. As set forth below, under each of these

categories, collegiate athletes are employees of the NCAA and its member schools. Factors

considered other than “the hiring party's right to control the manner and means by which

the product is accomplished” include:”

                      “the skill required; the source of the instrumentalities
                      and tools; the location of the work; the duration of the
                      relationship between the parties; whether the hiring
                      party has the right to assign additional projects to the
                      hired party; the extent of the hired party's discretion over
                      when and how long to work; the method of payment; the
                      hired party's role in hiring and paying assistants;
                      whether the work is part of the regular business of the
                      hiring party; whether the hiring party is in business; the
                      provision of employee benefits; and the tax treatment of
                      the hired party…”

                                               -36-
                                                                   www.StudentAthletePay.com
      Case 2:19-cv-05230-JP       Document 134        Filed 11/04/24    Page 44 of 180




Darden, 503 U.S. at 323-24 (quoting Reid, 490 U.S. at 751-52). This list is “nonexhaustive.”

Id. at 324.

                     v.      Skill Required

       120.   Student Athlete performance, which is integral to the billion dollar Big

Business of NCAA sports, requires specialized skills.

       121.   NCAA sports are Varsity sports – i.e., sports which are sponsored by the

school, supervised by school staff and funded through the school’s budget, and from which

the school derives school branding benefits and revenues – and, as Varsity sports, require

much more specialized skill than recreational student-run interscholastic Club Sports or

student-run intramural sports.

       122.   The NCAA and Villanova admit that sports contests cannot take place without

athletes. See Livers (Phillips) v. NCAA: Answer (ECF 130), at ¶ 134.

       123.   NCAA sports players perform their sports at the highest levels and are

regularly recruited or drafted to play their sports professionally after graduating.

       124.   The vast majority of professional sports players in the United States are

drafted from D1 schools. According to the NCAA itself, of 614 players drafted to play Major

League Baseball in 2023, 444 (over 72%) of them were picked from NCAA schools, mostly D1

schools. Of the 58 drafted to play in the National Basketball Association, 46 (over 79%) were

NCAA players. Of the 259 drafted to play in the National Football League, every single one

was an NCAA player, 99% of them from D1 schools. On the womens’ side, 33 of the 36

players (92%) drafted into the Women’s National Basketball Association in 2023 were from

NCAA D1 schools. See https://www.ncaa.org/sports/2015/3/6/estimated-probability-of-

competing-in-professional-athletics.aspx.

       125.   Student athletes compete in the Olympics and other national and

international sporting competitions, regularly competing against professional athletes who

                                             -37-
                                                                www.StudentAthletePay.com
     Case 2:19-cv-05230-JP        Document 134       Filed 11/04/24     Page 45 of 180




are remunerated for their work as professionals in the sporting world. See, e.g., NCAA D1

Bylaw 12.1.2.1.5.1 (specific rules for active NCAA players who win Olympic medals).

       126.   Taking the NCAA’s own statistics, 272 individuals who had play or played

NCAA sports won 330 Olympic medals at the 2024 Paris Olympics.

https://www.ncaa.org/news/2024/8/12/olympics-ncaa-medal-footprint-at-the-2024-paris-

olympics.aspx#:~:text=At%20the%202024%20Paris%20Olympics%2C%20272%20former%2C

%20current%20and%20incoming,silver%20and%20108%20were%20bronze. 75% of the

United States Olympic Team plays or played a collegiate sport, with the vast majority being

current or former NCAA D1 athletes. https://www.usopc.org/team-usa-2024-collegiate-

olympic-footprint.

       127.   The 2024 Paris Olympics are only a representative example, and US Olympic-

related organizations support student athletes and professional athletes across the range of

Olympic sports to compete not only in the Olympics, but also in national and international

contests and meets that offer prize money and other awards.

       128.   NCAA D1 collegiate sports players are therefore not merely skilled, they are

among the most elite athletes in the United States and the world.

       129.   Upon information and belief, there are professional competitions and leagues

internationally in all NCAA sports.

       130.   Upon information and belief, the vast majority of NCAA D1 athletes

participated in their collegiate sport in high school or at a preparatory school, and have

trained for many years to perform their sport at the high level required to be D1 athlete.

       131.   As evidenced by the NCAA’s own statistics, less than 5% of high school

athletes in almost any sporting discipline become NCAA D1 athletes. See

https://www.ncaa.org/sports/2015/3/2/estimated-probability-of-competing-in-college-



                                             -38-
                                                                www.StudentAthletePay.com
     Case 2:19-cv-05230-JP          Document 134       Filed 11/04/24    Page 46 of 180




athletics.aspx. Only the most elite high school sports players are destined to play in

collegiate athletics, a testament to the skills of these individuals.

       132.    NCAA athletes, particularly those playing at D1 institutions, are world-class

athletes, and being a D1 athlete requires a high degree of skill.

                        vi.   Source of instrumentalities and tools

       133.    NCAA D1 member schools make enormously greater investments in the

equipment, materials and personnel required to field NCAA teams than do the Student

Athlete participants.

       134.    Colleges provide the tools and means needed for participation in NCAA sports,

including training, practice and game equipment and facilities; preventative care and

medical treatment; dieticians and meals; travel and accommodations, and more, to all

scholarship athletes and walk-ons.

       135.    For Fiscal Year 2016, NCAA D1 schools reported median total expenses and

investments in Athletic Department personnel and equipment to field NCAA teams of:

                        Football Bowl Subdivision “Power Five” | $98,913,000
                        Football Bowl Subdivision | $33,113,000
                        Football Championship Subdivision | $17,290,000
                        Sans Football | $15,956,000

See NCAA Revenues / Expenses Division I Report 2004 – 2016, at 12.

       136.    In 2015, THE WASHINGTON POST examined NCAA D1 member school spending

on professional-grade facilities and on professional-level staffing and coaching salaries in a

series of investigative reports, including:

                       Will Hobson and Steven Rich, “Playing in the Red,”
                        THE WASHINGTON POST, Nov. 23, 2015.

                       Will Hobson and Steven Rich, “The latest extravagances in
                        the college sports arms race? Laser tag and mini golf.”
                        THE WASHINGTON POST, Dec. 15, 2015.


                                              -39-
                                                                  www.StudentAthletePay.com
     Case 2:19-cv-05230-JP        Document 134        Filed 11/04/24      Page 47 of 180




       137.   From Hobson and Rich, “The latest extravagances in the college sports arms

race? Laser tag and mini golf”:

                     A decade of rampant athletics construction across the
                     country has redefined what it takes to field a competitive
                     top-tier college sports program. Football stadiums and
                     basketball arenas now must be complemented by practice
                     facilities, professional-quality locker rooms, players’
                     lounges with high-definition televisions and video game
                     systems, and luxury suites to coax more money from
                     boosters.
                     *****
                     On April 19, 2013, the University of Tennessee dedicated
                     its new $45 million Anderson Training Center, a 145,000-
                     square-foot home for its football team with a two-story
                     weight room, hydrotherapy room, amphitheater-style
                     team meeting room and a public entrance featuring a
                     waterwall and museum commemorating Volunteers
                     football history.
                     At the dedication ceremony, Tennessee Athletic Director
                     Dave Hart told donors that professional football scouts
                     had offered unanimous praise.
                     “They have all told me this is the best facility, college or
                     professional, that they’ve ever seen,” Hart said. “Quite a
                     tribute and quite a legacy to all of you who helped make
                     this possible.”
                     *****
                     The facilities arms race is not solely benefiting football
                     teams. In the past decade, many athletic departments in
                     the wealthy Power Five conferences – the Atlantic Coast
                     Conference, Southeastern Conference, Big 12, Big Ten
                     and Pacific-12 –have built baseball stadiums, volleyball
                     courts, soccer fields, golf practice facilities and ice hockey
                     arenas ….
                     *****
                     Some collegiate players now enjoy facilities superior to
                     those offered by some professional teams. Florida State
                     and the University of Florida have indoor football
                     practice facilities. The NFL’s Jacksonville Jaguars do not.

       138.   From Hobson and Rich, “Playing in the Red”:

                     Auburn Athletics Chief Operating Officer David Benedict
                     explained in an interview how his department lost more

                                              -40-
                                                                  www.StudentAthletePay.com
     Case 2:19-cv-05230-JP         Document 134        Filed 11/04/24   Page 48 of 180




                      money in 2014 than it did in 2004, even though its income
                      nearly doubled during that time ….
                      In 2004, Auburn athletics nearly broke even on earnings
                      of $57.5 million. (All 2004 figures are adjusted for
                      inflation.)
                      By 2014, income had risen to $109.3 million, but
                      spending soared to $126.5 million ….
                      Coaches’ pay more than doubled (from $9.3 million to
                      $20.4 million). Facilities spending tripled (from
                      $8.6 million to $27.8 million), thanks to a building boom
                      including a new basketball arena and practice facility
                      ($89.4 million), a new indoor football practice facility
                      ($23.1 million) and a new soccer-track facility
                      ($17.7 million).
                      Some purchases, Benedict acknowledged, were optional,
                      like two new twin-engine jets: a six-seat 2008 Cessna
                      Citation CJ2+ ($6.4 million) and a seven-seat 2009
                      Cessna Citation CJ3 ($7.8 million), each bearing a blue
                      and orange “AU” insignia on its tail.
                      The jets are used primarily by coaches to criss-cross the
                      country meeting with recruits, contributing to Auburn’s
                      recruiting costs nearly doubling in a decade, from
                      $1.6 million to $2.7 million ….
                      That new [$13.9 million] video board, the largest in
                      college sports, was also optional. Auburn has a history of
                      trend-setting electronics displays. In 2007, it installed
                      the first high-definition video board in the SEC, a
                      $2.9 million purchase Athletic Director Jacobs decided
                      was obsolete eight years later.

       139.   For the Fiscal Year that ended May 31, 2018, Villanova reported total expenses

and investments in Athletic Department personnel and equipment to field NCAA teams of

$48,977,278. See U.S. Department of Education Equity in Athletics Data Analysis (OPE ID:

00338800), available at: https://ope.ed.gov/athletics/#/.

       140.   NCAA D1 member schools, like Villanova, provide Student Athletes with all

equipment and materials required to participate in NCAA sports – only excluding incidental,

nonessential and minimal expenses.




                                              -41-
                                                                www.StudentAthletePay.com
     Case 2:19-cv-05230-JP        Document 134        Filed 11/04/24    Page 49 of 180




       141.   For example, the only “Charges Not Paid By the Athletics Department,” for

which Villanova Student Athletes are personally responsible, include:

                    All phone charges;
                    Consumable charges (i.e. lab fees for breakage, non-
                     required field trips, Lab Coats, etc.);
                    Library fines, parking fines or fines for damage to
                     University property, including residence halls;
                    Key deposits or the costs of key replacements;
                    Replacement costs for lost student I.D.’s;
                    School supplies, dictionaries, reference books, pens,
                     notebooks, paper, etc. unless specified on students
                     syllabus;
                    Vehicle registration fees or parking stickers;
                    University breakage deposit;
                    Use of institutional phones to call off campus is strictly
                     prohibited.

Villanova University Athletics Department Student-Athlete Handbook and Planner (Ex. O),

at 24 (pdf page, because document is unnumbered).

       142.   None of the “Charges Not Paid By the Athletics Department,” for which

Villanova Student Athletes are personally responsible, reflects or relates to an investment in

equipment or materials required to participate in NCAA sports. Id.

       143.   It is the undergraduate institution, practically exclusively, that provides

collegiate athletes with the instrumentalities and tools to complete the work they perform.

                     vii.   Location of the work

       144.   As set forth above, colleges have constructed numerous facilities for practicing

and playing D1 sports. See Hobson and Rich, “The latest extravagances in the college sports

arms race? Laser tag and mini golf.”, supra.

       145.   Upon information and belief, these facilities are located on, and operated on,

college campuses or on property owned by the NCAA D1 member schools.




                                               -42-
                                                                www.StudentAthletePay.com
      Case 2:19-cv-05230-JP        Document 134        Filed 11/04/24     Page 50 of 180




       146.   Home games are played in the stadiums, fields or other playing facilities of

the college, while away games are played on the facilities of other NCAA member

institutions. See NCAA D1 Bylaws 20.2.4 and 31.3.3.1

       147.   The location of the work of NCAA D1 athletes is therefore dictated by the

NCAA and the institution the athlete attends, and takes place on the property of the

member schools.

                      viii.   Duration of relationship between parties

       148.   The NCAA dictates the duration of the employment relationship between D1

schools and their athletes.

       149.   This is because the NCAA and its D1 member schools have the authority, and

discretion, to deny, or impose conditions upon, the transfer to another member school of a

Student Athlete and also dictate the eligibility of players to participate in collegiate

athletics.

       150.   Through the 2017-18 academic year, NCAA bylaws permitted a member school

to enforce the permanence of its relationship to a Student Athlete by blocking her/him from

accepting an athletic scholarship offer to transfer to another member school of her/his choice

and play for that school the same or following season. See 2017-18 NCAA D1 Bylaw 13.1.1.3.

       151.   The NCAA and Villanova admit that, after the 2017-18 academic year,

member schools may still separately adopt NCAA member conference rules that permit

Student Athlete transfers to be blocked. See Defs.’ Resp. to Pl.’s Second Set of Reqs. for

Admis. (Exs. D and E), at No. 48; Michelle Brutlag Hosick, “New transfer rule eliminates

permission-to-contact process,” NCAA.org, June 13, 2018 (“Conferences, however, still can

make rules that are more restrictive than the national rule.”)




                                              -43-
                                                                  www.StudentAthletePay.com
      Case 2:19-cv-05230-JP        Document 134        Filed 11/04/24     Page 51 of 180




       152.    In 2013, The NEW YORK TIMES described the saga of Oklahoma State

quarterback Wes Lunt, who decided he wanted to transfer after losing his starting position

in the aftermath of a knee injury and a concussion:

                       [T]he transfer process started, producing the latest and
                       perhaps an extreme example of what is occurring
                       throughout the country this time of year as many college
                       athletes try to move to different universities.
                       The Oklahoma State coach, Mike Gundy, ruled out nearly
                       40 universities as transfer options for quarterback Wes
                       Lunt, an apparent show of gamesmanship and
                       punishment toward a college athlete who wanted to take
                       his skills elsewhere.
                       The forces at work were not new, but Gundy, like a
                       growing number of coaches, chose to harness them to
                       eliminate many, if not all, of Lunt’s preferred options and
                       to keep a potential rival from gaining the services of a
                       highly regarded quarterback entering his sophomore
                       season. It was a powerful illustration of the big-business
                       mind-set of college sports and the control that coaches
                       have over players.
                       *****
                       Coaches cannot fully prevent athletes like Lunt from
                       transferring to any university they want. But if a coach
                       does not grant an athlete a release, the player must
                       forfeit any scholarship opportunity, pay his own
                       way to the new university and sit out the next
                       season. Meanwhile, Gundy, whose contract pays him
                       $30.3 million over eight years, and other coaches can
                       routinely move from one college to another with minimal
                       consequence, often for bigger contracts after arranging a
                       buyout with the first college.

Greg Bishop, “Want to Play at a Different College? O.K., but Not There or There,”

NEW YORK TIMES, June 7, 2013 (emphasis supplied); also see Will Hobson and Steven Rich,

“College sports’ fastest-rising expense: Paying coaches not to work,” T HE WASHINGTON POST,

Dec. 11, 2015 (regarding the economic freedom of coaches to routinely move from one college

to another with minimal consequence, often for bigger contracts after arranging a buyout

with the first college).


                                              -44-
                                                                  www.StudentAthletePay.com
     Case 2:19-cv-05230-JP         Document 134       Filed 11/04/24      Page 52 of 180




       153.   In 2017, ESPN described the transfer sagas of University of Pittsburgh

shooting guard Cameron Johnson, initially blocked from transferring to any other school in

the Atlantic Coast Conference or school on the University of Pittsburgh’s schedule, and

Kansas State University wide receiver Corey Sutton, initially blocked from transferring to

any of 35 schools on his preferred list:

                      [H]ow can any institution complain when a student
                      decides to leave the school to pursue his or her education
                      elsewhere? Whether on scholarship or not, there is no
                      restriction for any non-athlete student leaving one school
                      and attending another and being able to receive aid or
                      participate in any extracurricular activity.
                      Yet, with athletes (and only athletes), the school the
                      athlete is leaving has the power to limit to where an
                      athlete can transfer and receive aid and participate in
                      varsity athletics. That is the equivalent of a
                      “noncompete” provision in an employment
                      contract. If not employees, how can NCAA rules
                      allow any school to restrict the choice and
                      movement of any student?

Jay Bilas, “Cameron Johnson is the perfect example of the transfer rule gone wrong,”

ESPN.com, June 13, 2017. (emphasis supplied).

       154.   If a Student Athlete is cleared to transfer to another NCAA D1 member

school, that Student Athlete still cannot participate in NCAA sports the same season, and

typically must forego participating in NCAA sports the following season, i.e., sit out one full

season. See NCAA D1 Bylaw 14.5.5.

       155.   The NCAA also dictates a large number of rules regarding the eligibility of

athletes to play NCAA sports. See NCAA D1 Bylaw 12.7.

       156.   A D1 school is also able to rescind a scholarship disallow and athlete from

playing on a sports team because that athlete fails to meet eligibility criteria.




                                              -45-
                                                                 www.StudentAthletePay.com
     Case 2:19-cv-05230-JP          Document 134      Filed 11/04/24     Page 53 of 180




       157.    The NCAA and its D1 member schools therefore dictate the duration of the

working relationship between the NCAA, the schools and the collegiate athletes.

                      ix.     Whether the hiring party has the right to assign
                              additional projects to the hired party

       158.    The NCAA and its D1 member schools can assign collegiate athletes a wide

variety of projects, tasks, and duties.

       159.    Collegiate athletes may be required to participate in practices, training

sessions, nutrition programs, reviews of previous games and strategy sessions, media

sessions, and competitive events.

       160.    Further, as set forth in Paragraph 81, supra, college athletes may be on call

“at all times.” Their supervisors, such as coaches, have enormous power to assign athletes

activities and can keep them on schedules that exceed eight hours of programmed time per

day. See Paragraphs 70-73, supra.

       161.    D1 schools may, and do, assign a wide variety of projects, tasks, and duties to

their collegiate athletes, making them employers under the FLSA.

                      x.      Extent of hired party’s discretion over when and how
                              long to work

       162.    NCAA collegiate athletes are unable to flexibly schedule hours, days and

different jobs at different hourly rates to accommodate preferred/chosen classes and

academic degree programs.

       163.    As set forth in Paragraph 81, supra, college athletes may be on call “at all

times.” Their supervisors, such as coaches, have enormous power to assign athletes

activities and can keep them on schedules that exceed eight hours of programmed time per

day. See Paragraphs 70-73, supra. College athletes are regularly unable to take classes




                                             -46-
                                                                 www.StudentAthletePay.com
     Case 2:19-cv-05230-JP        Document 134       Filed 11/04/24     Page 54 of 180




they want to take or declare preferred majors because their lack of discretion over when or

how long to work precludes them from doing so. See Paragraphs 54-66, supra.

       164.   Collegiate athletes are employees because they completely lack discretion over

when and how long to work.

                     xi.      Method of payment

       165.   Student athletes are precluded from earning wages.

       166.   For reasons set forth in Paragraphs 174 through 184, infra, Student Athletes

do not have any options to choose any opportunities to play NCAA sports for wages at any

NCAA D1 member school. Student Athletes also do not have any options to bargain for such

wages with any such school.

       167.   In the United States, three associations of colleges and universities regulate

intercollegiate Varsity sports, i.e., sports which are sponsored by the school, supervised by

school staff and funded through the school’s budget, and from which the school derives

school branding benefits and revenues: the NCAA, National Association of Intercollegiate

Athletics (“NAIA”), and National Junior College Athletic Association (“NJCAA”). See

www.NCAA.org; www.NAIA.org; www.NJCAA.org.

       168.   The NCAA has jurisdiction over some 1,117 four-year colleges and universities

and nearly 500,000 student athletes. See What Is the NCAA?, available on NCAA.org at:

www.NCAA.org/about/resources/media-center/ncaa-101/what-ncaa.

       169.   NCAA D1 bylaws are set forth in the NCAA D1 Manual. See, e.g., the 2017-18

NCAA Division I Manual, available on NCAApublications.com at:

www.NCAApublications.com/DownloadPublication.aspx?download=D118.pdf.

       170.   The NAIA has jurisdiction over some 250 four-year colleges and universities

and 65,000 student athletes. See www.NAIA.org.



                                             -47-
                                                                www.StudentAthletePay.com
     Case 2:19-cv-05230-JP         Document 134       Filed 11/04/24     Page 55 of 180




       171.   NAIA bylaws are set forth in the NAIA Official & Policy Handbook available

at: www.NAIA.org/fls/27900/1NAIA/pubs/legislative/NAIA_Official_Handbook.pdf.

       172.   The NJCAA has jurisdiction over some 515 two-year junior colleges and

60,000 student athletes. See Member College Directory, available at:

www.NJCAA.org/member_colleges/college-directory; Student-Athlete Participation

Statistics, available at: www.NJCAA.org/about/history/SA_Participation/index.

       173.   NJCAA bylaws are set forth in the NJCAA Handbook & Casebook. See, e.g.,

the 2017-18 NJCAA Handbook & Casebook, available at:

https://d2o2figo6ddd0g.cloudfront.net/a/1/o4bxsuaw8aflcy/2017-

18_NJCAA_Handbook_Jan_4_2018.pdf.

       174.   All schools in each of the NCAA, NAIA and NJCAA have mutually agreed not

to offer wages for participation in intercollegiate Varsity sports, and they have adopted

bylaws prohibiting schools from offering wages and Student Athletes from accepting wages.

See, e.g., NCAA D1 Bylaw 12.1.2; NAIA Bylaw VII; NJCAA Bylaw V.4.A.

       175.   To enforce their mutual agreements and bylaws prohibiting schools from

offering wages and Student Athletes from accepting wages, all schools in each of the NCAA,

NAIA and NJCAA have adopted bylaws prescribing sanctions for infractions, including, but

not limited to, suspension or termination of the student athlete’s eligibility; reduction of the

letters of intent that the school is permitted to accept from high school recruits and/or

athletic scholarships that the school is permitted to offer; suspension of coaching staff;

and/or school team disqualification from regular season competition and/or post-season and

championship segments. See, e.g., NCAA D1 Bylaws 19.1, 19.9.5, 19.9.7 and 19.9.8; NAIA

Bylaws VI.B and VI.C; NJCAA Bylaws I.3.A.1, V.3.D, V.4.B.4 and V.4.E.

       176.   In the NCAA, “[c]ash payment or other benefits provided by a coach,

administrator or representative of the institution’s athletics interests” are considered a

                                              -48-
                                                                 www.StudentAthletePay.com
     Case 2:19-cv-05230-JP        Document 134       Filed 11/04/24     Page 56 of 180




Severe Breach of Conduct (Level I Violation) subject to the highest penalties, including, for

the Student Athlete, suspension or termination of eligibility, and for the member school,

competition penalties (e.g., postseason bans), financial penalties, scholarship reductions,

head coach restrictions and recruiting restrictions. See NCAA D1 Bylaws 19.1.1(f), 19.9.5

and 19.9.7.

       177.   In 2010, ESPN’s docuseries “30 for 30” featured NCAA sanctions imposed

against Southern Methodist University in 1987 for prohibited cash payments, including a

two year ban on football regular and post-season referred to as the “death penalty” and

reductions in scholarships. See Pony Excess. (2010). [documentary] Directed by T. Matula.

ESPN; Major Infractions Case | Southern Methodist University (Feb. 25, 1987), available on

NCAA.org at https://web3.NCAA.org/lsdbi/search/miCaseView?id=44.

       178.   In 2015, ESPN’s docuseries “30 for 30” featured NCAA sanctions imposed

against the University of Southern California in 2010, for prohibited cash payments,

including a two year ban on football post-season, reductions in scholarships and a $206,020

fine. See Trojan War. (2015). [documentary] Directed by A. Thomas. ESPN; Major

Infractions Case | University of Southern California (June 10, 2010), available on NCAA.org

at https://web3.NCAA.org/lsdbi/search/miCaseView?id=691.

       179.   In the NCAA, the only circumstance under which a Student Athlete is

permitted to receive payment based upon athletic performance and retain NCAA eligibility

is through the U.S. Olympic Committee’s (“USOC”) Operation Gold program. See NCAA D1

Bylaw 12.1.2.1.5.1.

       180.   In Olympic Games competition, the USOC Operation Gold program currently

pays NCAA-eligible Student Athletes the following amounts for each medal won: $37,500

for each Gold, $22,500 for each Silver and $15,000 for each Bronze. See Athlete Services /



                                             -49-
                                                                www.StudentAthletePay.com
     Case 2:19-cv-05230-JP       Document 134         Filed 11/04/24      Page 57 of 180




Financial Resources, available on TeamUSA.org at:

www.teamusa.org/Home/Team%20USA%20Athlete%20Services/Financial%20Resources.

      181.   In 2016, USA Today reported that the USOC Operation Gold program offers

NCAA-eligible Student Athletes additional pay through USA sport governing bodies and

organizations, e.g., USA Swimming and USA Wrestling, in non-Olympic Games competition:

                    Kyle Snyder couldn’t get much more than an athletic
                    scholarship from Ohio State this past school year, when
                    he won an NCAA wrestling title for the Buckeyes as a
                    sophomore.
                    But he did get paid by somebody else to wrestle.
                    In addition to $50,000 for winning a world championship
                    in September, USA Wrestling has been giving Snyder
                    $1,000 a month to cover training expenses — both
                    without running afoul of NCAA rules.
                    *****
                    Ohio State’s Snyder — the youngest world champion in
                    American wrestling history — will be at the Games, and
                    as with any U.S. wrestler, a gold medal will bring him a
                    total of $250,000 from USA Wrestling and the USOC, a
                    silver $50,000 and a bronze $25,000 ….
                    But as the NCAA creates more opportunities for
                    prospective Olympians to get money based on their
                    athletic skills, it continues to fight several legal battles to
                    restrict what football and basketball players can receive
                    ….
                    *****
                    World record-setting swimmer Katie Ledecky, who is
                    slated to enter three individual events and two relays in
                    Rio, could pocket $125,000 from the USOC and keep her
                    commitment to begin competing for Stanford this school
                    year. She also will be able to keep additional money from
                    USA Swimming under Operation Gold, although Scott
                    Leightman, a spokesman for the organization, declined to
                    provide the amounts available.
      See Steve Berkowitz, “Olympics offer rare chance for NCAA athletes to be paid,” USA

      Today, Aug. 2, 2016.




                                             -50-
                                                                  www.StudentAthletePay.com
       Case 2:19-cv-05230-JP         Document 134         Filed 11/04/24      Page 58 of 180




        182.   By contrast to Student Athletes, non-student athletes have the option to apply

for paid positions in NCAA D1 member school Athletic Departments. For example, the

Villanova Athletic Department hires unpaid and paid student interns. Some internships in

the Business Office, Marketing & Promotions (Spring and Summer), Facilities & Operations

(Position 2), and Video Production (Volunteer Intern) are unpaid. But, other internships in

Academic Support, the Athletic Director’s Office, Compliance and Student Services,

Facilities & Operations (Position 1), Marketing & Promotions (Fall/Spring), Media

Relations, Strength & Conditioning, the Ticket Office and Video Production are paid $1400

per month. See Athletic Department Internship Program, attached hereto as Exhibit L and

available on Villanova.com at: https://Villanova.com/sports/2018/6/18/internships.aspx.

        183.   If injury or illness prevents a Student Athlete from playing NCAA sports, s/he

is “expected to assist the athletics department in other operational activities (i.e. coaching

and/or support staff duties” without pay. See, e.g., Athletic Financial Aid Agreement,

attached hereto as Exhibit M and available on NCAA.org at:

https://www.NCAA.org/sites/default/files/FinAidForm_0.pdf.9

        184.   By contrast to Student Athletes, non-student athletes who perform

operational activities in NCAA D1 member school Athletic Department are paid at least

minimum wage. See, e.g., Livers (Phillips) v. NCAA: Answer (ECF 130), at ¶ 67; Villanova

Athletic Department Internship Program (Ex. L) (Athletic Director’s Office Interns are paid

$1400 per month to support “day-to-day coordination of operational activities … answering

the phone, typing memos and letters, preparing HR forms, maintaining the Athletic


   9    All Student Athletes are expected to assist the athletics department in this manner without
pay. The NCAA admits there is no principled distinction between scholarship athletes and walk-ons,
and that the only policies and practices that apply to scholarship athletes exclusively are bylaws that
set the number of scholarships schools may award and that permit revocation of scholarships for
misconduct (as opposed to revocation of athletic eligibility, which applies to scholarship athletes and
walk-ons alike). See Paragraph 332, infra.

                                                 -51-
                                                                     www.StudentAthletePay.com
        Case 2:19-cv-05230-JP       Document 134       Filed 11/04/24     Page 59 of 180




Director’s email account, compiling a monthly calendar and the department personnel

directory [and] assisting with special projects”).

         185.   The NCAA and its D1 schools therefore have complete control over the rate

and method of pay for collegiate athletes—and they choose not to pay them at all.

                       xii.    Hired party’s role in hiring and paying assistants

         186.   Collegiate athletes have no role in hiring or paying assistants.

         187.   As set forth in Paragraphs 136 through 138, supra, D1 schools can and do hire

coaching staffs to perform work related to collegiate sports, and those positions are not only

paid, but those individuals are often among the highest-paid individuals working for

institutions offering undergraduate degrees.

         188.   Additionally, D1 schools can and do hire support staffs to assist collegiate

athletes in training, nutrition, logistics, and other functions directly related to the

performance of collegiate athletes on the field, as well as administrative and business affairs

staffs who perform the work that sustains the functions of an athletics department ranging

from ticket sales and marketing to payroll and negotiating television contracts.

         189.   As set forth in Paragraphs 89 and 182, supra, D1 schools can and do hire

students to perform ancillary work in the area of collegiate sports, and those positions are

paid.

         190.   This enormous cadre of well-remunerated staff support the work of the unpaid

collegiate athletes, and they are hired by the schools and the NCAA, not the athletes.

                       xiii.   Whether the work is part of the regular business of
                               the hiring party

         191.   For reasons set forth in Paragraphs 52 through 101, supra, Student Athlete

performance is integral to the billion dollar Big Business of NCAA sports.




                                              -52-
                                                                  www.StudentAthletePay.com
     Case 2:19-cv-05230-JP        Document 134       Filed 11/04/24      Page 60 of 180




                     xiv.    Other Factors

       192.   The right of control test sets out a non-exhaustive list of factors in evaluating

employment status, and the Court may consider additional indicia of employment, such as

those listed below. Darden, 503 U.S. at 324 (quoting Reid, 490 U.S. at 752).

       193.   As set forth in Paragraphs 174 through 184, supra, the NCAA and its D1

schools preclude student athletes from being paid. For that reason, the provision of

employee benefits and tax treatment of wages of collegiate athletes are nonexistent or

indiscernible. See Darden, 503 U.S. at 324 (quoting Reid, 490 U.S. at 752).

       194.   The work of collegiate athletes is closely monitored by employees of the

NCAA and its D1 member schools. Coaches and support staff work with collegiate athletes

daily and control their daily working hours, their practice and training time and activities,

their playing time and roles on the field, and even their health and nutrition. See

Rutherford Food Corp. v. McComb, 331 U.S. 722, 730 (1947).

       195.   As set forth in Paragraphs 59 and 109, supra, and Paragraphs 288-298, infra,

the NCAA and its D1 schools have the authority to discipline collegiate athletes. The

authority to conduct employee discipline is a factor in some employment law tests. See In

re Enter. Rent-A-Car Wage & Hour Emp. Pracs. Litig., 683 F.3d 462, 468 (3d Cir. 2012)

       196.   Upon information and belief, records of former collegiate athletes are held by

the institution where that athlete played and/or the NCAA. See id. Such records are

needed to determine, for example, playing eligibility.

       197.   Upon information and belief, athletes can be dismissed from their teams

without notice or explanation. The authority to terminate an employee unilaterally is a

factor in some employment law tests. See Butler v. Drive Auto. Indus. of Am., Inc., 793 F.3d

404, 413 (4th Cir. 2015).



                                             -53-
                                                                www.StudentAthletePay.com
     Case 2:19-cv-05230-JP           Document 134       Filed 11/04/24     Page 61 of 180




          198.   Athletes typically perform under the direction of a supervisor, like a coach,

who is an employee of the employing entity, in both the collegiate setting and the

professional setting. This is a factor in some employment law tests. See E.E.O.C. v. Zippo

Mfg. Co., 713 F.2d 32, 37 (3d Cir. 1983).

                        xv.    Johnson v. NCAA Factor No. 4
                               Collegiate athletes perform their services in return for
                               “express” or “implied” compensation or “in-kind
                               benefits”

          199.   The Third Circuit has directed the court to determine whether collegiate

athletes perform their services for any form of compensation or benefit. Johnson, 108 F.4th

at 180.

          200.   Those factors were set out in Tony & Susan Alamo Found. v. Sec'y of Lab.,

471 U.S. 290, 302 (1985), a case that determined ostensible volunteers were employees

under the FLSA because they took “wages in another form,” as “food, clothing, shelter, and

other benefits.” Tony & Susan Alamo at 292, 302.

          201.   Colleges provide the tools and means needed for participation in NCAA

sports – training, practice and game equipment and facilities; preventative care and

medical treatment; dieticians and meals; travel and accommodations, and “other benefits”–

to all scholarship athletes and walk-ons. Id.

          202.   Importantly, these are all forms of in-kind compensation provided by pro

sports teams to pro athletes. By contrast, an independent contractor or volunteer would

have to cover such expenses out of pocket.

          203.   Plaintiffs were provided with clothing such as practice gear, travel wear, and

other apparel (which they were allowed to keep after the playing season ended and after

graduation) through their participation in collegiate sports. Plaintiffs were also provided




                                               -54-
                                                                  www.StudentAthletePay.com
      Case 2:19-cv-05230-JP        Document 134       Filed 11/04/24     Page 62 of 180




with “swag”—assorted branded promotional products—through their participation in

collegiate sports.

       204.    Plaintiffs were provided with meal money, travel expenses, and incidentals

related to travel for sporting competitions by their schools through their participation in

collegiate sports.

       205.    Some of the Plaintiffs were provided with food, including meal card swipes

and meals during the playing season, through their participation in collegiate sports.

       206.    Some of the Plaintiffs were provided with free or reduced-cost tickets to

collegiate sporting events through their participation in collegiate sports.

       207.    Some of the Plaintiffs were provided with free or reduced-cost on-campus

housing through their participation in collegiate sports.

       208.    Most importantly, many of the Plaintiffs received scholarships to play their

D1 sport, and all of the Plaintiff participated in their sport with other athletes who received

scholarships to attend their school and play their sport. In other words, they were provided

with a particular benefit for their labor—a reduced-cost education.

       209.    Collegiate athletes therefore, despite being unpaid, take wages in the form of

“food, clothing, shelter, and other benefits,” particularly through reduced-cost educational

experiences. Id. at 302.

II.    THE COMPARISON TO WORK-STUDY PARTICIPANTS

       210.    D1 schools do not treat student athletes as employees. They do, however,

treat work-study participants as employees. The comparison is instructive.

       211.    Various Work Study guidelines require NCAA D1 member schools, like

Villanova, to offer Work Study jobs providing training similar to that which would be given

in an educational environment and/or beneficial learning. See FSA HB, Ch. 2.



                                             -55-
                                                                 www.StudentAthletePay.com
     Case 2:19-cv-05230-JP           Document 134      Filed 11/04/24     Page 63 of 180




          212.   Pursuant to Work Study guidelines:

                       To the maximum extent practicable, a school must provide
                       FWS [“Federal Work Study”] jobs that complement and
                       reinforce each recipient’s educational program or
                       career goals.

Id., at 6-39. (emphasis supplied).

          213.   NCAA D1 member schools, like Villanova, offer jobs through Work Study that

complement and reinforce student employees’ respective educational program. See, e.g.,

Livers (Phillips) v. NCAA: Villanova’s Resp. to Pl.’s Second Set of Reqs. for Admis. (Ex. D), at

No. 34.

          214.   Pursuant to Work Study guidelines:

                       Job descriptions for all FWS positions should be a part of
                       the control procedures included in your school’s policies
                       and procedures manual…. [A] written job description
                       provides students with the information they need to
                       determine whether they qualify for the job, whether the
                       job is related to their educational or career
                       objectives, and whether the job is of interest to them.

FSA HB, Ch. 2, at 6-45. (emphasis supplied).

          215.   Pursuant to Work Study guidelines:

                       At any type of postsecondary institution, including
                       proprietary schools, an FWS student may be assigned
                       to assist a professor if the student is doing work the
                       school would normally support under its own employment
                       program. Having a student serve as a research assistant
                       to a professor is appropriate, as long as the work is in
                       line with the professor’s official duties and is considered
                       work for the school itself.

Id., at 6-68. (emphasis supplied).

          216.   NCAA D1 member schools, like Villanova, offer jobs through Work Study that

assist academic faculty. See, e.g., Livers (Phillips) v. NCAA: Villanova’s Resp. to Pl.’s Second

Set of Req. for Admis. (Ex. D), at No. 35.

          217.   Pursuant to Work Study guidelines:

                                              -56-
                                                                  www.StudentAthletePay.com
     Case 2:19-cv-05230-JP         Document 134      Filed 11/04/24    Page 64 of 180




                       If a student’s skill level depends on his or her
                       academic advancement, the school may pay a student
                       on that basis. For example, a junior or third-year lab
                       student may be paid a higher rate than a sophomore or
                       second-year lab student.

FSA HB, Ch. 2, at 6-47. (emphasis supplied).

       218.   Work Study guidelines permit NCAA D1 member schools, like Villanova, to

offer Work Study jobs tied to the student’s formal education program by integrated

coursework and/or the receipt of academic credit. See FSA HB, Ch. 2; Livers (Phillips) v.

NCAA: Villanova’s Resp. to Pl.’s Second Set of Req. for Admis. (Ex. D), at No. 36.

       219.   Pursuant to Work Study guidelines:

                       A student may earn academic credit as well as
                       compensation for FWS jobs. Such jobs include but are
                       not limited to internships, practica, or assistantships
                       (e.g., research or teaching assistantships).

FSA HB, Ch. 2, at 6-44. (emphasis supplied).

       220.   Similarly, the NCAA operates a Postgraduate Internship Program for which a

student employed by the NCAA may receive academic credit at a graduate school:

                       NCAA postgraduate interns are nonexempt
                       employees with benefits …. [W]ith graduate school
                       approval, an intern can be eligible to earn graduate
                       degree credit.

NCAA Postgraduate Internship Program, available on NCAA.org at:

www.NCAA.org/about/resources/leadership-development/postgraduate-internship-program.

(emphasis supplied).

       221.   Similarly, Villanova operates an Internship Program that ties employment of

students by third parties to Villanova’s formal education program by integrated coursework

and the receipt of academic credit:




                                             -57-
                                                               www.StudentAthletePay.com
Case 2:19-cv-05230-JP    Document 134       Filed 11/04/24    Page 65 of 180




             Credit Approval
             Students must secure academic credit approval before
             the internship begins. Students must schedule a meeting
             with the Director of the Internship Program. Academic
             credit is not awarded retroactively for an
             internship. A maximum of 15 total credits may be
             earned through the Internship Program.
             Compensation
             Monetary compensation for an internship does not affect
             eligibility to receive academic credit. A student may
             receive both monetary compensation and academic credit
             for an internship.
             Course Requirements
             To earn academic credit for an internship, a student
             agrees to complete the following requirements:
                Work Hours: The student must complete a
                 minimum of 150 work hours within a single semester
                 to be eligible to earn three (3) credits. The student
                 must track the number of hours worked each week in
                 the Activity Journal, to be signed weekly by their
                 internship supervisor.
                Student Internship Agreement: The student must
                 meet with a representative from the Internship
                 Program or attend a group meeting prior to the start
                 of the Internship. The student must sign the Student
                 Internship Agreement as part of the application
                 process and abide by all conditions outlined therein
                 during their internship experience.
                Learning Objectives: At the beginning of the
                 internship, the student will meet with the site
                 supervisor to establish three to five learning
                 objectives. The student will record the objectives on
                 the Learning Objectives Agreement and both the intern
                 and the site supervisor will sign the Agreement. The
                 Learning Objectives Agreement is due no later than
                 the third week of the internship.
                Academic Paper: A student who completes an
                 internship through a major, minor, or concentration
                 must follow the Academic Paper/Research guidelines
                 required by that department. A student who
                 completes an internship as a Liberal Arts elective is
                 required to complete the online course requirements.
                Activity Journal Requirements (Rev Nov
                 2015).pdf

                                    -58-
                                                      www.StudentAthletePay.com
     Case 2:19-cv-05230-JP        Document 134       Filed 11/04/24      Page 66 of 180




                         Interns must maintain an Activity Journal that
                         recounts the specific jobs and functions that he or she
                         has performed. These entries should include the
                         relationship of the projects and tasks performed, the
                         relationship of the activity to the goals and objectives
                         set forth in the Learning Objectives Agreement. The
                         Intern should complete entries for each day at work
                         and indicate the number of hours worked per day. To
                         ensure the intern remains focused on the learning
                         objectives, the site supervisor will review and initial
                         the Activity Journal weekly.

Office for Undergraduate Students / Internships / General Policies, available on

Villanova.edu at:

https://www1.Villanova.edu/villanova/artsci/undergrad/ous/internship/policies.html.

(emphasis in original)

       222.   The NCAA and Villanova admit that NCAA sports are not tied to the

student’s formal education program by integrated coursework or receipt of academic credit.

See Livers (Phillips) v. NCAA: Defs.’ Resp. to Pl.’s Second Set of Reqs. for Admis. (Exs. D

and E), at No. 37.

       223.   Various Work Study guidelines require NCAA D1 member schools, like

Villanova, to offer Work Study jobs that accommodate the student employee’s academic

commitments, i.e., do not conflict with the student employee’s preferred/chosen classes and

academic degree program and do not hinder the student employee’s academic progress. See

FSA HB, Ch. 2.

       224.   Pursuant to Work Study guidelines:

                     Working During Scheduled Class Time Is
                     Prohibited. In general, students are not permitted to
                     work in FWS [Federal Work Study] positions during
                     scheduled class times. Exceptions are permitted if an
                     individual class is cancelled, if the instructor has excused
                     the student from attending for a particular day, and if the
                     student is receiving credit for employment in an



                                             -59-
                                                                www.StudentAthletePay.com
     Case 2:19-cv-05230-JP          Document 134      Filed 11/04/24     Page 67 of 180




                      internship, externship, or community work study
                      experience. Any such exemptions must be documented.

Id., at 6-43. (emphasis in original)

       225.   Villanova admits that student employees are not permitted to work in

Work Study jobs during scheduled class times. See Livers (Phillips) v. NCAA: Villanova’s

Resp. to Pl.’s Second Set of Req. for Admis. (Ex. D), at No. 38.

       226.   Pursuant to Work Study guidelines:

                      A school should determine the number of hours a student
                      is allowed to work based on … how the combination of
                      work and study hours will affect the student’s health and
                      academic progress.

FSA HB, Ch. 2, at 6-46.

       227.   NCAA D1 member schools, like Villanova, limit hours that a student employee

is allowed to work in Work Study to 20 hours per week during academic periods. For example,

in the Villanova Student Employment Program:

                      Eligibility

                      The Student Employment Program allows currently
                      enrolled students, excluding University faculty and staff
                      employees, to work up to 20 hours per week during the
                      Fall and Spring semesters and 35 hours per week during
                      the Summer semester and academic breaks to earn funds
                      to help pay for their educational expenses. Departments
                      with 40 hour workweeks may allow students to work up
                      to 40 hours during breaks and the Summer semester.
                      If a student holds multiple jobs on campus, the hours
                      restriction applies across all University student
                      employment. That is, no student may work more than a
                      total of 20 hours per week during academic periods
                      cumulative between all University student jobs. The
                      student employee is responsible for notifying his or her
                      supervisor in each job of all other University student
                      employment positions held, along with information
                      regarding scheduled hours of work in each.

Villanova Student Employment Program Handbook, available on Villanova.edu at:



                                              -60-
                                                                   www.StudentAthletePay.com
     Case 2:19-cv-05230-JP        Document 134        Filed 11/04/24     Page 68 of 180




https://www1.Villanova.edu/villanova/hr/employment/student-employment/student-

handbook.html.

       228.   Villanova permits student employees in Work Study to schedule work weeks

of 10 hours or fewer. See Livers (Phillips) v. NCAA: Villanova’s Resp. to Pl.’s Second Set of

Req. for Admis. (Ex. D), at No. 27.

       229.   To accommodate preferred/chosen classes and academic degree programs of

student employees in Work Study and manage their combination of work and study hours,

NCAA D1 member schools, like Villanova:

                     offer Work Study jobs at multiple times – during morning
                      hours (6:00 a.m. to 12:00 p.m.), afternoon hours (12:00
                      p.m. to 5:00 p.m.), and evening hours (5:00 p.m. to 12:00
                      a.m.) – throughout the academic week and on the
                      weekend. Id., at Nos. 19-22 and 26.
                     offer Work Study jobs having variable hours that permit a
                      student employee to schedule different shifts on different
                      days of the academic week. Id., at No. 23.
                     offer a range of Work Study jobs at different hourly rates.
                      Id., at No. 50.
                     permit a student employee to work in up to two different
                      Work Study jobs, having different duties, work hours,
                      hourly rates and work days, provided s/he does not exceed
                      the maximum 20 work hours per week. Id., at Nos. 24
                      and 50.
                     offer Work Study jobs that permit a student employee to
                      schedule a day(s) off from working during the academic
                      week. Id., at No. 25.

       230.   By contrast to Work Study, Student Athletes are obligated to schedule classes

around required NCAA athletically related activities – and not permitted to (re)schedule

required NCAA athletically related activities to accommodate their preferred/chosen classes

and academic degree programs.

       231.   Work Study guidelines prohibit NCAA D1 member schools, like Villanova,

from displacing non-student employees with the work of students in Work Study; instead,


                                             -61-
                                                                 www.StudentAthletePay.com
     Case 2:19-cv-05230-JP         Document 134        Filed 11/04/24     Page 69 of 180




NCAA D1 member schools are only permitted to use Work Study to complement the work of

non-student employees. See FSA HB, Ch. 2.

       232.    Pursuant to Work Study guidelines:

                      FWS employment must not displace employees
                      (including those on strike) or impair existing service
                      contracts. Also, if the school has an employment
                      agreement with an organization in the private sector, the
                      organization’s employees must not be replaced with FWS
                      students.
                      Replacement is interpreted as displacement.
                      Therefore, replacing a full-time employee whose position
                      was eliminated (for any reason) with a student employee
                      paid with FWS funds is prohibited. Moreover, this
                      prohibition extends to instances where a school first
                      replaces the full-time employee with a student position
                      paid with college funds.

Id., at 6-43. (emphasis in original)

       233.    The NCAA and Villanova admit that NCAA member schools employ students

in Work Study to complement tasks performed by non-student employees in campus

departments and offices, libraries, dining halls, facilities and stores. See Livers (Phillips) v.

NCAA: Defs.’ Resp. to Pl.’s First Set of Reqs. for Admis., at No. 5, attached hereto as

Exhibits F and G; Answer (ECF 130), at ¶¶ 66 and 98.

       234.    Villanova, for example, employs Athletic Director’s Office Interns, whose

prime duties are to support “day-to-day coordination of operational activities in the

Athletic Director’s Office including: answering the phone, typing memos and letters, preparing

HR forms, maintaining the Athletic Director’s email account, compiling a monthly calendar

and the department personnel directory [and] assisting with special projects” and who are

paid $1400 per month. See Athletic Department Internship Program (Ex. L).




                                              -62-
                                                                  www.StudentAthletePay.com
        Case 2:19-cv-05230-JP       Document 134        Filed 11/04/24      Page 70 of 180




         235.   NCAA bylaws permit NCAA D1 member schools to employ Student Athletes

through Work Study to complement tasks performed by coaches in Sports Camps and

Clinics. See NCAA D1 Bylaws 12.4.3 and 13.12.

         236.   The use of Student Athletes to assist coaches in Sports Camps and Clinics is

optional, not integral, as Sports Camps and Clinics can, and often do, operate without

Student Athlete employees.

         237.   By contrast to Student Athletes competing in NCAA sports, the NCAA and

Villanova admit that some college employees, including student employees in Work Study,

perform work that does not generate revenue for the school for which they work. See Livers

(Phillips) v. NCAA: Answer (ECF 130), at ¶ 130.

         238.   Work Study at NCAA D1 member schools is governed by 38 pages of the FSA

HB, Chapter 2.10 See FSA HB, Ch. 2, at 6-39 to 6-68; 6-71 to 6-72; and 6-83 to 6-88.

         239.   NCAA D1 member schools typically publish supplemental handbooks

articulating standards controlling student employee performance and conduct in Work Study

that are much shorter than those mandating the conduct of collegiate athletes. See, e.g., the 6-

page Villanova University Student Employment Program Handbook11 available on

Villanova.edu at: https://www1.Villanova.edu/villanova/hr/employment/student-

employment/student-handbook.html.




   10  Excluding 12 pages addressing Proprietary Schools, Apprenticeships, the Job Location and
Development Program and Work Colleges.
   11    The online handbook prints out as 6 pages after expanding headings, which headings include
Eligibility, International Students, On-Campus Employment, Off-Campus Employment, Completing
Employment Paperwork, Pay Policies, Employment of Relatives, Operation of Vehicles,
Employment Verifications, Resignations and Terminations, Sexual Violence Policy and Additional
University Policies.

                                               -63-
                                                                    www.StudentAthletePay.com
       Case 2:19-cv-05230-JP       Document 134       Filed 11/04/24     Page 71 of 180




        240.   There are no school rules restricting a non-student athlete’s or Work Study

participant’s pursuit of use of social media; legal gambling; legal consumption of alcohol; or

legal use of nicotine products.

        241.   In summary, then, student athletes are not considered employees by D1

schools, while work study participants. This is true even though work study participants

receive academic benefits from their program participation, their positions are less

detrimental to their academic careers than athletics are to collegiate athletes, they are

subject to less control by the school, Work Study participants perform complementary (often

menial) tasks and are not as integral to, or irreplaceable in, any enterprise or undertaking

of the educational institution.

III.    DEFENDANTS ARE JOINT EMPLOYERS OF STUDENT ATHLETES

        A.     NCAA Bylaws Apply to All Student Athletes on An Equal Basis

        242.   The NCAA and Villanova admit that NCAA rules apply to all Student Athletes

in NCAA sports on an equal basis, and that these bylaws address, among other subjects,

Student Athlete recruitment, eligibility, hours of participation, duration of eligibility and

discipline. See Livers (Phillips) v. NCAA: Answer (ECF 130), at ¶ 30.

        B.     The Role(s) of NCAA Member Schools in Handing Down NCAA Bylaws

         243. “What Is the NCAA?,” attached hereto as Exhibit Q and available on

 NCAA.org at www.NCAA.org/about/resources/media-center/ncaa-101/what-ncaa, states,

 among other things:

               WHAT IS THE NCAA?
               The National Collegiate Athletic Association is a member-led
               organization …

               WHOSE RANKS INCLUDE
               College Presidents lead their schools and the NCAA
               *****

                                              -64-
                                                                 www.StudentAthletePay.com
        Case 2:19-cv-05230-JP       Document 134         Filed 11/04/24     Page 72 of 180




                WHO MAKES THE RULES?
                Member representatives serve on committees that
                propose rule and policies surrounding college sports.
                Members ultimately decide which rules to adopt –
                everything from recruiting and compliance to academics and
                championships – and implement them on campus.

                WHAT DOES THE NATIONAL OFFICE DO?
                The 500 employees at the NCAA’s Indianapolis headquarters
                interpret and support member legislation, run all
                championships and manage programs that benefit student
                athletes.

(emphasis supplied).

         244.   “How the NCAA Works: Division I,” attached hereto as Exhibit R and available

on NCAA.org at www.NCAA.org/sites/default/files/2018DINCAA-HowTheNCAAWorks-

DI_20180313.pdf, states, among other things:

                Rule-making starts with the schools and athletics
                conferences that belong to Division I.
                If an athletics director wants to change recruiting legislation, for
                example, the idea could be introduced through the committee
                structure.
                *****
                Representatives       serve on         NCAA committees that
                determine the         division’s       direction and develop
                legislation.
                *****
                DIVISION I COUNCIL
                Made up of practitioners who work daily in Division I college
                sports12 …
                40    members,      including      one    from    each    of    the
                32 conferences
                BOARD OF DIRECTORS



   12   See, also, Division I Council available on NCAA.org at:
www.NCAA.org/governance/committees/division-i-council (“The Division I Council is a high-level
group responsible for the day-to-day decision-making for Division I. Athletics directors,
athletics administrators, senior women administrators, faculty athletics representatives and
student-athletes serve on the Council.”) (emphasis supplied).

                                                -65-
                                                                   www.StudentAthletePay.com
     Case 2:19-cv-05230-JP       Document 134       Filed 11/04/24     Page 73 of 180




             The Board of Directors is the top governing body for Division I,
             responsible for strategy and policy and overseeing legislation and
             management of the division
             24 members: 20 presidents, 1 from each FBS conference and 10
             seats rotating among the remaining 22 conferences

(emphasis supplied).

      245.   NCAA D1 Constitution Article 5. Legislative Authority and Process states,

among other things:

             5.01.1 Basis of Legislation. All legislation of the Association
             that governs the conduct of the intercollegiate athletics
             programs of its member institutions shall be adopted by the
             membership in Convention assembled, or by the divisional
             governance structures as set forth in Constitution 4, as
             determined by the constitution and bylaws governing each
             division, and shall be consistent with the purposes and
             fundamental policy set forth in Constitution 1, and shall be
             designed to advance one or more principles such as those set
             forth in Constitution 2.
             *****
             5.1.3 Annual or Special Convention Delegates ….
             5.1.3.1.1 With Voting Privileges. Each active member and
             each member conference with voting privileges, as specified in
             Constitution    3.3.2.2,   shall      be      entitled      to
             one vote.

      246.   In a U.S. Senate hearing on NCAA sports, NCAA President Mark Emmert

explained:

             [I]t’s important to understand that the NCAA is a democratically
             governed, membership-led association …. Members make rules
             through a representative process much as you do in Congress.

Promoting the Well-Being and Academic Success of College Athletes: Hearing Before the

Senate Comm. on Commerce, Sci. and Transp., 113th Cong. 40 (2014) (statement of

Mark Emmert, President, NCAA).




                                            -66-
                                                               www.StudentAthletePay.com
     Case 2:19-cv-05230-JP        Document 134       Filed 11/04/24     Page 74 of 180




       C.     The Role(s) of NCAA Member Schools in Enforcing NCAA Bylaws

       247.   As discussed in detail in Section III.D. The Role(s) of NCAA Staff in

Enforcing NCAA Bylaws, infra, the NCAA Enforcement staff is tasked with investigating

potential violations of NCAA bylaws and bringing charges. See NCAA Division I

Infractions Annual Report | 2017-18, at Infractions Snapshot, available on NCAA.org at:

http://www.NCAA.org/sites/default/files/18-

00697%20NCAA%20Infractions%20Annual%20Report_Final_150dpi.pdf.

       248.   The NCAA D1 Committee on Infractions decides cases brought by the

NCAA Enforcement Staff. Id.

       249.   The NCAA D1 Committee on Infractions:

                      is structured around a peer-review model and is
                      composed of as many as 24 (currently 22) qualified
                      representatives from member schools, conferences
                      and the public. This can include university presidents,
                      conference commissioners, athletics directors, campus
                      administrators, faculty athletics representatives, former
                      coaches, high-profile members of the public and more.
                      Members of the committee deliberate, conclude if
                      violations occurred, prescribe appropriate penalties, then
                      issue a written decision. The committee also monitors
                      schools on probation.

Id., at 5. (emphasis supplied).

       250.   The D1 Infractions Appeal Committee is also peer-reviewed and composed

of five (5) representatives from member schools, conferences and the public. Id., at 28-29.

       251.   Under NCAA D1 bylaws, NCAA member schools have “Shared

Responsibility” to report all potential violations regarding any Student Athlete, and to

cooperate in the investigation of any Student Athlete, including those attending another

member school:

              19.2 Expectations and Shared Responsibility ….



                                              -67-
                                                                www.StudentAthletePay.com
     Case 2:19-cv-05230-JP        Document 134       Filed 11/04/24     Page 75 of 180




              19.2.2 Member Responsibility to Report Noncompliance.
              Each institution has an affirmative obligation to report all
              instances of noncompliance to the Association in a timely
              manner.
              19.2.3 Responsibility to Cooperate. Current and former
              institutional staff members or prospective or enrolled student-
              athletes of member institutions have an affirmative obligation
              to cooperate fully with and assist the NCAA enforcement staff,
              the Committee on Infractions and the Infractions Appeals
              Committee to further the objectives of the Association and its
              infractions program. The responsibility to cooperate requires
              institutions and individuals to protect the integrity of
              investigations and to make a full and complete disclosure of any
              relevant information, including any information requested by
              the enforcement staff or relevant committees. Current and
              former institutional staff members or prospective or enrolled
              student-athletes of member institutions have an affirmative
              obligation to report instances of noncompliance to the
              Association in a timely manner and assist in developing full
              information to determine whether a possible violation has
              occurred and the details thereof.

       252.   Failure to cooperate in an NCAA enforcement investigation is considered a

Severe Breach of Conduct (Level I Violation) subject to the highest penalties, including

competition penalties (e.g., postseason bans), financial penalties, scholarship reductions,

head coach restrictions, and recruiting restrictions. See NCAA D1 Bylaws 19.1.1(c), 19.9.5

and 19.9.7.

       D.     The Role(s) of NCAA Staff in Enforcing NCAA Bylaws

       253.   In a U.S. Senate hearing on NCAA sports, NCAA President Mark Emmert

explained:

              Nearly 1,100 NCAA member colleges and universities work
              together to create rules …. Those rules are administered by
              NCAA national office staff, which also organize 89 national
              championships in 23 sports and provides other resources to
              support student-athletes and the schools they attend.

Promoting the Well-Being and Academic Success of College Athletes: Hearing Before the

Senate Comm. on Commerce, Sci. and Transp., 113th Cong. 45 (2014) (emphasis supplied).



                                             -68-
                                                                www.StudentAthletePay.com
      Case 2:19-cv-05230-JP       Document 134       Filed 11/04/24     Page 76 of 180




        254.   In the same U.S. Senate hearing, NCAA President Emmert further

explained:

               college and university members have given the NCAA the
               responsibility to explore potential NCAA violations.

Id., at 49.

        255.   In its 2017-18 Division I Infractions Annual Report, the NCAA described

roles of NCAA staff in investigating and prosecuting NCAA rules violations and in

supporting peer-review adjudicative and appellate committees:

               ENFORCEMENT
               The enforcement staff, tasked with investigating cases
               and bringing charges, has streamlined its processes in recent
               years. Investigations into Level I and II violations are moving
               more swiftly, all while the enforcement staff processes a
               significantly higher volume of violations each year. The
               enforcement staff also has worked to make informed projections
               about cases earlier, meaning that unsubstantiated or less
               significant matters can be closed or processed faster. Outside of
               cases, the enforcement staff continues to develop
               relationships with institutions, coaches and others in a
               continuing effort to address threats to college sports
               proactively.

               COMMITTEE ON INFRACTIONS
               The Division I Committee on Infractions, which decides
               cases brought by the enforcement group, has focused on
               improving efficiencies in several areas. The committee and
               staff who support it have made efforts to educate members
               about the process at regional rules seminars and conference
               meetings. They have heightened focus on timeliness and docket
               management and have increasingly relied on guidelines and
               data to drive decisions and streamline processes. The committee
               also has heightened its focus on consistency. Not only has it
               operated within prescribed penalty guidelines, but also it has
               engaged in ongoing efforts to review violation and penalty data.

               INFRACTIONS APPEALS COMMITTEE
               The Infractions Appeals Committee is undergoing important
               change as well. In the spring, the NCAA office serving the
               committee appointed its first managing director. The



                                             -69-
                                                                www.StudentAthletePay.com
     Case 2:19-cv-05230-JP         Document 134      Filed 11/04/24    Page 77 of 180




              office soon will expand by two staffers, who will be able
              to offer committee members unprecedented support.

NCAA Division I Infractions Annual Report | 2017-18, at Infractions Snapshot, available

on NCAA.org at: http://www.NCAA.org/sites/default/files/18-

00697%20NCAA%20Infractions%20Annual%20Report_Final_150dpi.pdf. (emphasis

supplied).

       256.   The NCAA employs a Vice President for Enforcement. Id.

       257.   58 percent of NCAA Enforcement Staff hold law degrees. Id., at 12.

       258.   30 percent of NCAA Enforcement Staff have prior experience in a

professional investigative role. Id.

       259.   In addition to three NCAA staff members supporting the NCAA D1

Infractions Appeal Committee referenced in the preceding paragraphs, the NCAA D1

Committee on Infractions is supported by eight NCAA staff members who “provide the group

case management support, research, drafting, strategic planning and administrative

support, and other duties as assigned by the committee chair.” Id., at 17.

       260.   The NCAA D1 Manual describes investigative and prosecutorial duties of

NCAA Enforcement Staff in detail, including, among others duties:

              19.5.1 Enforcement Staff to Receive Information and
              Conduct Investigations. Information regarding an alleged
              failure to comply with the NCAA constitution and bylaws or to
              meet the conditions and obligations of membership shall be
              provided to the enforcement staff. The enforcement staff shall
              determine whether an investigation is warranted or whether the
              matter may be resolved without a formal investigation. If an
              investigation is warranted, the enforcement staff shall conduct
              an investigation on behalf of the entire membership to develop,
              to the extent reasonably possible, all relevant information ….
              *****
              19.7.1 Notice of Allegations.        If the enforcement staff
              determines after an investigation that there is sufficient
              information to conclude that a hearing panel of the Committee
              on Infractions could conclude that a violation occurred, it shall

                                            -70-
                                                               www.StudentAthletePay.com
Case 2:19-cv-05230-JP      Document 134        Filed 11/04/24     Page 78 of 180




       issue a cover letter and notice of allegations to the chancellor or
       president of the institution involved (with copies to the faculty
       athletics representative, the director of athletics and the
       executive officer of the conference of which the institution is a
       member). The institution and/or involved individuals, if
       applicable, shall be given notice of the alleged violation(s), the
       details of the allegations, the possible level of each alleged
       violation, the processing level of the case, the available hearing
       procedures and the opportunity to answer the allegations. The
       notice of allegations shall also identify the factual information
       and aggravating and/or mitigating factors on which the
       enforcement staff may rely in presenting the case ….
       19.7.3 Submissions by Enforcement Staff. Within 60 days
       after the institution and involved individuals, if any, submit
       written responses to the notice of allegations, the enforcement
       staff shall submit a written reply to the hearing panel, and
       pertinent portions to an involved individual or institution. In
       addition to submitting its reply and after the prehearing
       conference, the enforcement staff shall prepare a statement of
       the case, which shall set forth a brief history of the case,
       summary of the parties’ positions on each allegation and a list of
       any remaining items of disagreement. An involved individual
       will be provided those portions of the statement in which he or
       she is named.
       19.7.4 Prehearing Conference. Within 60 days after the
       institution and involved individuals, if any, submit written
       responses to the notice of allegations, the enforcement staff shall
       consult with institutional representatives and other involved
       individuals in order to clarify the issues to be discussed during
       the hearing, make suggestions regarding additional
       investigation or interviews that should be conducted to
       supplement a response and identify allegations that the staff
       intends to amend or withdraw. The enforcement staff shall
       conduct independent prehearings with the institution and/or
       any involved individuals, unless mutually agreed by all parties
       to do otherwise.
       *****
       19.7.7.5 Appearance of Individuals at Hearings. Except as
       otherwise provided herein or as ordered by the chief hearing
       officer, hearing attendees shall be limited to institutional
       representatives (Bylaw 19.7.7.5.2), involved individuals,
       enforcement staff representatives, hearing panel members,
       representatives from the office of the Committees on Infractions,
       representatives from the NCAA office of legal affairs, the audio
       recorder, court reporter and other technical/support staff as
       permitted by the chief hearing officer.


                                      -71-
                                                         www.StudentAthletePay.com
Case 2:19-cv-05230-JP      Document 134       Filed 11/04/24    Page 79 of 180




        *****
        19.10.3 Written Materials on Appeal ….
        19.10.3.2 Response by Committee Appeals Advocate.
        Within 30 days after receipt of an initial submission in support
        of its appeal by an institution or involved individual, the
        committee appeals advocate shall submit a response to the
        Infractions Appeals Committee ….
        19.10.3.4 Enforcement Staff Statement. Within 10 days
        after the deadline for submission of all rebuttals, the
        enforcement staff may provide a written statement to the
        Infractions Appeals Committee regarding perceived new
        information, errors, misstatements and omissions relating to the
        initial submission(s), the committee appeals advocate’s response
        and/or rebuttal documents.
        19.10.5 Appeal Arguments. If one or more of the appealing
        parties request an appeal oral argument, an appeal oral
        argument may be conducted as set forth below, subject to
        procedures promulgated by the Infractions Appeals Committee
        or as otherwise directed by the committee.
                (a) Only those individuals identified in Bylaw
                19.7.7.5 may attend the appeal oral argument ….

 261.   The NCAA Enforcement Staff has authority to enter into “plea deals” as to




                                      -72-
                                                        www.StudentAthletePay.com
        Case 2:19-cv-05230-JP          Document 134            Filed 11/04/24        Page 80 of 180




Level I and II violations,13 and to prescribe, or waive, penalties as to Level III violations:14


   13    Level I and Level II violations include:
         19.1.1 Severe Breach of Conduct (Level I Violation). A severe breach of conduct
         is one or more violations that seriously undermine or threaten the integrity of the
         NCAA Collegiate Model, as set forth in the constitution and bylaws, including any
         violation that provides or is intended to provide a substantial or extensive recruiting,
         competitive or other advantage, or a substantial or extensive impermissible benefit.
         Among other examples, the following, in appropriate circumstances, may constitute a
         severe breach of conduct:
                 (a)     Lack of institutional control;
                 (b)     Academic misconduct;
                 (c)     Failure to cooperate in an NCAA enforcement investigation;
                 (d)     Individual unethical or dishonest conduct, regardless of whether the
                         underlying institutional violations are considered Level I;
                 (e)     A Bylaw 11.1.1.1 violation by a head coach resulting from an
                         underlying Level I violation by an individual within the sports
                         program;
                 (f)     Cash payment or other benefits provided by a coach, administrative or
                         representative of the institution’s athletics interests intended to
                         secure, or which resulted in, enrollment of a prospective student-
                         athlete;
                 (g)     Third-party involvement in recruiting violations in which institutional
                         officials knew or should have known about the involvement;
                 (h)     Intentional violations or         reckless   indifference   to   the   NCAA
                         constitution and bylaws; or
                 (i)     Collective Level II and/or Level III violations.
         19.1.2 Significant Breach of Conduct (Level II Violation). A significant breach of conduct
         is one or more violations that provide or are intended to provide more than a minimal but less
         than a substantial or extensive recruiting, competitive or other advantage; include more than
         a minimal but less than a substantial or extensive impermissible benefit; or involve conduct
         that may compromise the integrity of the NCAA Collegiate Model as set forth in the
         constitution and bylaws. Among other examples, the following may constitute a significant
         breach of conduct:
                 (a)     Violations that do not rise to the level of Level I violations and are more
                         serious than Level III violations
                 (b)     Failure to monitor (such violations will be presumed Level II but may
                         be deemed to be of a Level I nature if the failure is substantial or
                         egregious);
                 (c)     Systemic violations that do not amount to a lack of institutional
                         control;
                 (d)     Multiple recruiting, financial aid, or eligibility violations that do not
                         amount to a lack of institutional control;



                                                    -73-
                                                                            www.StudentAthletePay.com
           Case 2:19-cv-05230-JP            Document 134       Filed 11/04/24       Page 81 of 180




                    19.6.1 Summary Disposition Election. In a case involving
                    Level I or Level II violations, the institution, involved
                    individuals and the enforcement staff may elect to use the
                    summary disposition procedures specified below. To invoke the
                    summary disposition procedures, the enforcement staff, involved
                    individuals, if participating, and the institution must agree to
                    summary disposition ….
                    *****
                    19.11.3 Authority to Prescribe Penalties. As authorized by
                    the Committee on Infractions, upon a conclusion that one or
                    more Level III violations occurred, the vice president of
                    enforcement, or his or her designee, may determine whether a
                    penalty is warranted and, if so, prescribe and announce an
                    appropriate penalty pursuant to Bylaw 19.9.8.

Id.

            E.      The Applicable Joint Employment Test

            262.    The relevant test that courts use in determining whether multiple defendants

jointly employ an individual under the FLSA (and, in this case, the PMWA, the NYLL and

the CMWA) is set forth in In re Enterprise Rent-A-Car Wage & Hour Emp’t Practices Litig.,

683 F.3d 462 (3d Cir. 2012).15


                    (e)     A Bylaw 11.1.1.1 violation by a head coach resulting from an
                            underlying Level II violation by an individual within the sport
                            program; or
                    (f)     Collective Level III violations.
      14    Level III violations include:
            19.1.3 Breach of Conduct (Level III Violation). A breach of conduct is one or more
            violations that are isolated or limited in nature; provide no more than a minimal recruiting,
            competitive or other advantage; and provide no more than a minimal impermissible benefit.
            Among other examples, the following may constitute a breach of conduct:
                    (a)     Inadvertent violations that are isolated or limited in nature; or
                    (b)     Extra-benefit, financial aid, academic eligibility and recruiting
                            violations, provided they do not create more than minimal advantages.
      15But see, also, North American Soccer League v. NLRB, 613 F.2d 1379, 1382 (5th Cir. 1980)
(finding joint employment under the National Labor Relations Act in a sports league where, “the
League exercises a significant degree of control over essential aspects of the [member] clubs’ labor
relations, including but not limited to the selection, retention, and termination of the players, the
terms of individual player contracts, dispute resolution and player discipline,” and “each [member]
club granted the [League] authority over not only its own labor relations but also, on its behalf,


                                                      -74-
                                                                           www.StudentAthletePay.com
      Case 2:19-cv-05230-JP            Document 134       Filed 11/04/24      Page 82 of 180




                    1.    The Enterprise Rent-A-Car Joint Employment Test

       263.         The joint employment test in Enterprise Rent-A-Car includes, among its

factors:

                i.        The alleged employer’s authority to hire and fire the
                          relevant employees;
               ii.        The alleged employer’s authority to promulgate work
                          rules and assignments and to set the employees’
                          conditions of employment: compensation, benefits, and
                          work schedules, including the rate and method of
                          payment;
              iii.        The alleged employer’s involvement in day-to-day
                          employee supervision, including employee discipline; and
              iv.         The alleged employer’s actual control of employee
                          records, such as payroll, insurance, or taxes.

Enterprise Rent-A-Car, 683 F.3d at 469.

       264.         An analysis under this test demonstrates that Plaintiffs and the members of

the Proposed FLSA Collective (as defined at Paragraphs 328 and following, infra) the

Proposed Pennsylvania Class (as defined at Paragraph 339 and following, infra), the

Proposed New York Class (as defined at Paragraph 370 and following, infra), the Proposed

Connecticut Class (as defined at Paragraph 401 and following, infra), the Proposed North

Carolina class (as defined at Paragraph 432 and following, infra), the Proposed Oregon Class

(as defined at Paragraph 467 and following, infra), the Proposed Louisiana Class (as defined

at Paragraph 498 and following, infra), the Proposed Arizona Class (as defined at Paragraph

529 and following, infra), and the Proposed Indiana Class (as defined at Paragraph 560 and

following, infra) are all “employees” of Defendants under the applicable law.




authority over the labor relations of the other member clubs.”) The National Labor Relations Act
applied in North American Soccer League actually defines employer more narrowly than the FLSA.
See Enterprise Rent-A-Car, 683 F.3d at 467-68 (“the FLSA defines employer ‘expansively,’ and with
‘striking breadth.’ The Supreme Court has even gone so far as to acknowledge that the FLSA’s
definition of an employer is ‘the broadest definition that has ever been included in any one act.’”)


                                                 -75-
                                                                     www.StudentAthletePay.com
     Case 2:19-cv-05230-JP       Document 134       Filed 11/04/24     Page 83 of 180




                     i.     Enterprise Rent-A-Car Factor No. 1

              The alleged employer’s authority to hire and fire the relevant
              employees

       265.   An NCAA D1 member school does not have unilateral discretion to recruit,

hire, suspend or fire Student Athletes pursuant to a myriad of NCAA bylaws set forth in the

NCAA D1 Manual, including:

                    NCAA D1 Bylaw Article 10 Ethical Conduct
                    NCAA D1 Bylaw Article 12 Amateurism and
                     Athletics Eligibility
                    NCAA D1 Bylaw Article 13 Recruiting
                    NCAA D1 Bylaw Article 14 Academic Eligibility
                    NCAA D1 Bylaw Article 15 Financial Aid
                    NCAA D1 Bylaw Article 17 Playing and
                     Practice Seasons

See, e.g., Summary of NCAA Eligibility Regulations – NCAA Division I, attached hereto as

Exhibit S.

       266.   NCAA D1 member schools are required to use the NCAA Eligibility Center

to determine the initial eligibility of a prospective Student Athlete. See NCAA D1 Bylaws

12.1.1.1 Amateurism Certification Process and 14.1.2.5 NCAA Eligibility Center.

       267.   Recruitment of prospective Student Athletes by NCAA D1 member schools is

subject to numerical limitations on, among other things:

                    Contacts, defined as “any face to face encounter between
                     a prospective student-athlete or the prospective student-
                     athlete’s parents, relatives or legal guardians …
                     regardless of whether any conversation occurs. See, e.g.,
                     NCAA D1 Bylaws 13.02.4 and 13.1.5.
                    Evaluations, defined as “any off-campus activity
                     designed to assess the academic qualifications or
                     athletics ability of a prospective student-athlete.” See,
                     e.g., NCAA D1 Bylaws 13.02.7 and 13.1.7.
                    Telephone Calls. See, e.g., NCAA D1 Bylaw 13.1.3.1.8
                     (“Once an institution reaches the applicable limit on

                                            -76-
                                                               www.StudentAthletePay.com
     Case 2:19-cv-05230-JP         Document 134       Filed 11/04/24     Page 84 of 180




                      telephone calls to a prospective student-athlete [] for a
                      particular time period [], the institution may not initiate
                      an additional telephone call during the same time period,
                      even if no direct conversation occurs during the
                      additional call (e.g., voicemail message).”)

       268.   Recruiting Contacts, Evaluations and Telephone Calls are further restricted

to “Periods of Recruiting Activities,” including:

              Contact Period. A contact period is a period of time when it is
              permissible for authorized athletics department staff members
              to make in-person, off-campus recruiting contacts and
              evaluations.
              Evaluation Period. An evaluation period is a period of time
              when it is permissible for authorized athletics department staff
              members to be involved in off-campus activities designed to
              assess the academic qualifications and playing ability of
              prospective student-athletes. No in-person, off-campus
              recruiting contacts shall be made with the prospective student-
              athlete during an evaluation period.
              Quiet Period. A quiet period is a period of time when it is
              permissible to make in-person recruiting contacts only on the
              institution’s campus. No in-person, off-campus recruiting
              contacts or evaluations may be made during the quiet period.
              Dead Period. A dead period is a period of time when it is not
              permissible to make in-person recruiting contacts or evaluations
              on or off the institution’s campus or to permit official or
              unofficial visits by prospective student-athletes to the
              institution’s campus. It remains permissible, however, for an
              institutional staff member

                      to write or telephone a prospective student-
                      athlete during a dead period.

NCAA D1 Bylaw 13.02.5.

       269.   NCAA D1 member schools are prohibited from offering certain inducements

to recruit prospective Student Athletes. See NCAA D1 Bylaw 13.2.1.1.

       270.   NCAA D1 member schools are subject to annual limitations on the total

number and value (equivalencies) of athletic scholarships, per sport, that can be offered to

recruit prospective Student Athletes or retain Student Athletes. See NCAA D1 Bylaw 15.5.



                                              -77-
                                                                 www.StudentAthletePay.com
       Case 2:19-cv-05230-JP       Document 134        Filed 11/04/24     Page 85 of 180




        271.   Through the 2017-18 academic year, an NCAA D1 member school had to

request permission to recruit a prospective transfer Student Athlete attending another school

– from the attended school. See 2017-18 NCAA D1 Bylaw 13.1.1.3.

        272.   Through the 2017-18 academic year, permission to recruit a prospective

transfer Student Athlete attending another school could be denied by the attended school,

or conditioned by the attended school on the inability to offer an athletic scholarship to the

prospective transfer Student Athlete for one academic year. Id.

        273.   After the 2017-18 academic year, NCAA D1 member schools may still

separately adopt NCAA member conference rules that require permission to recruit a

prospective transfer Student Athlete. See Paragraph 151, supra.

        274.   Even if an NCAA D1 member school is cleared to hire a transfer Student

Athlete, the transfer Student Athlete ordinarily is not permitted to work for her/his new

school for one academic year after the transfer. See NCAA D1 Bylaw 14.5.5.

        275.   NCAA D1 member schools are continually “responsible for certifying the

eligibility of student-athletes under the terms of the constitution, bylaws or other

legislation of the Association before permitting a student-athlete to represent the

institution in intercollegiate competition.” See NCAA D1 (Constitution) Bylaw 3.2.4.3.

        276.   As part of their continual responsibility for certifying Student Athlete

eligibility, NCAA D1 member schools are “obligated immediately to apply all applicable

rules and withhold ineligible student-athletes from all intercollegiate competition.” Id.

        277.   Failure to comply with NCAA bylaws related to recruiting, hiring,

suspending or firing Student Athletes, or to the continual responsibility to certify Student

Athlete eligibility, ordinarily constitutes a Level III violation. See NCAA D1 Bylaw 19.1.3

(b).



                                              -78-
                                                                  www.StudentAthletePay.com
     Case 2:19-cv-05230-JP          Document 134       Filed 11/04/24     Page 86 of 180




       278.      For a Level III violation, NCAA Enforcement Staff may seek, or prescribe,

the following penalties:

                       Preclude Hiring (“Termination of the recruitment of a
                        prospective student-athlete by the institution …”); or
                       Require Suspension or Firing (“not allow the student-
                        athlete to participate in intercollegiate athletics unless
                        and until his or her eligibility is restored by the
                        Committee on Student-Athlete Reinstatement …”)

See NCAA D1 Bylaws 19.9.8(a) and 19.11.3.

       279.      Multiple violations of NCAA bylaws related to recruiting, hiring, suspending

or firing Student Athletes, or to the continual responsibility to certify Student Athlete

eligibility, could constitute either a Level I or II violation. See NCAA D1 Bylaws 19.1.1(i)

and 19.1.2(d).

       280.      For Level I or II violations, NCAA Enforcement Staff may seek, or agree to,

penalties including, but not limited to:

                       Competition Penalties (i.e., limitations on postseason)
                       Financial Penalties
                       Scholarship Reductions
                       Head Coach Restrictions
                       Recruiting Restrictions

See NCAA D1 Bylaw 19.9.5.

                        ii.    Enterprise Rent-A-Car Factor No. 2

                        The alleged employer’s authority to promulgate work
                        rules and assignments and to set the employees’
                        conditions of employment: compensation, benefits, and
                        work schedules, including the rate and method of
                        payment

       281.      An NCAA D1 member school does not have unilateral discretion to set

conditions of Student Athlete employment, e.g., pay, benefits, rules, assignments, schedules




                                               -79-
                                                                  www.StudentAthletePay.com
     Case 2:19-cv-05230-JP         Document 134        Filed 11/04/24     Page 87 of 180




and tenure, pursuant to a myriad of NCAA bylaws set forth in the NCAA D1 Manual,

including:

                     NCAA D1 Bylaw Article 12 Amateurism and
                      Athletics Eligibility
                     NCAA D1 Bylaw Article 16 Awards, Benefits and
                      Expenses for Enrolled Student-Athletes
                     NCAA D1 Bylaw Article 17 Playing and
                      Practice Seasons

       282.   NCAA D1 member schools are prohibited from offering a salary, gratuity or

compensation, or division or split of surplus (e.g., bonuses, game receipts), to Student

Athletes. See NCAA D1 Bylaw 12.1.2.1.

       283.   Permissible benefits (e.g., participation awards of limited value not for resale;

complimentary tickets not for resale; snacks and nutritional supplements; and

entertainment) and non-permissible benefits (e.g., loan; automobile or use of one; and

transportation) are enumerated in NCAA D1 Bylaw Article 16.

       284.   Mandatory benefits are also enumerated, including academic counseling/

support services; life skills programs; medical treatment by a designated team physician;

and insurance coverage for medical expenses resulting from athletically related injuries of

equal or greater value than the deductible of the NCAA catastrophic injury insurance

program. See NCAA D1 Bylaw 16.3.1 and (Constitution) Bylaws 3.2.4.8 and 3.2.4.16.

       285.   NCAA D1 member schools are required to administer a drug testing program

for Student Athletes. See NCAA D1 (Constitution) Bylaw 3.2.4.7.

       286.   Playing and Practice Seasons and Off-Seasons, for all sports, are regulated

under NCAA D1 Bylaw Article 17, including, among other regulations:

                     Enumeration of Required Athletically Related Activities:
                      (a)    Compliance meetings
                      (b)    Organized team promotional activities


                                              -80-
                                                                  www.StudentAthletePay.com
     Case 2:19-cv-05230-JP         Document 134        Filed 11/04/24     Page 88 of 180




                      (c)     Recruiting activities
                      (d)     Media activities
                      (e)     Fundraising events
                      (f)     Community service events
                      (g)     Team-building activities
                      (h)     Travel to and from away-from-home competition.
See NCAA D1 Bylaw 17.02.14.
                     Limitations on Countable Athletically Related Activities
                      (CARA) (i.e., activities supervised by school staff):
                             4 hours per day and 20 hours per week
                              during Playing and Practice Season
                             8 hours per week during the Off-Season
                             Prohibiting CARA during a continuous 8
                              hours between 9 p.m. and 6 a.m.
                             Requiring one day off during a 7 day week
                              in Playing and Practice Season
                             Requiring a 7 day break after Playing and
                              Practice Season and 14 more days off
                              during the academic year
See NCAA D1 Bylaws 17.7.7.1, 17.1.7.2, 17.1.7.4, 17.1.7.8, 17.1.7.9.6, and 17.1.7.9.7.
                     Recording of CARA hours on timesheets maintained by
                      supervising school staff.
See NCAA D1 Bylaw 17.1.7.3.4.

       287.    An NCAA D1 member school may not permit a Student Athlete to represent

it in an NCAA sport once the Student Athlete has participated in that NCAA sport four

seasons; moreover, the Student Athlete must complete those four seasons within five years

from the first semester or quarter s/he first registered at a school (i.e., the “Five Year

Rule”). See NCAA D1 Bylaw 12.8.

       288.    Failure to comply with NCAA bylaws related to work rules, assignments,

schedules and tenure ordinarily may constitute a Level II or III violation. See NCAA D1

Bylaws 19.1.2(a), (b), (c), and (f), and 19.1.3; Paragraphs 255 through 261, supra, regarding

penalties that the NCAA Enforcement Staff may seek, agree to, or prescribe.


                                              -81-
                                                                  www.StudentAthletePay.com
     Case 2:19-cv-05230-JP         Document 134       Filed 11/04/24     Page 89 of 180




       289.   Cash payment or other benefits provided by a coach, administrative or

representative of the institution’s athletics interests is considered a Severe Breach of

Conduct and Level I violation. See NCAA D1 Bylaw 19.1.1(f); Paragraph 176, supra,

regarding penalties that the NCAA Enforcement Staff may seek or agree to.

                      iii.   Enterprise Rent-A-Car Factor No. 3

                      The alleged employer’s involvement in day-to-day
                      employee supervision, including employee discipline

       290.   An NCAA D1 member school does not have unilateral discretion to discipline

Student Athletes because NCAA bylaws: (i) restrict the grounds for a school to reduce or

cancel an athletic scholarship during the period of its award to only disciplinary reasons;

(ii) require suspension or firing of a Student Athlete if s/he has violated any bylaw related

to eligibility; and (iii) subject a school’s “home team” Student Athletes to discipline meted

out by NCAA Enforcement Staff and/or panels of the peer-review NCAA D1 Committees on

Infractions and Infractions Appeals composed of representatives from competing schools.

See NCAA D1 Bylaws 12.11.1, 15.3.4.2, 15.3.4.3, 19.3.4 and 19.4.3.

       291.   An NCAA D1 member school may reduce or cancel an athletic scholarship

during the period of its award for the following disciplinary reasons if the recipient:

              (a)     “Renders himself or herself ineligible for intercollegiate
                      competition”
              (b)     “Fraudulently misrepresents any information on an
                      application, letter of intent or financial aid agreement”
              (c)     “Engages in serious misconduct warranting substantial
                      disciplinary penalty (e.g., “found to have engaged in
                      misconduct by the university’s regular student
                      disciplinary authority, even if the loss-of-aid requirement
                      does not apply to the student body in general”)”

See NCAA D1 Bylaws 15.3.4.2 and 15.3.4.2.4.




                                              -82-
                                                                 www.StudentAthletePay.com
      Case 2:19-cv-05230-JP        Document 134       Filed 11/04/24     Page 90 of 180




       292.    An NCAA D1 member school may not reduce or cancel an athletic

scholarship during the period of its award on the basis of the Student Athlete’s athletics

ability, performance or contribution to a team’s success. See NCAA D1 Bylaw 15.3.4.3.

       293.    NCAA D1 member schools are required to continually verify and certify the

eligibility of Student Athletes under NCAA bylaws before permitting them to participate in

NCAA competition, and are obligated to immediately suspend or fire Student Athletes

determined to be ineligible by the school, subject to penalties sought, agreed to, or

prescribed by NCAA Enforcement Staff. See Paragraphs 255 though 261, supra.

       294.    If a Student Athlete is determined to be ineligible through action brought by

the NCAA Enforcement Staff, the attended NCAA D1 member school is required to suspend

or fire that Student Athlete upon notice of the violation. See NCAA D1 Bylaw 19.9.11.

       295.    If, after notice, an NCAA D1 member school fails to suspend or fire a Student

Athlete determined to be ineligible through action brought by the NCAA Enforcement Staff,

the attended NCAA D1 member school is “required to show cause to the Committee on

Infractions why additional penalties should not be prescribed for a failure to abide by the

conditions and obligations of membership.” Id.

       296.    A Show-Cause Order for failure to suspend or fire a Student Athlete

determined to be ineligible through action brought by the NCAA Enforcement Staff

constitutes a Level I or II violation and penalty. See NCAA D1 Bylaw 19.9.5.4.

       297.    In addition to the suspension or firing of a Student Athlete determined to be

ineligible through action brought by the NCAA Enforcement Staff, the individual records

and performances of the ineligible Student Athlete may be vacated and individual awards

of the ineligible Student Athlete may be required to be returned. See NCAA D1 Bylaw

19.9.7(g)(1) and (3).



                                             -83-
                                                                 www.StudentAthletePay.com
     Case 2:19-cv-05230-JP         Document 134       Filed 11/04/24     Page 91 of 180




          298.   Furthermore, an NCAA D1 member school’s “home team” Student Athletes

are subject to discipline meted out by NCAA Enforcement Staff and/or panels of the peer-

review NCAA D1 Committees on Infractions and Infractions Appeals composed of

representatives from competing schools having no conflicts of interest, i.e., not “directly

connected with an institution under investigation.” See NCAA D1 Bylaws 19.3.4 and

19.4.3.

                 iv.   Enterprise Rent-A-Car Factor No. 4

                       The alleged employer’s actual control of employee
                       records, such as payroll, insurance, or taxes

          299.   The NCAA Eligibility Center maintains all records related to the initial

determination of Student Athlete eligibility. See, e.g., NCAA D1 Bylaws 12.1.1.1

Amateurism Certification Process and 14.1.2.5 NCAA Eligibility Center.

          300.   An NCAA D1 member school is required to provide the NCAA Eligibility

Center with any additional information if the school “has cause to believe that a prospective

student-athlete’s amateur status has been jeopardized” and report to the Eligibility Center

“all discrepancies in information related to a student-athlete’s amateurism certification.”

See NCAA D1 Bylaws 12.1.1.1.2.2.

          301.   Pursuant to a Student Athlete consent form, the NCAA receives, and

maintains, records regarding any injury, illness, or medical treatment related to or

affecting a Student Athlete’s training for and participation in NCAA sports. See NCAA

Student-Athlete Authorization/Consent for Disclosure of Protected Health Information for

NCAA-Related Research Purposes, attached hereto as Exhibit T.

          302.   NCAA D1 member schools are required to make certain records available for

examination upon request to the NCAA, including:

                      Student-Athlete Statement.


                                              -84-
                                                                 www.StudentAthletePay.com
     Case 2:19-cv-05230-JP          Document 134      Filed 11/04/24     Page 92 of 180




                      Prior to participation in intercollegiate competition each
                      academic year, a student-athlete shall sign a statement
                      in a form prescribed by the Council in which the student-
                      athlete submits information related to eligibility,
                      recruitment, financial aid, amateur status, previous
                      positive-drug tests administered by any other athletics
                      organization and involvement in organized gambling
                      activities related to intercollegiate or professional
                      athletics competition under the Association’s governing
                      legislation. Failure to complete and sign the statement
                      shall result in the student-athlete’s ineligibility for
                      participation in all intercollegiate competition.
       See NCAA D1 Bylaws 12.7.2 and 12.7.2.2(b)

                     Drug-Testing Consent Form.
       See NCAA D1 Bylaws 12.7.3 and 12.7.3.2(c).

                     Squad List.
                      To be eligible to represent an institution in
                      intercollegiate athletics competition, a student-athlete
                      shall be included on the institution’s squad-list form.

       See NCAA D1 Bylaws 15.5.11 and 15.5.11.2.1(a).

       303.   Furthermore, as part of “Expectations and Shared Responsibility” under the

NCAA D1 Bylaw Article 19 Infractions Program, NCAA D1 member schools are required to

produce all Student Athlete records relevant to, or are requested for, any investigation

conducted by NCAA Enforcement Staff and/or panels of the peer-reviewed NCAA D1

Committees on Infractions and Infractions Appeals composed of representatives from

competing schools having no conflicts of interest, i.e., not “directly connected with an

institution under investigation.” See NCAA D1 Bylaws 19.2.3, 19.3.4 and 19.4.3.




                                             -85-
                                                                 www.StudentAthletePay.com
           Case 2:19-cv-05230-JP         Document 134         Filed 11/04/24       Page 93 of 180




IV.         STUDENT ATHLETES ARE NOT EXEMPT FROM THE PROTECTIONS OF
            WAGE AND HOUR LAWS

            304.   The FLSA does not include, among its employee exemptions, any reference to

“amateurism,” “amateur,” “athletic,” “athlete” or “student athlete.” See 29 U.S.C. § 213.

            305.   Student Athletes do not meet criteria for volunteer status under the FLSA.

See 29 U.S.C. § 203(e)(4);16 29 U.S.C. § 203(e)(5);17 FOH § 10b03(c).18



      16    29 U.S.C. § 203(e)(4) exempts:
                   any individual who volunteers to perform services for a public agency
                   which is a State, a political subdivision of a State, or an interstate
                   governmental agency, if the individual receives no compensation or is
                   paid expenses, reasonable benefits, or a nominal fee to perform the
                   services for which the individual volunteered; and such services are
                   not the same type of services which the individual is employed to
                   perform for such public agency.
(emphasis supplied).
The Code of Federal Regulations further elaborates:
                   An individual who performs hours of service for a public agency for
                   civic, charitable, or humanitarian reasons, without promise,
                   expectation or receipt of compensation for services rendered, is
                   considered to be a volunteer during such hours ….
29 CFR § 553.101. (emphasis supplied).
      17    29 U.S.C. § 203(e)(5) exempts:
                   individuals who volunteer their services solely for humanitarian
                   purposes to private non-profit food banks and who receive from the food
                   banks groceries.
(emphasis supplied).
      18    FOH § 10b03(c) states, in relevant part:
                   In many cases the nature of religious, charitable, and similar
                   nonprofit organizations and schools is such that individuals may
                   volunteer their services in one capacity or another, usually on a part-
                   time basis, not as employees or in contemplation of pay for the
                   services rendered. For example, members of civic organizations may
                   help out in a sheltered workshop; women’s organizations may send
                   members or students into hospitals or nursing homes to provide certain
                   personal services for the sick or the elderly; mothers may assist in a
                   school library or cafeteria as a public duty to maintain effective
                   services for their children; or fathers may drive a school bus to carry a
                   football team or band on a trip. Similarly, individuals may volunteer
                   to perform such tasks as driving vehicles or folding bandages for the
                   Red Cross; working with children with disabilities or disadvantaged


                                                       -86-
                                                                          www.StudentAthletePay.com
      Case 2:19-cv-05230-JP          Document 134         Filed 11/04/24      Page 94 of 180




V.     DEFENDANTS’ VIOLATIONS OF THE WAGE AND HOUR LAWS ARE WILLFUL

       A.      The Livers v. NCAA Willfulness Test

       306.    The Livers Court articulated a two-step test for evaluating the willfulness of

NCAA and NCAA member school conduct:

       1.      Did Defendants rely on the U.S. Department of Labor Field
               Operations Handbook (“FOH”) § 10b03(e) in failing to classify
               and pay Student Athletes as employees?
       2.      If the Answer to No. 1 is “Yes,” had such reliance been
               reasonable in light of:
               (a)     the requirement in FOH § 10b03(e) that an activity
                       be “conducted primarily for the benefit of the
                       participants as part of the educational
                       opportunities provided to the students by the
                       school” in order for the activity not to be work of
                       the kind contemplated by the FLSA, e.g., student-
                       run groups, such as student-run, interscholastic
                       Club Sports; and/or
               (b)     similarities between Student Athlete performance
                       outside the classroom and that of students
                       involved in Work Study.




               youth; helping in youth programs as camp counselors, scoutmasters, or
               den mothers; providing child care assistance for needy working
               mothers; soliciting contributions or participating in benefit programs
               for such organizations; and volunteering other services needed to
               carry out their charitable, educational, or religious programs.
               The fact that services are performed under such circumstances is not
               sufficient to create an employer-employee relationship.
(emphasis supplied). See, e.g., Acosta v. Cathedral Buffet, Inc., 887 F.3d 761, 766-69 (6th Cir. 2018)
(“[W]hen a religious organization undertakes a commercial endeavor, its workers are only covered
under the FLSA if they ‘engage in those activities in expectation of compensation.’ Tony & Susan
Alamo Found. v. Sec’y of Labor, 471 U.S. 290, 302 (1985) …. The [FLSA] does not go so far as to
regulate when, where, and how a person may volunteer her time to her church. After all, the giving
of one’s time and money through religious obligation is a common tenet of many faiths …. [S]piritual
coercion cannot stand in for the economic coercion that the FLSA and the Alamo decision require.”)
(emphasis supplied); Tony & Susan Alamo Found. (“volunteers” for a religious foundation –
former “drug addicts, derelicts, or criminals before their conversion and rehabilitation by the
Foundation” – were economically coerced to perform services in order to continue receiving in-kind
benefits upon which they were dependent, incl. food, clothing and shelter; thus, these “volunteers”
were in fact employees.)

                                                 -87-
                                                                     www.StudentAthletePay.com
        Case 2:19-cv-05230-JP         Document 134       Filed 11/04/24      Page 95 of 180




Livers, 2018 U.S. Dist. LEXIS 124780, at *11-13.19




   19    The Livers Court concluded, in relevant part:
                The Amended Complaint plausibly states a willful FLSA
                violation sufficient to survive at the Motion to Dismiss stage.
                Plaintiff has added an allegation to the Amended Complaint that
                NCAA member schools understood that Scholarship Athletes are
                directly comparable to students employed in work study programs,
                individuals who are classified as employees under the FLSA. The
                Amended Complaint includes detailed factual allegations comparing
                and contrasting Scholarship Athletes and students involved in work
                study programs in order to demonstrate that Scholarship Athletes’
                performance outside the classroom is similar in many ways to that of
                students involved in work study, and in fact that it is more arduous
                and time consuming. The Amended Complaint also includes detailed
                factual allegations contrasting the experience of Scholarship Athletes
                and students involved in work study programs to that of students
                involved in student-run groups, to demonstrate that this latter group
                is subject to much less discretionary control by college supervisory
                staff, and that members of student-run groups often engage in
                activity related to educational programming in the course of
                participation in these groups whereas the Scholarship Athlete
                and work study experience is strictly non-academic in nature.
                Finally, Villanova’s website, like the websites of many other
                NCAA member schools, excludes NCAA athletics from its
                directory of student-run groups.
                These allegations permit the plausible inferences that
                Scholarship Athletes, like their work study counterparts, fall
                within employee status under the FLSA, and that Defendants
                Villanova and the NCAA were aware of this when they chose not
                to pay them, suggesting reckless disregard of the alleged duty.
                In his Amended Complaint Plaintiff also alleges new facts dealing with
                willfulness and the FOH guidance at issue. Plaintiff’s allegation that
                over the course of a decade-plus public debate during which college
                administrators, athletic directors, and coaches have publicly asserted
                reasons for the refusal to pay student athletes a wage, no such person
                has ever professed reliance on Section 10b03(e) as one such
                justification, casts doubt on the argument that the existence of the
                FOH guidance makes Defendants’ decision in this regard reasonable.
                More specifically, these allegations permit a plausible
                inference that Defendants did not rely on the FOH guidance in
                making this decision. As such, at the Motion to Dismiss stage it
                remains an open fact question what impact, if any, the FOH
                guidance had on Defendants’ thought process and reasoning
                behind the decision not to pay Plaintiff and other student
                athletes. This Court cannot say, at this stage, that the existence
                of the FOH guidance renders Defendants’ decision reasonable,


                                                 -88-
                                                                     www.StudentAthletePay.com
     Case 2:19-cv-05230-JP         Document 134        Filed 11/04/24      Page 96 of 180




       307.    An analysis under this test demonstrates that Defendants have been violating

wage and hour laws willfully.

               1.      Defendants Never Relied upon DOL FOH § 10b03(e) in Failing
                       to Classify and Pay Student Athletes As Employees

       308.    In Livers (Phillips) v. NCAA, the NCAA and Villanova asserted, during a

“willfulness” hearing on November 1, 2018, that they had relied upon FOH § 10b03(e) in

failing to classify and pay Student Athletes as employees:

               COURT:         Mr. Katz, did your clients rely on the FOH? Do you
                              want – can you answer that?
               MR. KATZ:      Well, yes, Your Honor. Certainly the FOH is part
                              of the legal background against which my clients
                              made their decisions.

Livers v. NCAA: Mot. Hr’g Tr., Nov. 1, 2018 (ECF 97), at 16:7-11.

       309.    Plaintiff Phillips then served the NCAA and Villanova with Second Requests

for Production of Documents on February 1, 2019, including Request No. 1:

               All Communications and Documents referring or related to FOH
               § 10b03(e) that also refer to or relate in any way to classification
               of student athletes as school employees.

See Defs.’ Objections to Pl.’s Second Set of Doc. Reqs., at No. 1, attached hereto as Exhibits

J and K.

       310.    In response to Plaintiff Phillips’ Second Requests for Production of

Documents, No. 1, the NCAA and Villanova admitted that they, in truth, never relied

upon FOH § 10b03(e) in failing to classify and pay Student Athletes as employees:

               [A]fter   a   diligent    search      and   reasonable inquiry,
               no responsive documents               exist within Defendant’s
               possession, custody, or control.


               and therefore not a willful violation of the FLSA, as a matter of
               law.
(emphasis supplied).

                                              -89-
                                                                  www.StudentAthletePay.com
       Case 2:19-cv-05230-JP      Document 134       Filed 11/04/24     Page 97 of 180




Id. (emphasis supplied).

               2.      At All Relevant Times, Defendants Understood That FOH §
                       10b03(e) Applies to Student-Run Groups (incl. Interscholastic
                       Club Sports), But Not to NCAA Sports

        311.   In any event, FOH § 10b03(e) clearly does not apply to NCAA Sports.

        312.   FOH § 10b03(e) states, in relevant part:

               As part of their overall educational program, public or private
               schools and institutions of higher learning may permit or require
               students to engage in activities in connection with dramatics,
               student publications, glee clubs, bands, choirs, debating teams,
               radio stations, intramurals and interscholastic athletics and
               other similar endeavors.        Activities of students in such
               programs, conducted primarily for the benefit of the
               participants as part of the educational opportunities
               provided to the students by the school or institution, are not
               work of the kind contemplated by section 3(g) of the Act and do
               not result in an employer-employee relationship between the
               student and the school of institution.

(emphasis supplied).

        313.   For the reasons set forth in Paragraphs 48 through 102, supra, at all relevant

times, Defendants understood that NCAA sports are not “conducted primarily for the

benefit of the participants as part of the educational opportunities provided to the students”

as required to meet the criteria set forth in FOH § 10b03(e).

        314.   The NCAA and Villanova admit student-run groups meet the criteria set

forth in FOH § 10b03(e). See Livers (Phillips) v. NCAA: Answer (ECF 130), at ¶ 119 and

120.

        315.   For reasons set forth in Paragraphs 316 through 321, infra, student-run

groups are “conducted primarily for the benefit of the participants as part of the educational

opportunities provided to the students.” See FOH § 10b03(e).




                                             -90-
                                                                www.StudentAthletePay.com
      Case 2:19-cv-05230-JP        Document 134        Filed 11/04/24     Page 98 of 180




       316.     The NCAA and Villanova admit that student-run groups such as dramatics,

publications, glee clubs, bands, choirs, debate and radio stations can be related or relevant

to an academic degree program. See Livers (Phillips) v. NCAA: Answer (ECF 130), at ¶ 106.

       317.     The NCAA and Villanova admit that students in student-run groups can be

solely or principally responsible for leadership, organization and decision-making and

faculty involvement in student-run groups can be in an advisory capacity. Id., at ¶ 103.

       318.     NCAA D1 member schools, like Villanova, characterize student-leadership,

student-organizing, and student-decision-making in student-run groups as providing

educational benefits to participants and also encourage and/or recognize the connection of

some student-run groups to academic faculty advisors and/or academic departments. See,

e.g., Livers (Phillips) v. NCAA: Villanova’s Resp. to Pl.’s First Set of Reqs. for Admis. (Ex.

F), at No. 6.

       319.     In fact, NCAA D1 member schools describe student-leadership, student-

organizing and student-decision-making in student-run interscholastic Club Sports as

educational experiences distinctly different from NCAA sports. For example (as posted

October 28, 2017, and memorialized in Livers v. NCAA and Exhibit U attached hereto):

       Lafayette College

                Sports clubs at Lafayette are student-initiated and student-run
                organizations that depend on a membership. Members are fully
                involved in the club’s leadership, decision-making, and
                organization. Each club has been founded and is governed by the
                executive board of that particular club.

See Sports Clubs on Lafayette.edu at https://recreation.lafayette.edu/sportsclubs/.

                Varsity sports [i.e., NCAA sports] are sponsored by the College
                and funded through the operating budget, NCAA funding,
                revenue generated through various events, and gifts from
                generous donors. Sports clubs are not sponsored by the college,
                but by Student Government in response to student interest and
                initiative. The primary sources of funding for sports clubs are
                student activity fees (distributed at the discretion of Student

                                              -91-
                                                                  www.StudentAthletePay.com
     Case 2:19-cv-05230-JP       Document 134       Filed 11/04/24     Page 99 of 180




             Government), sport club member dues, fundraising activities,
             and gifts from generous donors.

             Unlike varsity sports, sport clubs are student-run organizations
             who decide for themselves their level of competitiveness,
             whether or not they will hire a coach or instructor, how often
             they will practice, and if they will continue to exist at all ….
             [Sport clubs] participate in competitions with clubs from other
             institutions (in many cases as a member of a specific league),
             and others enter a variety of weekend tournaments.

See Sport Clubs Frequently Asked Questions on Lafayette.edu at
http://recreation.lafayette.edu/sport-clubs-faqs/.

      Lehigh University

             [T]he intention is to offer club competition at the highest level
             and student commitment, including expanded practice and
             extramural competitions on a regular and formal basis within
             the club sport model ….

             The primary differences between Club Sports and Varsity
             Intercollegiate Sports [i.e., NCAA athletics] are the funding
             sources associated with participation and the wide range of
             commitment levels regarding time and competitiveness. At the
             intercollegiate level, the institution has made the commitment
             to sponsor the sport under NCAA and Patriot League Division I
             guidelines. A Club Sport is one that is initiated and must be
             sustained by student interest. The club is self-directed under the
             Club Sports guidelines with a combination of resources from
             student senate funds, dues and/or their own fundraising
             initiatives.

See Club Sports-Competitive Levels (Club Varsity) on LehighSports.com at
http://www.lehighsports.com/sports/2013/6/3/GEN_0603134752.aspx?id=3.

      Seton Hall University

             [Club sports] practice regularly and participate in extramural
             competition …. [but] should not be mistaken for [NCAA] sports
             that are also supported by the department. In a club, the
             members assume the financial responsibilities and assist in
             organization. There are no athletic scholarships available for
             club sport participants.

See Club Sports on SHUPirates.com at
http://www.shupirates.com/sports/2016/7/10/recreation-seha-club-sports-html.aspx.




                                            -92-
                                                               www.StudentAthletePay.com
    Case 2:19-cv-05230-JP        Document 134        Filed 11/04/24     Page 100 of 180




              Students in each club are responsible for the internal
              organization and conduct of their club …. The management
              and organization of a club sport is an educational
              experience providing many challenges for students, such
              as: writing their constitution and by-laws, conducting
              club meetings, establishing dues to offset club
              expenditures,     planning      fund    raising  projects,
              coordinating practices, competition and special events,
              publicizing club events ….

See Club Sport Manual, at 1, on SHUPirates.com at
http://www.shupirates.com/documents/2016/7/14//club%20sport%20manual%202011%20final.
pdf?id=2336. (emphasis supplied).

       Saint Joseph’s University

             Voluntarily organized by students, club sports exist for the
             purpose of furthering a common interest in a physical activity
             …. Students elect their own officers, draft their own
             constitution, request facility space, get approval for and make
             travel arrangements, schedule contests with other teams,
             develop contracts with officials, fundraise and manage their
             budget.
See Club Sports on SJU.edu at https://sites.sju.edu/recreation/club-sports/. (Another

member school in the Defendant Class, Mount St. Mary’s University, explains that,

“running a club sports team is a lot like running your own business.” See Club Sports on

MSMary.edu at http://msmary.edu/student-life/recreation/club-sports/.)

       320.   The NEW YORK TIMES similarly described student-run, interscholastic

Club Sports as educational experiences distinctly different from NCAA sports:

              In intercollegiate club sports, there are no athletic scholarships,
              no adoring crowds and minimal adult leadership.
              Institutional financing is meager and hard work abundant, with
              dozens of volunteer hours required from the athletes just to put
              on a single game or match.
              It’s college athletics without the pageantry or
              prerogative, and that’s the way athletes in club sports
              like   it.     They    devise  the   practices,   make
              the team rules, decide whom to play and when, raise the
              money for uniforms and game officials, schedule the
              hotel and travel arrangements and manage the
              paperwork.


                                             -93-
                                                                www.StudentAthletePay.com
    Case 2:19-cv-05230-JP        Document 134       Filed 11/04/24      Page 101 of 180




             “It’s a ton of work, but we do it because we take ownership of our
             team,” said David Gerstle, the player-coach of Yale’s club water
             polo team, which like most club teams operates largely outside
             the purview of the university athletic department ….
             *****
             An estimated two million college students play competitive club
             sports compared with about 430,000 involved in athletics
             governed by the National Collegiate Athletic Association and the
             National Association of Intercollegiate Athletics.
             The less restrictive nature of club teams has also been a magnet
             for the thriving nontraditional sports market ….
             [C]lub teams are competing for national championships in bass
             fishing, ballroom dancing and Brazilian martial arts.
             Because of this independent and inclusive spirit, competitive
             club sports have emerged as an alternative to the
             semiprofessional, regulated, commercial environment of
             modern, elite college athletics ….
             *****
             The ability to balance one’s academic, athletic and social life is
             an apparent draw to the club sports model. Chip Spear, a
             volunteer coach for the Yale water polo team, said that one of his
             players was a member of the Whiffenpoofs, Yale’s celebrated a
             cappella group.
             “He misses some practices for their engagements,” said Spear,
             who played water polo at Yale when it was still a varsity sport.
             “The team works it out because all practices are not mandatory.
             I’m not sure how that would have worked on a varsity team.”
             Students say they sometimes choose a club sport (like sailing)
             for cultural or lifestyle reasons or because it was not available in
             high school (like Ultimate Frisbee).
             In either case, the students shape and influence the makeup and
             philosophy of the team, and tailor their commitment to it.
             College administrators said they put club sports in the
             same category as student development.

Bill Pennington, “Rise of College Club Teams Creates a Whole New Level of Success,”

NEW YORK Times, Dec. 2, 2008. (emphasis supplied).

      321.   By contrast to student-run groups, in which NCAA D1 member schools

characterize student-leadership, student-organizing, and student-decision-making as

educational experiences and benefits for participants, in Work Study and NCAA sports,


                                            -94-
                                                                www.StudentAthletePay.com
     Case 2:19-cv-05230-JP       Document 134       Filed 11/04/24     Page 102 of 180




full-time school staff supervise participants, i.e., full-time school staff are responsible

for managerial leadership, organizing and decision-making.

       322.   By contrast to student-run groups and for the reasons set forth in Paragraphs

48 through 102, supra, at all relevant times, Defendants understood that NCAA sports are

not “conducted primarily for the benefit of the participants as part of the educational

opportunities provided to the students.” See FOH § 10b03(e).

       323.   NCAA D1 member schools, like Villanova, publish student-run group

directories on their websites, the hyperlinks to which are incorporated into Defendant

NCAA Division I Websites | Student-Run Interscholastic Club Sports v. NCAA-Regulated

Sports, attached hereto as Exhibit U.

       324.   NCAA D1 member schools’ student-run group directories track the list in

FOH § 10b03(e), including dramatics, student publications, glee clubs, bands, choirs,

debating teams, radio stations, intramurals and interscholastic Club Sports. Id.

       325.   NCAA D1 member school’s student-run group directories expressly exclude

NCAA sports, and expressly distinguish student-run interscholastic Club Sports from

NCAA sports. Id.

       326.   NCAA D1 member schools’ student-run group directories demonstrate that

NCAA D1 member schools understood FOH § 10b03(e) to only apply to student-run groups

and not to NCAA sports. See, also, Paragraphs 316-321, supra (regarding Defendants’

admission that student-run groups meet the criteria set forth in FOH § 10b03(e)).




                                             -95-
                                                               www.StudentAthletePay.com
     Case 2:19-cv-05230-JP        Document 134         Filed 11/04/24    Page 103 of 180




              3.      At All Relevant Times, Defendants Understood That Student
                      Athletes Meet Employee Criteria More Than Students
                      Employed in Work Study

       327.   For reasons set forth in in the preceding paragraphs, at all relevant times,

Defendants understood that Student Athletes meet employee criteria.

     PLAINTIFFS’ PROPOSED FLSA COLLECTIVE ACTION ALLEGATIONS

       328.   Plaintiffs bring Count I (FLSA) of this suit pursuant to the FLSA, 29 U.S.C. §

216(b), as a collective action on behalf of themselves and the following similarly situated

persons of the Proposed FLSA Collective, defined as:

              All individuals, in all NCAA sports and of both genders, who
              were identified on any NCAA Squad List maintained by
              Defendants pursuant to NCAA Division I Bylaws 12.10.2 and/or
              15.5.11, at any time within the FLSA statute of limitations and
              through the date of final judgment (the “Proposed FLSA
              Collective Period”).

       329.   The Proposed FLSA Collective, the Proposed Pennsylvania Class, defined at

Paragraph 339 and following, infra, the Proposed New York Class, defined at Paragraph

370 and following, infra, the Proposed Connecticut Class, defined at Paragraph 401 and

following, infra, the Proposed North Carolina Class, defined at Paragraph 432 and

following, infra, the Proposed Oregon Class, defined at Paragraph 467 and following, infra,

the Proposed Louisiana Class, defined at Paragraph 498 and following, infra, the Proposed

Arizona Class, defined at Paragraph 529 and following, infra, and the Proposed Indiana

Class, defined at Paragraph 560 and following, are collectively referred to as “Student

Athletes.”

       330.   At all relevant times, Plaintiffs and the other members of the Proposed FLSA

Collective were similarly-situated, had substantially similar job requirements, were not

paid any compensation by Defendants under the same common policies, plans and




                                              -96-
                                                                 www.StudentAthletePay.com
     Case 2:19-cv-05230-JP        Document 134       Filed 11/04/24     Page 104 of 180




practices, and were subject to Defendants’ practice of willfully failing and refusing to pay

them at the legally required minimum wage for all hours worked.

       331.   Indeed, Defendants admit that Plaintiffs and the Proposed FLSA Collective

were/are similarly-situated:

       (a)    the NCAA and Villanova “admit that the NCAA bylaws apply to
              all athletes in NCAA sports on an equal basis, and that these
              bylaws address, among other subjects, recruitment, eligibility,
              hours of participation, duration of eligibility, and sanctions for
              noncompliance;” and
       (b)    the NCAA and Villanova “admit that NCAA bylaws apply to all
              member schools and are uniformly interpreted and applied to
              insure a ‘level playing field’ under threat of sanction for failure
              to comply.”

Livers (Phillips) v. NCAA: Answer (ECF 130), at ¶¶ 28, 30 and 44.

       332.   Members of the Proposed FLSA Collective on athletic scholarship and those

members not on athletic scholarship, i.e., “walk-ons,” are also similarly situated because,

inter alia, the NCAA and Villanova admit that there is “no principled distinction” between

scholarship athletes and walk-ons:

              The only “policies and practices” … which apply only to
              scholarship athletes are bylaws that set the number of
              scholarships schools may award, and that permit revocation of
              scholarships for misconduct (as opposed to revocation of athletic
              eligibility, which applies to scholarship athletes and walk-ons
              alike).

Livers (Phillips) v. NCAA: Defs.’ Mem. in Supp. of Mot. to Dismiss Claim of Taurus Phillips

(ECF 109-1), at 4-6. (emphasis supplied).

       333.   During the Proposed FLSA Collective Period, Defendants were fully aware of

the duties performed by Plaintiffs and the other members of the Proposed FLSA Collective,

and that those duties were not exempt from the minimum wage provisions of the FLSA.




                                             -97-
                                                                www.StudentAthletePay.com
     Case 2:19-cv-05230-JP        Document 134        Filed 11/04/24    Page 105 of 180




       334.   As a result of Defendants’ conduct as alleged herein, Defendants violated the

FLSA by not paying Plaintiffs and the other members of the Proposed FLSA Collective the

prevailing minimum wage for all hours worked.

       335.   Defendants’ violations of the FLSA were willful, repeated, knowing,

intentional and without a good faith basis, and significantly damaged Plaintiffs and the

other members of the Proposed FLSA Collective.

       336.   As a result of the Defendants’ conduct, the Defendants are liable to Plaintiffs

and the other members of the Proposed FLSA Collective for the full amount of their unpaid

minimum wages, plus an additional equal amount as liquidated damages, plus the

attorneys’ fees and costs incurred by Plaintiffs and the other members of the Proposed

FLSA Collective.

       337.   While the exact number of individuals within the Proposed FLSA Collective

is unknown at the present time, upon information and belief, there are tens of thousands of

persons similarly-situated to Plaintiffs who make up the putative Proposed FLSA Collective

during the Proposed FLSA Collective Period.

       338.   Pursuant to the Family Educational Rights and Privacy Act, 20 U.S.C. § 1232g

(“FERPA”), a/k/a the Buckley Amendment, a student may require a school to not disclose

certain “directory information” to third parties, including information necessary to send

notice to the tens of thousands of persons similarly-situated to Plaintiffs who make up the

putative Proposed FLSA Collective. Accordingly, in order to ensure FERPA compliance,

Defendants should be required to send court-approved notice to the other members of the

Proposed FLSA Collective so that each has the opportunity to make an informed decision

about whether to participate in this action.




                                               -98-
                                                                www.StudentAthletePay.com
      Case 2:19-cv-05230-JP          Document 134        Filed 11/04/24     Page 106 of 180




              PLAINTIFFS’ PROPOSED PMWA CLASS ACTION ALLEGATIONS

I.        CLASS DEFINITION

          339.   Plaintiffs Johnson and Cooke bring Counts II (PMWA) and III (Unjust

Enrichment) of this suit as a class action pursuant to Fed. R. Civ. P. 23 on behalf of

themselves and the following Proposed Pennsylvania Class, defined as:

                 All individuals, in all NCAA sports and of both genders, who
                 were identified on any NCAA Squad List maintained by
                 Pennsylvania-based Defendants20 and all other Division I schools
                 in Pennsylvania pursuant to NCAA Division I Bylaws 12.10.2
                 and/or 15.5.11, at any time within the Pennsylvania unjust
                 enrichment statute of limitations and through the date of final
                 judgment (the “Proposed Pennsylvania Class Period”).

          340.   The unlawful conduct that the NCAA and the Pennsylvania-based

Defendants committed against Plaintiffs Johnson, Cooke, and the other members of the

Proposed Pennsylvania Class, includes, but is not limited to:

                Failing to pay Plaintiffs Johnson, Cooke, and the other members
                 of the Proposed Pennsylvania Class the prevailing minimum
                 wage under the PMWA;
                Receiving and benefiting from the uncompensated labors of
                 Plaintiffs Johnson, Cooke, and the other members of the
                 Proposed Pennsylvania Class such that to retain said benefit
                 without compensation would be inequitable and rise to the level
                 of unjust enrichment;
                Devising and implementing a plan to increase the NCAA’s and
                 the Pennsylvania-based Defendants’ earnings and profits by
                 fostering a scheme of securing work from Plaintiffs Johnson,
                 Cooke, and the other members of the Proposed Pennsylvania
                 Class without properly paying them any compensation;
                Inducing Plaintiffs Johnson, Cooke, and the other members of
                 the Proposed Pennsylvania Class to perform work while failing
                 to properly compensate them for all hours worked as required by
                 law;
                Reducing overhead with respect to their labor costs, and therefore
                 realizing additional earnings and profits to their own benefit and
                 to the detriment of Plaintiffs Johnson, Cooke, and the other
                 members of the Proposed Pennsylvania Class, by securing the

     20   The Pennsylvania-based Defendants are: Lafayette College and Villanova.

                                                 -99-
                                                                    www.StudentAthletePay.com
       Case 2:19-cv-05230-JP         Document 134         Filed 11/04/24       Page 107 of 180




                  work and efforts of Plaintiff and the members of the Proposed
                  Pennsylvania Class without proper compensation as required by
                  law; and
                 Retaining and continuing to retain such benefits contrary to the
                  fundamental principles of justice, equity, and good conscience.

           341.   Plaintiffs Johnson, Cooke, and the other members of the Proposed

Pennsylvania Class have standing to seek the relief sought herein because of the adverse

effects that the NCAA’s and the Pennsylvania-based Defendants’ unlawful patterns,

practices and/or policies have had on them individually and generally.

           342.   The patterns, practices and/or policies described in this Complaint

demonstrate that the NCAA and the Pennsylvania-based Defendants’ violations of the

PMWA and Pennsylvania common law are not sporadic or unusual; rather, these violations

are part and parcel to their standard operating patterns, practices and/or policies.

II.        NUMEROSITY AND IMPRACTICALITY OF JOINDER

           343.   The members of the Proposed Pennsylvania Class are sufficiently numerous

to make joinder of their claims impracticable. While the exact number of Proposed

Pennsylvania Class members is unknown because such information is in the exclusive

control of the NCAA and the Pennsylvania-based Defendants, upon information and belief

there are thousands of current and former Student Athletes who have been the victim of

the NCAA’s and the Pennsylvania-based Defendants’ violations of the PMWA and

Pennsylvania common law.

           344.   Case in point, upon information and belief, there are currently more than

2,920 Student Athletes at the four Pennsylvania-based Defendants within the four year

statute of limitations for unjust enrichment under Pennsylvania state law.21 Because the



      21See, e.g., statistics reported under Student Life/Sports on www.CollegeFactual.com (last visited
October 14, 2019, as all hyperlinks referenced herein if not otherwise indicated) for Lafayette College
and Villanova.

                                                 -100-
                                                                      www.StudentAthletePay.com
       Case 2:19-cv-05230-JP      Document 134        Filed 11/04/24    Page 108 of 180




Proposed Pennsylvania Class also includes Student Athlete alumnae of the NCAA and such

Defendants, who graduated within the last four years, the Proposed Pennsylvania Class

could total more than 5,840 current and alumnae Student Athletes at the time of filing.

        345.   For each year of pendency, another 730 Student Athletes, or more, could be

added to the Proposed Pennsylvania Class.

        346.   Although precise determination of the number of Proposed Pennsylvania

Class members is impossible at this time, it is significant and satisfies the numerosity

requirement of FRCP 23(a).

III.    COMMON QUESTIONS OF LAW AND FACT

        347.   The claims alleged on behalf of Plaintiffs Johnson, Cooke and the other

members of the Proposed Pennsylvania Class raise questions of law and fact common to all

the members of the Proposed Pennsylvania Class, including Plaintiffs Johnson and Cooke.

Chief among these questions are as follows:

              Whether the NCAA and the Pennsylvania-based Defendants
               Failed to pay Plaintiffs Johnson, Cooke and the other members of
               the Proposed Pennsylvania Class the prevailing minimum wage
               under the PMWA;
              Whether the NCAA and the Pennsylvania-based Defendants
               received and benefitted from the uncompensated labors of
               Plaintiffs Johnson, Cooke and the other members of the
               Proposed Pennsylvania Class such that to retain said benefit
               without compensation would be inequitable and rise to the level
               of unjust enrichment;
              Whether the NCAA and the Pennsylvania-based Defendants
               devised and implemented a plan to increase Defendants’ earnings
               and profits by fostering a scheme of securing work from Plaintiffs
               Johnson, Cooke and the other members of the Proposed
               Pennsylvania Class without properly paying them any
               compensation;
              Whether the NCAA and the Pennsylvania-based Defendants
               induced Plaintiffs Johnson, Cooke and the other members of the
               Proposed Pennsylvania Class to perform work while failing to
               properly compensate them for all hours worked as required by
               law;

                                              -101-
                                                                 www.StudentAthletePay.com
      Case 2:19-cv-05230-JP       Document 134        Filed 11/04/24     Page 109 of 180




             Whether the NCAA and the Pennsylvania-based Defendants
              reduced overhead with respect to their labor costs, and therefore
              realized additional earnings and profits to their own benefit and
              to the detriment of Plaintiffs Johnson, Cooke and the other
              members of the Proposed Pennsylvania Class by securing the
              work and efforts of Plaintiff and the members of the Proposed
              Pennsylvania Class without proper compensation as required by
              law; and
             Whether the NCAA and the Pennsylvania-based Defendants
              retained and continue to retain such benefits contrary to the
              fundamental principles of justice, equity and good conscience.

       348.   Thus, the commonality requirement of FRCP 23(a) is satisfied.

IV.    TYPICALITY OF CLAIMS AND RELIEF SOUGHT

       349.   Plaintiffs Johnson and Cooke are members of the Proposed Pennsylvania

Class they seek to represent.

       350.   The claims of Plaintiffs Johnson and Cooke are typical of claims of the

Proposed Pennsylvania Class in that they all arise from the same unlawful patterns,

practices and/or policies of the NCAA and the Pennsylvania-based Defendants and are

based on the legal theory that these patterns, practices and/or policies violate legal rights

protected by state law.

       351.   Plaintiffs Johnson, Cooke and the other members of the Proposed

Pennsylvania Class all allege that they each were the victim of violations of the PMWA and

Pennsylvania common law, including a failure to pay the prevailing minimum wage and

unjust enrichment.

       352.   The relief that Plaintiffs Johnson and Cooke seek for the NCAA’s and the

Pennsylvania-based Defendants’ unlawful patterns, practices and/or policies is typical of

the relief which is sought on behalf of the Proposed Pennsylvania Class.

       353.   Thus, the typicality requirement of FRCP 23(a) is satisfied.




                                              -102-
                                                                  www.StudentAthletePay.com
      Case 2:19-cv-05230-JP      Document 134        Filed 11/04/24    Page 110 of 180




V.     ADEQUACY OF REPRESENTATION

       354.   The interests of Plaintiffs Johnson and Cooke are co-extensive with those of

the Proposed Pennsylvania Class they seek to represent in the instant case.

       355.   Plaintiffs Johnson and Cooke are willing and able to represent the Proposed

Pennsylvania Class fairly and vigorously as they pursue their similar individual claims.

       356.   Plaintiffs Johnson and Cooke have retained counsel who are qualified and

experienced in employment and wage and hour class action litigation and who are subject

matter experts with respect to Defendants’ operations. Plaintiffs’ counsel are able to meet

the time and fiscal demands necessary to litigate a class action of this size and complexity.

       357.   The combined interests, experience and resources of Plaintiffs Johnson and

Cooke and their counsel to competently litigate the individual and class claims at issue in

the instant case satisfy the adequacy of representation requirement of FRCP 23(a).

VI.    REQUIREMENTS OF RULE 23(b)

       A.     Rule 23(b)(1)

       358.   Without class certification, the same evidence and issues would be subject to

re-litigation in a multitude of individual lawsuits with an attendant risk of inconsistent

adjudications and conflicting obligations.

       359.   Specifically, all evidence of the NCAA’s and the Pennsylvania-based

Defendants’ patterns, practices and/or policies, and the issue of whether they are in

violation of state law, would be exchanged and litigated repeatedly.

       360.   Accordingly, certification of the Proposed Pennsylvania Class is the most

efficient and judicious means of presenting the evidence and arguments necessary to

resolve such questions for Plaintiffs Johnson, Cooke and the other members of the Proposed

Pennsylvania Class, the NCAA and the Pennsylvania-based Defendants.



                                             -103-
                                                                www.StudentAthletePay.com
       Case 2:19-cv-05230-JP       Document 134      Filed 11/04/24     Page 111 of 180




        361.   By filing this action, Plaintiffs Johnson and Cooke are preserving the rights

of the other members of the Proposed Pennsylvania Class with respect to the statute of

limitations on their claims. Therefore, not certifying a class would substantially impair

and/or impede the other members’ ability to protect their interests.

        B.     Rule 23(b)(2)

        362.   The NCAA and the Pennsylvania-based Defendants have acted on grounds,

described herein, generally applicable to Plaintiffs Johnson, Cooke and the other members

of the Proposed Pennsylvania Class, by adopting and following systemic patterns, practices

and/or policies that violate the rights provided to Plaintiffs Johnson, Cooke and the other

members of the Proposed Pennsylvania Class under the PMWA and Pennsylvania common

law.

        363.   These unlawful acts are fostered by the NCAA and the Pennsylvania-based

Defendants’ standard patterns, practices and/or policies, are not sporadic or isolated and

support the request for final injunctive and declaratory relief with respect to Plaintiffs

Johnson, Cooke and the Proposed Pennsylvania Class as a whole.

        364.   Declaratory and injunctive relief are the factual and legal predicates for

Plaintiffs Johnson, Cooke and the other members of the NCAA and the Proposed

Pennsylvania Class’ entitlement to monetary and non-monetary remedies for individual

losses caused by, and exemplary purposes necessitated by, such systemic wage and hour

and common law violations.

        365.   Accordingly, injunctive and declaratory relief are among the predominant

forms of relief sought in this case.

        C.     Rule 23(b)(3)

        366.   The common issues of fact and law affecting Plaintiffs Johnson and Cooke’s

claims and those of the other members of the Proposed Pennsylvania Class, including, but

                                             -104-
                                                                 www.StudentAthletePay.com
      Case 2:19-cv-05230-JP         Document 134        Filed 11/04/24     Page 112 of 180




not limited to, the common issues identified in the Paragraphs above, predominate over

issues affecting only individual claims.

          367.   A class action is superior to other available means for the fair and efficient

adjudication of Plaintiffs Johnson and Cooke’s claims and the claims of the other members

of the Proposed Pennsylvania Class.

          368.   The cost of proving the NCAA’s and the Pennsylvania-based Defendants’

pattern and practice of violating the PMWA and Pennsylvania common law makes it

impracticable for the members of the Proposed Pennsylvania Class to pursue their claims

individually.

          369.   The class action will not be difficult to manage given the discrete and

ubiquitous violations of the PMWA and common law at issue.

            PLAINTIFFS’ PROPOSED NYLL CLASS ACTION ALLEGATIONS

I.        CLASS DEFINITION

          370.   Plaintiffs Kerkeles, Labella, Willebeek-Lemair and Walsh bring Counts IV

(Failure to Pay the Minimum Wage under NYLL), V (Failure to Pay All Wages under the

NYLL) and VI (New York Unjust Enrichment) of this suit as a class action pursuant to Fed.

R. Civ. P. 23 on behalf of themselves and the following Proposed New York Class, defined as:

                 All individuals, in all NCAA sports and of both genders, who
                 were identified on any NCAA Squad List maintained by New
                 York-based Defendants22 and all other Division I schools in New
                 York pursuant to NCAA Division I Bylaws 12.10.2 and/or
                 15.5.11, at any time within the New York unjust enrichment
                 statute of limitations and through the date of final judgment (the
                 “Proposed New York Class Period”).




     22 The New York-based Defendants are: Cornell University, Fordham University and Marist
College.

                                               -105-
                                                                   www.StudentAthletePay.com
    Case 2:19-cv-05230-JP        Document 134       Filed 11/04/24     Page 113 of 180




       371.   The unlawful conduct that the NCAA and the New York-based Defendants

committed against Plaintiffs Kerkeles, Labella, Willebeek-Lemair, Walsh and the other

members of the Proposed New York Class, includes, but is not limited to:

             Failing to pay Plaintiffs Kerkeles, Labella, Willebeek-Lemair,
              Walsh and the other members of the Proposed New York Class
              the prevailing minimum wage under the NYLL;
             Receiving and benefiting from the uncompensated labors of
              Plaintiffs Kerkeles, Labella, Willebeek-Lemair, Walsh and the
              other members of the Proposed New York Class such that to
              retain said benefit without compensation would be inequitable
              and rise to the level of unjust enrichment;
             Devising and implementing a plan to increase the NCAA’s and
              the New York-based Defendants’ earnings and profits by
              fostering a scheme of securing work from Plaintiffs Kerkeles,
              Labella, Willebeek-Lemair, Walsh and the other members of the
              Proposed New York Class without properly paying them any
              compensation;
             Inducing Plaintiffs Kerkeles, Labella, Willebeek-Lemair, Walsh
              and the other members of the Proposed New York Class to
              perform work while failing to properly compensate them for all
              hours worked as required by law;
             Reducing overhead with respect to their labor costs, and therefore
              realizing additional earnings and profits to their own benefit and
              to the detriment of Plaintiffs Kerkeles, Labella, Willebeek-
              Lemair, Walsh and the other members of the Proposed New
              York Class, by securing the work and efforts of Plaintiffs
              Kerkeles, Labella, Willebeek-Lemair, Walsh and the other
              members of the Proposed New York Class without proper
              compensation as required by law; and
             Retaining and continuing to retain such benefits contrary to the
              fundamental principles of justice, equity, and good conscience.

       372.   Plaintiffs Kerkeles, Labella, Willebeek-Lemair, Walsh and the other members

of the Proposed New York Class have standing to seek the relief sought herein because of

the adverse effects that the NCAA’s and the New York-based Defendants’ unlawful patterns,

practices and/or policies have had on them individually and generally.

       373.   The patterns, practices and/or policies described in this Complaint

demonstrate that the NCAA’s and the New York-based Defendants’ violations of the NYLL

                                            -106-
                                                                www.StudentAthletePay.com
       Case 2:19-cv-05230-JP         Document 134        Filed 11/04/24       Page 114 of 180




and/or New York common law are not sporadic or unusual; rather, these violations are part

and parcel to their standard operating patterns, practices and/or policies.

II.        NUMEROSITY AND IMPRACTICALITY OF JOINDER

           374.   The members of the Proposed New York Class are sufficiently numerous to

make joinder of their claims impracticable. While the exact number of Proposed New York

Class members is unknown because such information is in the exclusive control of the

NCAA and the New York-based Defendants, upon information and belief there are

thousands of current and former Student Athletes who have been victims of the NCAA’s

and the New York-based Defendants’ violations of the NYLL and New York common law.

           375.   Case in point, upon information and belief, there are currently approximately

2,750 Student Athletes at the three New York-based Defendants within the six year statute

of limitations for violations of the NYLL and for unjust enrichment under New York state

law.23 Because the Proposed New York Class also includes Student Athlete alumnae of

such Defendants, who graduated within the last six years, the Proposed New York Class

could total more than 6,800 current and alumnae Student Athletes at the time of filing.

           376.   For each year of pendency, another 680 Student Athletes, or more, could be

added to the Proposed New York Class.

           377.   Although precise determination of the number of Proposed New York Class

members is impossible at this time, it is significant and satisfies the numerosity

requirement of FRCP 23(a).




       See, e.g., statistics reported under Student Life/Sports on www.CollegeFactual.com (last visited
      23

November 13, 2019, as all hyperlinks referenced herein if not otherwise indicated) for Cornell
University, Fordham University and Marist College.

                                                -107-
                                                                      www.StudentAthletePay.com
       Case 2:19-cv-05230-JP      Document 134       Filed 11/04/24    Page 115 of 180




III.    COMMON QUESTIONS OF LAW AND FACT

        378.   The claims alleged on behalf of Plaintiffs Kerkeles, Labella, Willebeek-

Lemair, Walsh and the other members of the Proposed New York Class raise questions of

law and fact common to all the members of the Proposed New York Class, including

Plaintiffs Kerkeles, Labella and Willebeek-Lemair. Chief among these questions are as

follows:

              Whether the NCAA and the New York-based Defendants Failed
               to pay Plaintiffs Kerkeles, Labella, Willebeek-Lemair, Walsh
               and the other members of the Proposed New York Class the
               prevailing minimum wage under the NYLL;
              Whether the NCAA and the New York-based Defendants
               received and benefitted from the uncompensated labors of
               Plaintiffs Kerkeles, Labella, Willebeek-Lemair, Walsh and the
               other members of the Proposed New York Class such that to
               retain said benefit without compensation would be inequitable
               and rise to the level of unjust enrichment;
              Whether the NCAA and the New York-based Defendants devised
               and implemented a plan to increase Defendants’ earnings and
               profits by fostering a scheme of securing work from Plaintiffs
               Kerkeles, Labella, Willebeek-Lemair, Walsh and the other
               members of the Proposed New York Class without properly
               paying them any compensation;
              Whether the NCAA and the New York-based Defendants induced
               Plaintiffs Kerkeles, Labella, Willebeek-Lemair, Walsh and the
               other members of the Proposed New York Class to perform work
               while failing to properly compensate them for all hours worked as
               required by law;
              Whether the NCAA and the New York-based Defendants
               reduced overhead with respect to their labor costs, and therefore
               realized additional earnings and profits to their own benefit and
               to the detriment of Plaintiffs Kerkeles, Labella, Willebeek-
               Lemair, Walsh and the other members of the Proposed New
               York Class by securing the work and efforts of Plaintiffs
               Kerkeles, Labella, Willebeek-Lemair, Walsh and the other
               members of the Proposed New York Class without proper
               compensation as required by law; and
              Whether the NCAA and the New York-based Defendants
               retained and continue to retain such benefits contrary to the
               fundamental principles of justice, equity and good conscience.



                                            -108-
                                                                www.StudentAthletePay.com
      Case 2:19-cv-05230-JP        Document 134        Filed 11/04/24   Page 116 of 180




         379.   Thus, the commonality requirement of FRCP 23(a) is satisfied.

IV.      TYPICALITY OF CLAIMS AND RELIEF SOUGHT

         380.   Plaintiffs Kerkeles, Labella, Willebeek-Lemair and Walsh are members of the

Proposed New York Class they seek to represent.

         381.   The claims of Plaintiffs Kerkeles, Labella, Willebeek-Lemair and Walsh are

typical of the claims of the Proposed New York Class in that they all arise from the same

unlawful patterns, practices and/or policies of the NCAA and the New York-based

Defendants and are based on the legal theory that these patterns, practices and/or policies

violate legal rights protected by state law.

         382.   Plaintiffs Kerkeles, Labella, Willebeek-Lemair, Walsh and the other

members of the Proposed New York Class all allege that they each were the victim of

violations of the NYLL and New York common law, including a failure to pay the prevailing

minimum wage and unjust enrichment.

         383.   The relief that Plaintiffs Kerkeles, Labella, Willebeek-Lemair and Walsh

seek for the NCAA’s and the New York-based Defendants’ unlawful patterns, practices

and/or policies is typical of the relief which is sought on behalf of the Proposed New York

Class.

         384.   Thus, the typicality requirement of FRCP 23(a) is satisfied.

V.       ADEQUACY OF REPRESENTATION

         385.   The interests of Plaintiffs Kerkeles, Labella, Willebeek-Lemair and Walsh

are co-extensive with those of the Proposed New York Class they seek to represent in the

instant case.




                                               -109-
                                                                 www.StudentAthletePay.com
      Case 2:19-cv-05230-JP       Document 134       Filed 11/04/24     Page 117 of 180




       386.   Plaintiffs Kerkeles, Labella, Willebeek-Lemair and Walsh are willing and

able to represent the Proposed New York Class fairly and vigorously as they pursue their

similar individual claims.

       387.   Plaintiffs Kerkeles, Labella, Willebeek-Lemair and Walsh have retained

counsel who are qualified and experienced in employment and wage and hour class action

litigation and who are subject matter experts with respect to Defendants’ operations.

Plaintiffs’ counsel are able to meet the time and fiscal demands necessary to litigate a class

action of this size and complexity.

       388.   The combined interests, experience and resources of Plaintiffs Kerkeles,

Labella, Willebeek-Lemair and Walsh and their counsel to competently litigate the

individual and class claims at issue in the instant case satisfy the adequacy of

representation requirement of FRCP 23(a).

VI.    REQUIREMENTS OF RULE 23(b)

       A.     Rule 23(b)(1)

       389.   Without class certification, the same evidence and issues would be subject to

re-litigation in a multitude of individual lawsuits with an attendant risk of inconsistent

adjudications and conflicting obligations.

       390.   Specifically, all evidence of the NCAA’s and the New York-based Defendants’

patterns, practices and/or policies, and the issue of whether they are in violation of state

law, would be exchanged and litigated repeatedly.

       391.   Accordingly, certification of the Proposed New York Class is the most efficient

and judicious means of presenting the evidence and arguments necessary to resolve such

questions for Plaintiffs Kerkeles, Labella, Willebeek-Lemair, Walsh, the other members of

the Proposed New York Class, the NCAA and the New York-based Defendants.



                                             -110-
                                                                 www.StudentAthletePay.com
     Case 2:19-cv-05230-JP         Document 134      Filed 11/04/24     Page 118 of 180




       392.    By filing this action, Plaintiffs Kerkeles, Labella, Willebeek-Lemair and

Walsh are preserving the rights of the other members of the Proposed New York Class with

respect to the statute of limitations on their claims. Therefore, not certifying a class would

substantially impair and/or impede the other members’ ability to protect their interests.

       B.      Rule 23(b)(2)

       393.    The NCAA and the New York-based Defendants have acted on grounds,

described herein, generally applicable to Plaintiffs Kerkeles, Labella, Willebeek-Lemair,

Walsh and the other members of the Proposed New York Class, by adopting and following

systemic patterns, practices and/or policies that violate the rights provided to Plaintiffs

Kerkeles, Labella, Willebeek-Lemair, Walsh and the other members of the Proposed New

York Class under the NYLL and New York common law.

       394.    These unlawful acts are fostered by the NCAA and the New York-based

Defendants’ standard patterns, practices and/or policies, are not sporadic or isolated and

support the request for final injunctive and declaratory relief with respect to Plaintiffs

Kerkeles, Labella, Willebeek-Lemair, Walsh and the Proposed New York Class as a whole.

       395.    Declaratory and injunctive relief are the factual and legal predicates for

Plaintiffs Kerkeles, Labella, Willebeek-Lemair, Walsh and other the members of the

Proposed New York Class’ entitlement to monetary and non-monetary remedies for

individual losses caused by, and exemplary purposes necessitated by, such systemic wage

and hour and common law violations.

       396.    Accordingly, injunctive and declaratory relief are among the predominant

forms of relief sought in this case.

       C.      Rule 23(b)(3)

       397.    The common issues of fact and law affecting Plaintiffs Kerkeles, Labella,

Willebeek-Lemair and Walsh’s claims and those of the other members of the Proposed New

                                             -111-
                                                                 www.StudentAthletePay.com
      Case 2:19-cv-05230-JP          Document 134        Filed 11/04/24    Page 119 of 180




York Class, including, but not limited to, the common issues identified in the Paragraphs

above, predominate over issues affecting only individual claims.

          398.   A class action is superior to other available means for the fair and efficient

adjudication of Plaintiffs Kerkeles, Labella, Willebeek-Lemair and Walsh’s claims and the

claims of the other members of the Proposed New York Class.

          399.   The cost of proving the NCAA’s and the New York-based Defendants’ pattern

and practice of violating the NYLL and New York common law makes it impracticable for

the members of the Proposed New York Class to pursue their claims individually.

          400.   The class action will not be difficult to manage given the discrete and

ubiquitous violations of the NYLL and common law at issue.

            PLAINTIFFS’ PROPOSED CMWA CLASS ACTION ALLEGATIONS

I.        CLASS DEFINITION

          401.   Plaintiff Ruiz brings Counts VII (CMWA) and VIII (Unjust Enrichment) of

this suit as a class action pursuant to Fed. R. Civ. P. 23 on behalf of herself and the

following Proposed Connecticut Class, defined as:

                 All individuals, in all NCAA sports and of both genders, who
                 were identified on any NCAA Squad List maintained by
                 Connecticut-based Defendant24 and all other Division I schools in
                 Connecticut pursuant to NCAA Division I Bylaws 12.10.2 and/or
                 15.5.11, at any time within the Connecticut unjust enrichment
                 statute of limitations and through the date of final judgment (the
                 “Proposed Connecticut Class Period”).

          402.   The unlawful conduct that the NCAA and the Connecticut-based Defendant

committed against Plaintiff Ruiz and the other members of the Proposed Connecticut Class,

includes, but is not limited to:




     24   The Connecticut-based Defendant is: Sacred Heart University.

                                                -112-
                                                                     www.StudentAthletePay.com
      Case 2:19-cv-05230-JP        Document 134     Filed 11/04/24     Page 120 of 180




             Failing to pay Plaintiff Ruiz and the other members of the
              Proposed Connecticut Class the prevailing minimum wage
              under the PMWA;
             Receiving and benefiting from the uncompensated labors of
              Plaintiff Ruiz and the other members of the Proposed Connecticut
              Class such that to retain said benefit without compensation would
              be inequitable and rise to the level of unjust enrichment;
             Devising and implementing a plan to increase the NCAA’s and
              the Connecticut-based Defendant’s earnings and profits by
              fostering a scheme of securing work from Plaintiff Ruiz and the
              other members of the Proposed Connecticut Class without
              properly paying them any compensation;
             Inducing Plaintiff Ruiz and the other members of the Proposed
              Connecticut Class to perform work while failing to properly
              compensate them for all hours worked as required by law;
             Reducing overhead with respect to their labor costs, and therefore
              realizing additional earnings and profits to their own benefit and
              to the detriment of Plaintiff Ruiz and the other members of the
              Proposed Connecticut Class, by securing the work and efforts of
              Plaintiff and the members of the Proposed Connecticut Class
              without proper compensation as required by law; and
             Retaining and continuing to retain such benefits contrary to the
              fundamental principles of justice, equity, and good conscience.

       403.   Plaintiff Ruiz and the other members of the Proposed Connecticut Class have

standing to seek the relief sought herein because of the adverse effects that the NCAA’s and

the Connecticut-based Defendant’s unlawful patterns, practices and/or policies have had on

them individually and generally.

       404.   The patterns, practices and/or policies described in this Complaint

demonstrate that the NCAA’s and the Connecticut-based Defendant’s violations of the

CMWA and Connecticut common law are not sporadic or unusual; rather, these violations

are part and parcel to their standard operating patterns, practices and/or policies.

II.    NUMEROSITY AND IMPRACTICALITY OF JOINDER

       405.   The members of the Proposed Connecticut Class are sufficiently numerous to

make joinder of their claims impracticable. While the exact number of Proposed



                                            -113-
                                                                www.StudentAthletePay.com
        Case 2:19-cv-05230-JP        Document 134        Filed 11/04/24       Page 121 of 180




Connecticut Class members is unknown because such information is in the exclusive control

of the NCAA and the Connecticut-based Defendants, upon information and belief there are

thousands of current and former Student Athletes who have been the victim of the NCAA’s

and the Connecticut-based Defendant’s violations of the CMWA and Connecticut common

law.

            406.   Case in point, upon information and belief, there are currently more than 940

Student Athletes at the Connecticut-based Defendant within the six year statute of

limitations for unjust enrichment under Connecticut state law.25 Because the Proposed

Connecticut Class also includes Student Athlete alumnae of such Defendants, who

graduated within the last six years, the Proposed Connecticut Class could total more than

2,350 current and alumnae Student Athletes at the time of filing.

            407.   For each year of pendency, another 235 Student Athletes, or more, could be

added to the Proposed Connecticut Class.

            408.   Although precise determination of the number of Proposed Connecticut Class

members is impossible at this time, it is significant and satisfies the numerosity

requirement of FRCP 23(a).

III.        COMMON QUESTIONS OF LAW AND FACT

            409.   The claims alleged on behalf of Plaintiff Ruiz and the members of the

Proposed Connecticut Class raise questions of law and fact common to all the members of

the Proposed Connecticut Class, including Plaintiff Ruiz. Chief among these questions are as

follows:

                  Whether the NCAA and the Connecticut-based Defendant failed
                   to pay Plaintiff Ruiz and the other members of the Proposed



       See, e.g., statistics reported under Student Life/Sports on www.CollegeFactual.com (last visited
       25

October 14, 2019, as all hyperlinks referenced herein if not otherwise indicated).

                                                -114-
                                                                      www.StudentAthletePay.com
      Case 2:19-cv-05230-JP       Document 134        Filed 11/04/24     Page 122 of 180




              Connecticut Class the prevailing minimum wage under the
              CMWA;
             Whether the NCAA and the Connecticut-based Defendant
              received and benefitted from the uncompensated labors of
              Plaintiff Ruiz and the other members of the Proposed
              Connecticut Class such that to retain said benefit without
              compensation would be inequitable and rise to the level of unjust
              enrichment;
             Whether the NCAA and the Connecticut-based Defendant
              devised and implemented a plan to increase Defendants’ earnings
              and profits by fostering a scheme of securing work from Plaintiff
              Ruiz and the other members of the Proposed Connecticut Class
              without properly paying them any compensation;
             Whether the NCAA and the Connecticut-based Defendant
              induced Plaintiff Ruiz and the other members of the Proposed
              Connecticut Class to perform work while failing to properly
              compensate them for all hours worked as required by law;
             Whether the NCAA and the Connecticut-based Defendant
              reduced overhead with respect to their labor costs, and therefore
              realized additional earnings and profits to their own benefit and
              to the detriment of Plaintiff Ruiz and the other members of the
              Proposed Connecticut Class by securing the work and efforts of
              Plaintiff and the members of the Proposed Connecticut Class
              without proper compensation as required by law; and
             Whether the NCAA and the Connecticut-based Defendant
              retained and continue to retain such benefits contrary to the
              fundamental principles of justice, equity and good conscience.

       410.   Thus, the commonality requirement of FRCP 23(a) is satisfied.

IV.    TYPICALITY OF CLAIMS AND RELIEF SOUGHT

       411.   Plaintiff Ruiz is a member of the Proposed Connecticut Class she seeks to

represent.

       412.   Plaintiff Ruiz’s claims of are typical of claims of the Proposed Connecticut

Class in that they all arise from the same unlawful patterns, practices and/or policies of the

NCAA and the Connecticut-based Defendant and are based on the legal theory that these

patterns, practices and/or policies violate legal rights protected by state law.




                                             -115-
                                                                 www.StudentAthletePay.com
      Case 2:19-cv-05230-JP       Document 134        Filed 11/04/24    Page 123 of 180




       413.   Plaintiff Ruiz and the members of the Proposed Connecticut Class all allege

that they each were the victim of violations of the CMWA and Connecticut common law,

including a failure to pay the prevailing minimum wage and unjust enrichment.

       414.   The relief that Plaintiff Ruiz seeks for the NCAA’s and the Connecticut-based

Defendant’s unlawful patterns, practices and/or policies is typical of the relief which is

sought on behalf of the Proposed Connecticut Class.

       415.   Thus, the typicality requirement of FRCP 23(a) is satisfied.

V.     ADEQUACY OF REPRESENTATION

       416.   Plaintiff Ruiz’s interests are co-extensive with those of the Proposed

Connecticut Class she seeks to represent in the instant case.

       417.   Plaintiff Ruiz is willing and able to represent the Proposed Connecticut Class

fairly and vigorously as she pursues her similar individual claims.

       418.   Plaintiff Ruiz has retained counsel who are qualified and experienced in

employment and wage and hour class action litigation and who are subject matter experts

with respect to Defendant’s operations. Plaintiffs’ counsel are able to meet the time and

fiscal demands necessary to litigate a class action of this size and complexity.

       419.   The combined interests, experience and resources of Plaintiff Ruiz and her

counsel to competently litigate the individual and class claims at issue in the instant case

satisfy the adequacy of representation requirement of FRCP 23(a).

VI.    REQUIREMENTS OF RULE 23(b)

       A.     Rule 23(b)(1)

       420.   Without class certification, the same evidence and issues would be subject to

re-litigation in a multitude of individual lawsuits with an attendant risk of inconsistent

adjudications and conflicting obligations.



                                             -116-
                                                                 www.StudentAthletePay.com
     Case 2:19-cv-05230-JP        Document 134       Filed 11/04/24      Page 124 of 180




       421.   Specifically, all evidence of the NCAA and the Connecticut-based Defendant’s

patterns, practices and/or policies, and the issue of whether they are in violation of state

law, would be exchanged and litigated repeatedly.

       422.   Accordingly, certification of the Proposed Connecticut Class is the most

efficient and judicious means of presenting the evidence and arguments necessary to

resolve such questions for Plaintiff Ruiz, the other members of the Proposed Connecticut

Class, the NCAA and the Connecticut-based Defendant.

       423.   By filing this action, Plaintiff Ruiz is preserving the rights of the other

members of the Proposed Connecticut Class with respect to the statute of limitations on

their claims. Therefore, not certifying a class would substantially impair and/or impede the

other members’ ability to protect their interests.

       B.     Rule 23(b)(2)

       424.   The NCAA and the Connecticut-based Defendant has acted on grounds,

described herein, generally applicable to Plaintiff Ruiz and the members of the Proposed

Connecticut Class, by adopting and following systemic patterns, practices and/or policies

that violate the rights provided to Plaintiff Ruiz and the other members of the Proposed

Connecticut Class under the CMWA and Connecticut common law.

       425.   These unlawful acts are fostered by the NCAA and the Connecticut-based

Defendant’s standard patterns, practices and/or policies, are not sporadic or isolated and

support the request for final injunctive and declaratory relief with respect to Plaintiff Ruiz

and the Proposed Connecticut Class as a whole.

       426.   Declaratory and injunctive relief are the factual and legal predicates for

Plaintiff Ruiz and the members of the Proposed Connecticut Class’ entitlement to monetary

and non-monetary remedies for individual losses caused by, and exemplary purposes

necessitated by, such systemic wage and hour and common law violations.

                                             -117-
                                                                 www.StudentAthletePay.com
      Case 2:19-cv-05230-JP          Document 134       Filed 11/04/24     Page 125 of 180




          427.   Accordingly, injunctive and declaratory relief are among the predominant

forms of relief sought in this case.

          C.     Rule 23(b)(3)

          428.   The common issues of fact and law affecting Plaintiff Ruiz’s claims and those

of the other members of the Proposed Connecticut Class, including, but not limited to, the

common issues identified in the Paragraphs above, predominate over issues affecting only

individual claims.

          429.   A class action is superior to other available means for the fair and efficient

adjudication of Plaintiff Ruiz’s claims and the claims of the members of the Proposed

Connecticut Class.

          430.   The cost of proving the NCAA and the Connecticut-based Defendant’s pattern

and practice of violating the CMWA and Connecticut common law makes it impracticable

for the members of the Proposed Connecticut Class to pursue their claims individually.

          431.   The class action will not be difficult to manage given the discrete and

ubiquitous violations of the CMWA and common law at issue.

           PLAINTIFFS’ PROPOSED NCWHA CLASS ACTION ALLEGATIONS

I.        CLASS DEFINITION

          432.   Plaintiff Suarez brings Counts IX (NCWHA) and X (Unjust Enrichment) of

this suit as a class action pursuant to Fed. R. Civ. P. 23 on behalf of himself and the

following Proposed North Carolina Class, defined as:

                 All individuals, in all NCAA sports and of both genders, who
                 were identified on any NCAA Squad List maintained by North
                 Carolina-based Defendant26 and all other Division I schools in
                 North Carolina pursuant to NCAA Division I Bylaws 12.10.2
                 and/or 15.5.11, at any time within the North Carolina unjust



     26   The North Carolina-based Defendant is: Duke University.

                                                -118-
                                                                    www.StudentAthletePay.com
     Case 2:19-cv-05230-JP        Document 134       Filed 11/04/24    Page 126 of 180




              enrichment statute of limitations and through the date of final
              judgment (the “Proposed North Carolina Class Period”).

       433.   The unlawful conduct that the NCAA and the North Carolina-based

Defendant committed against Plaintiff Suarez and the other members of the Proposed

North Carolina Class, includes, but is not limited to:

             Failing to pay Plaintiff Suarez and the other members of the
              Proposed North Carolina Class the prevailing minimum wage
              under the NCWHA;
             Receiving and benefiting from the uncompensated labors of
              Plaintiff Suarez and the other members of the Proposed North
              Carolina Class such that to retain said benefit without
              compensation would be inequitable and rise to the level of unjust
              enrichment;
             Devising and implementing a plan to increase the NCAA’s and
              the North Carolina-based Defendant’s earnings and profits by
              fostering a scheme of securing work from Plaintiff Suarez and
              the other members of the Proposed North Carolina Class without
              properly paying them any compensation;
             Inducing Plaintiff Suarez and the other members of the Proposed
              North Carolina Class to perform work while failing to properly
              compensate them for all hours worked as required by law;
             Reducing overhead with respect to their labor costs, and therefore
              realizing additional earnings and profits to their own benefit and
              to the detriment of Plaintiff Suarez and the other members of
              the Proposed North Carolina Class, by securing the work and
              efforts of Plaintiff and the members of the Proposed North
              Carolina Class without proper compensation as required by law;
              and
             Retaining and continuing to retain such benefits contrary to the
              fundamental principles of justice, equity, and good conscience.

       434.   Plaintiff Suarez and the other members of the Proposed North Carolina Class

have standing to seek the relief sought herein because of the adverse effects that the NCAA’s

and the North Carolina-based Defendant’s unlawful patterns, practices and/or policies have

had on them individually and generally.

       435.   The patterns, practices and/or policies described in this Complaint

demonstrate that the NCAA’s and the North Carolina-based Defendant’s violations of the


                                             -119-
                                                                www.StudentAthletePay.com
       Case 2:19-cv-05230-JP         Document 134        Filed 11/04/24       Page 127 of 180




NCWHA and North Carolina common law are not sporadic or unusual; rather, these

violations are part and parcel to their standard operating patterns, practices and/or

policies.

II.        NUMEROSITY AND IMPRACTICALITY OF JOINDER

           436.   The members of the Proposed North Carolina Class are sufficiently numerous

to make joinder of their claims impracticable. While the exact number of Proposed North

Carolina Class members is unknown because such information is in the exclusive control of

the NCAA and the North Carolina-based Defendant, upon information and belief there are

thousands of current and former Student Athletes who have been the victim of the NCAA’s

and the North Carolina-based Defendant’s violations of the CMWA and North Carolina

common law.

           437.   Case in point, upon information and belief, there are currently more than 650

Student Athletes at the North Carolina-based Defendant within the three year statute of

limitations for unjust enrichment under North Carolina state law.27 Because the Proposed

North Carolina Class also includes Student Athlete alumnae of such Defendant, who

graduated within the last three years, the Proposed North Carolina Class could total more

than 1,130 current and alumnae Student Athletes at the time of filing.

           438.   For each year of pendency, another 160 Student Athletes, or more, could be

added to the Proposed North Carolina Class.

           439.   Although precise determination of the number of Proposed North Carolina

Class members is impossible at this time, it is significant and satisfies the numerosity

requirement of FRCP 23(a).




       See, e.g., statistics reported under Student Life/Sports on www.CollegeFactual.com (last visited
      27

August 27, 2021) as all hyperlinks referenced herein if not otherwise indicated).

                                                -120-
                                                                      www.StudentAthletePay.com
       Case 2:19-cv-05230-JP      Document 134       Filed 11/04/24    Page 128 of 180




III.    COMMON QUESTIONS OF LAW AND FACT

        440.   The claims alleged on behalf of Plaintiff Suarez and the members of the

Proposed North Carolina Class raise questions of law and fact common to all the members

of the Proposed North Carolina Class, including Plaintiff Suarez. Chief among these

questions are as follows:

              Whether the NCAA and the North Carolina-based Defendant
               failed to pay Plaintiff Suarez and the other members of the
               Proposed North Carolina Class the prevailing minimum wage
               under the NCWHA;
              Whether the NCAA and the North Carolina-based Defendant
               received and benefitted from the uncompensated labors of
               Plaintiff Suarez and the other members of the Proposed North
               Carolina Class such that to retain said benefit without
               compensation would be inequitable and rise to the level of unjust
               enrichment;
              Whether the NCAA and the North Carolina-based Defendant
               devised and implemented a plan to increase Defendants’ earnings
               and profits by fostering a scheme of securing work from Plaintiff
               Suarez and the other members of the Proposed North Carolina
               Class without properly paying them any compensation;
              Whether the NCAA and the North Carolina-based Defendant
               induced Plaintiff Suarez and the other members of the Proposed
               North Carolina Class to perform work while failing to properly
               compensate them for all hours worked as required by law;
              Whether the NCAA’s and the North Carolina-based Defendant
               reduced overhead with respect to their labor costs, and therefore
               realized additional earnings and profits to their own benefit and
               to the detriment of Plaintiff Suarez and the other members of the
               Proposed North Carolina Class by securing the work and efforts
               of Plaintiff and the members of the Proposed North Carolina
               Class without proper compensation as required by law; and
              Whether the NCAA and the North Carolina-based Defendant
               retained and continue to retain such benefits contrary to the
               fundamental principles of justice, equity and good conscience.

        441.   Thus, the commonality requirement of FRCP 23(a) is satisfied.




                                            -121-
                                                                www.StudentAthletePay.com
      Case 2:19-cv-05230-JP       Document 134        Filed 11/04/24     Page 129 of 180




IV.    TYPICALITY OF CLAIMS AND RELIEF SOUGHT

       442.   Plaintiff Suarez is a member of the Proposed North Carolina Class he seeks to

represent.

       443.   Plaintiff Suarez’s claims are typical of claims of the Proposed North Carolina

Class in that they all arise from the same unlawful patterns, practices and/or policies of the

NCAA and the North Carolina-based Defendant and are based on the legal theory that

these patterns, practices and/or policies violate legal rights protected by state law.

       444.   Plaintiff Suarez and the members of the Proposed North Carolina Class all

allege that they each were the victim of violations of the NCWHA and North Carolina

common law, including a failure to pay the prevailing minimum wage and unjust

enrichment.

       445.   The relief that Plaintiff Suarez seeks for the NCAA and the North Carolina-

based Defendant’s unlawful patterns, practices and/or policies is typical of the relief which

is sought on behalf of the Proposed North Carolina Class.

       446.   Thus, the typicality requirement of FRCP 23(a) is satisfied.

V.     ADEQUACY OF REPRESENTATION

       447.   Plaintiff Suarez’s interests are co-extensive with those of the Proposed North

Carolina Class he seeks to represent in the instant case.

       448.   Plaintiff Suarez is willing and able to represent the Proposed North Carolina

Class fairly and vigorously as he pursues her similar individual claims.

       449.   Plaintiff Suarez has retained counsel who are qualified and experienced in

employment and wage and hour class action litigation and who are subject matter experts

with respect to Defendant’s operations. Plaintiffs’ counsel are able to meet the time and

fiscal demands necessary to litigate a class action of this size and complexity.



                                             -122-
                                                                 www.StudentAthletePay.com
      Case 2:19-cv-05230-JP       Document 134       Filed 11/04/24      Page 130 of 180




       450.   The combined interests, experience and resources of Plaintiff Suarez and his

counsel to competently litigate the individual and class claims at issue in the instant case

satisfy the adequacy of representation requirement of FRCP 23(a).

VI.    REQUIREMENTS OF RULE 23(b)

       A.     Rule 23(b)(1)

       451.   Without class certification, the same evidence and issues would be subject to

re-litigation in a multitude of individual lawsuits with an attendant risk of inconsistent

adjudications and conflicting obligations.

       452.   Specifically, all evidence of the NCAA’s and the North Carolina-based

Defendant’s patterns, practices and/or policies, and the issue of whether they are in

violation of state law, would be exchanged and litigated repeatedly.

       453.   Accordingly, certification of the Proposed North Carolina Class is the most

efficient and judicious means of presenting the evidence and arguments necessary to

resolve such questions for Plaintiff Suarez, the other members of the Proposed North

Carolina Class, the NCAA and the North Carolina-based Defendant.

       454.   By filing this action, Plaintiff Suarez is preserving the rights of the other

members of the Proposed North Carolina Class with respect to the statute of limitations on

their claims. Therefore, not certifying a class would substantially impair and/or impede the

other members’ ability to protect their interests.

       455.   Without class certification, the same evidence and issues would be subject to

re-litigation in a multitude of individual lawsuits with an attendant risk of inconsistent

adjudications and conflicting obligations.




                                             -123-
                                                                 www.StudentAthletePay.com
     Case 2:19-cv-05230-JP        Document 134       Filed 11/04/24      Page 131 of 180




       456.   Specifically, all evidence of the NCAA’s and the North Carolina-based

Defendant’s patterns, practices and/or policies, and the issue of whether they are in

violation of state law, would be exchanged and litigated repeatedly.

       457.   Accordingly, certification of the Proposed North Carolina Class is the most

efficient and judicious means of presenting the evidence and arguments necessary to

resolve such questions for Plaintiff Suarez, the other members of the Proposed North

Carolina Class, the NCAA and the North Carolina-based Defendant.

       458.   By filing this action, Plaintiff Suarez is preserving the rights of the other

members of the Proposed North Carolina Class with respect to the statute of limitations on

their claims. Therefore, not certifying a class would substantially impair and/or impede the

other members’ ability to protect their interests.

       B.     Rule 23(b)(2)

       459.   The NCAA and the North Carolina-based Defendant has acted on grounds,

described herein, generally applicable to Plaintiff Suarez and the members of the Proposed

North Carolina Class, by adopting and following systemic patterns, practices and/or policies

that violate the rights provided to Plaintiff Suarez and the other members of the Proposed

North Carolina Class under the NCWHA and North Carolina common law.

       460.   These unlawful acts are fostered by the NCAA’s and the North Carolina-

based Defendant’s standard patterns, practices and/or policies, are not sporadic or isolated

and support the request for final injunctive and declaratory relief with respect to Plaintiff

Suarez and the Proposed North Carolina Class as a whole.

       461.   Declaratory and injunctive relief are the factual and legal predicates for

Plaintiff Suarez and the members of the Proposed North Carolina Class’ entitlement to




                                             -124-
                                                                 www.StudentAthletePay.com
     Case 2:19-cv-05230-JP         Document 134        Filed 11/04/24     Page 132 of 180




monetary and non-monetary remedies for individual losses caused by, and exemplary

purposes necessitated by, such systemic wage and hour and common law violations.

       462.     Accordingly, injunctive and declaratory relief are among the predominant

forms of relief sought in this case.

       C.       Rule 23(b)(3)

       463.     The common issues of fact and law affecting Plaintiff Suarez’s claims and

those of the other members of the Proposed North Carolina Class, including, but not limited

to, the common issues identified in the Paragraphs above, predominate over issues affecting

only individual claims.

       464.     A class action is superior to other available means for the fair and efficient

adjudication of Plaintiff Suarez’s claims and the claims of the members of the Proposed

North Carolina Class.

       465.     The cost of proving the NCAA’s and the North Carolina-based Defendant’s

pattern and practice of violating the NCWHA and North Carolina common law makes it

impracticable for the members of the Proposed North Carolina Class to pursue their claims

individually.

       466.     The class action will not be difficult to manage given the discrete and

ubiquitous violations of the NCWHA and common law at issue.

        PLAINTIFFS’ PROPOSED OMWEC CLASS ACTION ALLEGATIONS

I.     CLASS DEFINITION

       467.     Plaintiff Foster brings Counts XI (OMWEC) and XII (Unjust Enrichment) of

this suit as a class action pursuant to Fed. R. Civ. P. 23 on behalf of herself and the

following Proposed Oregon Class, defined as:

                       All individuals, in all NCAA sports and of both genders,
                       who were identified on any NCAA Squad List maintained

                                              -125-
                                                                  www.StudentAthletePay.com
     Case 2:19-cv-05230-JP         Document 134        Filed 11/04/24    Page 133 of 180




                       by Oregon-based Defendant28 and all other Division I
                       schools in Oregon pursuant to NCAA Division I Bylaws
                       12.10.2 and/or 15.5.11, at any time within the Oregon
                       unjust enrichment statute of limitations and through the
                       date of final judgment (the “Proposed Oregon Class
                       Period”).

        468.   The unlawful conduct that the NCAA and the Oregon-based Defendant

committed against Plaintiff Foster and the other members of the Proposed Oregon Class,

includes, but is not limited to:

                      Failing to pay Plaintiff Foster and the other members of
                       the Proposed Oregon Class the prevailing minimum wage
                       under the OMWEC;
                      Receiving and benefiting from the uncompensated labors
                       of Plaintiff Foster and the other members of the Proposed
                       Oregon Class such that to retain said benefit without
                       compensation would be inequitable and rise to the level of
                       unjust enrichment;
                      Devising and implementing a plan to increase the
                       NCAA’s and the Oregon-based Defendant’s earnings and
                       profits by fostering a scheme of securing work from
                       Plaintiff Foster and the other members of the Proposed
                       Oregon Class without properly paying them any
                       compensation;
                      Inducing Plaintiff Foster and the other members of the
                       Proposed Oregon Class to perform work while failing to
                       properly compensate them for all hours worked as
                       required by law;
                      Reducing overhead with respect to their labor costs, and
                       therefore realizing additional earnings and profits to
                       their own benefit and to the detriment of Plaintiff Foster
                       and the other members of the Proposed Oregon Class, by
                       securing the work and efforts of Plaintiff and the
                       members of the Proposed Oregon Class without proper
                       compensation as required by law; and
                      Retaining and continuing to retain such benefits contrary
                       to the fundamental principles of justice, equity and good
                       conscience.




   28   The Oregon-based Defendant is: the University of Oregon.

                                              -126-
                                                                   www.StudentAthletePay.com
       Case 2:19-cv-05230-JP         Document 134        Filed 11/04/24       Page 134 of 180




           469.   Plaintiff Foster and the other members of the Proposed Oregon Class have

standing to seek the relief sought herein because of the adverse effects that the NCAA’s and

the Oregon-based Defendant’s unlawful patterns, practices and/or policies have had on them

individually and generally.

           470.   The patterns, practices and/or policies described in this Complaint

demonstrate that the NCAA’s and the Oregon-based Defendant’s violations of the OMWEC

and Oregon common law are not sporadic or unusual; rather, these violations are part and

parcel to their standard operating patterns, practices and/or policies.

II.        NUMEROSITY AND IMPRACTICALITY OF JOINDER

           471.   The members of the Proposed Oregon Class are sufficiently numerous to

make joinder of their claims impracticable. While the exact number of Proposed Oregon

Class members is unknown because such information is in the exclusive control of the

NCAA and the Oregon-based Defendant, upon information and belief there are thousands

of current and former Student Athletes who have been the victim of the NCAA’s and the

Oregon-based Defendant’s violations of the OMWEC and Oregon common law.

           472.   Case in point, upon information and belief, there are currently more than 560

Student Athletes at the NCAA and the Oregon-based Defendant within the six year statute

of limitations for unjust enrichment under Oregon state law.29 Because the Proposed

Oregon Class also includes Student Athlete alumnae of such Defendant, who graduated

within the last six years, the Proposed Oregon Class could total more than 1,400 current

and alumnae Student Athletes at the time of filing.

           473.   For each year of pendency, another 140 Student Athletes, or more, could be

added to the Proposed Oregon Class.


       See, e.g., statistics reported under Student Life/Sports on www.CollegeFactual.com (last visited
      29

August 27, 2021).

                                                -127-
                                                                      www.StudentAthletePay.com
       Case 2:19-cv-05230-JP      Document 134       Filed 11/04/24     Page 135 of 180




        474.   Although precise determination of the number of Proposed Oregon Class

members is impossible at this time, it is significant and satisfies the numerosity

requirement of FRCP 23(a).

III.    COMMON QUESTIONS OF LAW AND FACT

        475.   The claims alleged on behalf of Plaintiff Foster and the members of the

Proposed Oregon Class raise questions of law and fact common to all the members of the

Proposed Oregon Class, including Plaintiff Foster. Chief among these questions are as

follows:

                     Whether the NCAA and the Oregon-based Defendant
                      failed to pay Plaintiff Foster and the other members of the
                      Proposed Oregon Class the prevailing minimum wage
                      under the OMWEC;
                     Whether the NCAA and the Oregon-based Defendant
                      received and benefitted from the uncompensated labors
                      of Plaintiff Foster and the other members of the Proposed
                      Oregon Class such that to retain said benefit without
                      compensation would be inequitable and rise to the level
                      of unjust enrichment;
                     Whether the NCAA and the Oregon-based Defendant
                      devised and implemented a plan to increase Defendants’
                      earnings and profits by fostering a scheme of securing
                      work from Plaintiff Foster and the other members of the
                      Proposed Oregon Class without properly paying them any
                      compensation;
                     Whether the NCAA and the Oregon-based Defendant
                      induced Plaintiff Foster and the other members of the
                      Proposed Oregon Class to perform work while failing to
                      properly compensate them for all hours worked as
                      required by law;
                     Whether the NCAA and the Oregon-based Defendant
                      reduced overhead with respect to their labor costs, and
                      therefore realized additional earnings and profits to their
                      own benefit and to the detriment of Plaintiff Foster and
                      the other members of the Proposed Oregon Class by
                      securing the work and efforts of Plaintiff and the members
                      of the Proposed Oregon Class without proper
                      compensation as required by law; and



                                             -128-
                                                                 www.StudentAthletePay.com
      Case 2:19-cv-05230-JP       Document 134        Filed 11/04/24     Page 136 of 180




                     Whether the NCAA and the Oregon-based Defendant
                      retained and continue to retain such benefits contrary to
                      the fundamental principles of justice, equity and good
                      conscience.

       476.   Thus, the commonality requirement of FRCP 23(a) is satisfied.

IV.    TYPICALITY OF CLAIMS AND RELIEF SOUGHT

       477.   Plaintiff Foster is a member of the Proposed Oregon Class she seeks to

represent.

       478.   Plaintiff Foster’s claims are typical of claims of the Proposed Oregon Class in

that they all arise from the same unlawful patterns, practices and/or policies of the NCAA

and the Oregon-based Defendant and are based on the legal theory that these patterns,

practices and/or policies violate legal rights protected by state law.

       479.   Plaintiff Foster and the members of the Proposed Oregon Class all allege that

they each were the victim of violations of the OMWEC and Oregon common law, including a

failure to pay the prevailing minimum wage and unjust enrichment.

       480.   The relief that Plaintiff Foster seeks for the NCAA and the Oregon-based

Defendant’s unlawful patterns, practices and/or policies is typical of the relief which is

sought on behalf of the Proposed Oregon Class.

       481.   Thus, the typicality requirement of FRCP 23(a) is satisfied.

V.     ADEQUACY OF REPRESENTATION

       482.   Plaintiff Foster’s interests are co-extensive with those of the Proposed Oregon

Class she seeks to represent in the instant case.

       483.   Plaintiff Foster is willing and able to represent the Proposed Oregon Class

fairly and vigorously as she pursues her similar individual claims.

       484.   Plaintiff Foster has retained counsel who are qualified and experienced in

employment and wage and hour class action litigation and who are subject matter experts

                                             -129-
                                                                 www.StudentAthletePay.com
      Case 2:19-cv-05230-JP       Document 134        Filed 11/04/24     Page 137 of 180




with respect to Defendants’ operations. Plaintiffs’ counsel are able to meet the time and

fiscal demands necessary to litigate a class action of this size and complexity.

       485.   The combined interests, experience and resources of Plaintiff Foster and her

counsel to competently litigate the individual and class claims at issue in the instant case

satisfy the adequacy of representation requirement of FRCP 23(a).

VI.    REQUIREMENTS OF RULE 23(b)

       A.     Rule 23(b)(1)

       486.   Without class certification, the same evidence and issues would be subject to

re-litigation in a multitude of individual lawsuits with an attendant risk of inconsistent

adjudications and conflicting obligations.

       487.   Specifically, all evidence of the NCAA and the Oregon-based Defendant’s

patterns, practices and/or policies, and the issue of whether they are in violation of state

law, would be exchanged and litigated repeatedly.

       488.   Accordingly, certification of the Proposed Oregon Class is the most efficient

and judicious means of presenting the evidence and arguments necessary to resolve such

questions for Plaintiff Foster, the other members of the Proposed Oregon Class, the NCAA

and the Oregon-based Defendant.

       489.   By filing this action, Plaintiff Foster is preserving the rights of the other

members of the Proposed Oregon Class with respect to the statute of limitations on their

claims. Therefore, not certifying a class would substantially impair and/or impede the

other members’ ability to protect their interests.

       B.     Rule 23(b)(2)

       490.   The NCAA and the Oregon-based Defendant has acted on grounds, described

herein, generally applicable to Plaintiff Foster and the members of the Proposed Oregon


                                             -130-
                                                                 www.StudentAthletePay.com
     Case 2:19-cv-05230-JP         Document 134        Filed 11/04/24     Page 138 of 180




Class, by adopting and following systemic patterns, practices and/or policies that violate the

rights provided to Plaintiff Foster and the other members of the Proposed Oregon Class

under the OMWEC and Oregon common law.

       491.     These unlawful acts are fostered by the NCAA’s and the Oregon-based

Defendant’s standard patterns, practices and/or policies, are not sporadic or isolated and

support the request for final injunctive and declaratory relief with respect to Plaintiff

Foster and the Proposed Oregon Class as a whole.

       492.     Declaratory and injunctive relief are the factual and legal predicates for

Plaintiff Foster and the members of the Proposed Oregon Class’ entitlement to monetary

and non-monetary remedies for individual losses caused by, and exemplary purposes

necessitated by, such systemic wage and hour and common law violations.

       493.     Accordingly, injunctive and declaratory relief are among the predominant

forms of relief sought in this case.

       C.       Rule 23(b)(3)

       494.     The common issues of fact and law affecting Plaintiff Foster’s claims and

those of the other members of the Proposed Oregon Class, including, but not limited to, the

common issues identified in the Paragraphs above, predominate over issues affecting only

individual claims.

       495.     A class action is superior to other available means for the fair and efficient

adjudication of Plaintiff Foster’s claims and the claims of the members of the Proposed

Oregon Class.

       496.     The cost of proving the NCAA’s and the Oregon-based Defendant’s pattern

and practice of violating the OMWEC and Oregon common law makes it impracticable for

the members of the Proposed Oregon Class to pursue their claims individually.



                                              -131-
                                                                  www.StudentAthletePay.com
      Case 2:19-cv-05230-JP          Document 134        Filed 11/04/24   Page 139 of 180




          497.   The class action will not be difficult to manage given the discrete and

ubiquitous violations of the OMWEC and common law at issue.

           PLAINTIFFS’ PROPOSED LLWCL CLASS ACTION ALLEGATIONS

I.        CLASS DEFINITION

          498.   Plaintiff Harris brings Counts XIII (LLWCL) and XIV (Unjust Enrichment) of

this suit as a class action pursuant to Fed. R. Civ. P. 23 on behalf of himself and the

following Proposed Louisiana Class, defined as:

                         All individuals, in all NCAA sports and of both genders,
                         who were identified on any NCAA Squad List maintained
                         by Louisiana-based Defendant30 and all other Division I
                         schools in Louisiana pursuant to NCAA Division I Bylaws
                         12.10.2 and/or 15.5.11, at any time within the Louisiana
                         unjust enrichment statute of limitations and through the
                         date of final judgment (the “Proposed Louisiana Class
                         Period”).

          499.   The unlawful conduct that the NCAA and the Louisiana-based Defendant

committed against Plaintiff Harris and the other members of the Proposed Louisiana Class,

includes, but is not limited to:

                        Failing to pay Plaintiff Harris and the other members of
                         the Proposed Louisiana Class the prevailing minimum
                         wage under the LLWCL;
                        Receiving and benefiting from the uncompensated labors
                         of Plaintiff Harris and the other members of the Proposed
                         Louisiana Class such that to retain said benefit without
                         compensation would be inequitable and rise to the level of
                         unjust enrichment;
                        Devising and implementing a plan to increase the
                         NCAA’s and the Louisiana-based Defendant’s earnings
                         and profits by fostering a scheme of securing work from
                         Plaintiff Harris and the other members of the Proposed
                         Louisiana Class without properly paying them any
                         compensation;
                        Inducing Plaintiff Harris and the other members of the
                         Proposed Louisiana Class to perform work while failing

     30   The Louisiana-based Defendant is: Tulane University.

                                                -132-
                                                                   www.StudentAthletePay.com
      Case 2:19-cv-05230-JP        Document 134      Filed 11/04/24    Page 140 of 180




                      to properly compensate them for all hours worked as
                      required by law;
                     Reducing overhead with respect to their labor costs, and
                      therefore realizing additional earnings and profits to
                      their own benefit and to the detriment of Plaintiff Harris
                      and the other members of the Proposed Louisiana Class,
                      by securing the work and efforts of Plaintiff and the
                      members of the Proposed Louisiana Class without proper
                      compensation as required by law; and
                     Retaining and continuing to retain such benefits contrary
                      to the fundamental principles of justice, equity, and good
                      conscience.

       500.   Plaintiff Harris and the other members of the Proposed Louisiana Class have

standing to seek the relief sought herein because of the adverse effects that the NCAA’s and

the Louisiana-based Defendant’s unlawful patterns, practices and/or policies have had on

them individually and generally.

       501.   The patterns, practices and/or policies described in this Complaint

demonstrate that the NCAA’s and the Louisiana-based Defendant’s violations of the

LLWCL and Louisiana common law are not sporadic or unusual; rather, these violations

are part and parcel to their standard operating patterns, practices and/or policies.

II.    NUMEROSITY AND IMPRACTICALITY OF JOINDER

       502.   The members of the Proposed Louisiana Class are sufficiently numerous to

make joinder of their claims impracticable. While the exact number of Proposed Louisiana

Class members is unknown because such information is in the exclusive control of the

NCAA and the Louisiana-based Defendant, upon information and belief there are

thousands of current and former Student Athletes who have been the victim of the NCAA’s

and the Louisiana-based Defendant’s violations of the LLWCL and Louisiana common law.

       503.   Case in point, upon information and belief, there are currently more than 430

Student Athletes at the NCAA and the Louisiana-based Defendant within the 10 year



                                            -133-
                                                                www.StudentAthletePay.com
        Case 2:19-cv-05230-JP         Document 134       Filed 11/04/24       Page 141 of 180




statute of limitations for unjust enrichment under Louisiana state law.31 Because the

Proposed Louisiana Class also includes Student Athlete alumnae of such Defendant, who

graduated within the last 10 years, the Proposed Louisiana Class could total more than

1,400 current and alumnae Student Athletes at the time of filing.

            504.   For each year of pendency, another 100 Student Athletes, or more, could be

added to the Proposed Louisiana Class.

            505.   Although precise determination of the number of Proposed Louisiana Class

members is impossible at this time, it is significant and satisfies the numerosity

requirement of FRCP 23(a).

III.        COMMON QUESTIONS OF LAW AND FACT

            506.   The claims alleged on behalf of Plaintiff Harris and the members of the

Proposed Louisiana Class raise questions of law and fact common to all the members of the

Proposed Louisiana Class, including Plaintiff Harris. Chief among these questions are as

follows:

                         Whether the NCAA and the Louisiana-based Defendant
                          failed to pay Plaintiff Harris and the other members of the
                          Proposed Louisiana Class the prevailing minimum wage
                          under the LLWCL;
                         Whether the NCAA and the Louisiana-based Defendant
                          received and benefitted from the uncompensated labors
                          of Plaintiff Harris and the other members of the Proposed
                          Louisiana Class such that to retain said benefit without
                          compensation would be inequitable and rise to the level
                          of unjust enrichment;
                         Whether the NCAA and the Louisiana-based Defendant
                          devised and implemented a plan to increase Defendants’
                          earnings and profits by fostering a scheme of securing
                          work from Plaintiff Harris and the other members of the
                          Proposed Louisiana Class without properly paying them
                          any compensation;


       See, e.g., statistics reported under Student Life/Sports on www.CollegeFactual.com (last visited
       31

August 27, 2021).

                                                 -134-
                                                                      www.StudentAthletePay.com
      Case 2:19-cv-05230-JP       Document 134        Filed 11/04/24     Page 142 of 180




                     Whether the NCAA and the Louisiana-based Defendant
                      induced Plaintiff Harris and the other members of the
                      Proposed Louisiana Class to perform work while failing to
                      properly compensate them for all hours worked as
                      required by law;
                     Whether the NCAA and the Louisiana-based Defendant
                      reduced overhead with respect to their labor costs, and
                      therefore realized additional earnings and profits to their
                      own benefit and to the detriment of Plaintiff Harris and
                      the other members of the Proposed Louisiana Class by
                      securing the work and efforts of Plaintiff and the members
                      of the Proposed Louisiana Class without proper
                      compensation as required by law; and
                     Whether the NCAA and the Louisiana-based Defendant
                      retained and continue to retain such benefits contrary to
                      the fundamental principles of justice, equity and good
                      conscience.

       507.   Thus, the commonality requirement of FRCP 23(a) is satisfied.

IV.    TYPICALITY OF CLAIMS AND RELIEF SOUGHT

       508.   Plaintiff Harris is a member of the Proposed Louisiana Class he seeks to

represent.

       509.   Plaintiff Harris’s claims of are typical of claims of the Proposed Louisiana Class

in that they all arise from the same unlawful patterns, practices and/or policies of the NCAA

and the Louisiana-based Defendant and are based on the legal theory that these patterns,

practices and/or policies violate legal rights protected by state law.

       510.   Plaintiff Harris and the members of the Proposed Louisiana Class all allege

that they each were the victim of violations of the LLWCL and Louisiana common law,

including a failure to pay the prevailing minimum wage and unjust enrichment.

       511.   The relief that Plaintiff Harris seeks for the NCAA’s and the Louisiana-based

Defendant’s unlawful patterns, practices and/or policies is typical of the relief which is

sought on behalf of the Proposed Louisiana Class.

       512.   Thus, the typicality requirement of FRCP 23(a) is satisfied.

                                             -135-
                                                                 www.StudentAthletePay.com
      Case 2:19-cv-05230-JP       Document 134       Filed 11/04/24     Page 143 of 180




V.     ADEQUACY OF REPRESENTATION

       513.   Plaintiff Harris’s interests are co-extensive with those of the Proposed

Louisiana Class he seeks to represent in the instant case.

       514.   Plaintiff Harris is willing and able to represent the Proposed Louisiana Class

fairly and vigorously as he pursues his similar individual claims.

       515.   Plaintiff Harris has retained counsel who are qualified and experienced in

employment and wage and hour class action litigation and who are subject matter experts

with respect to Defendant’s operations. Plaintiffs’ counsel are able to meet the time and

fiscal demands necessary to litigate a class action of this size and complexity.

       516.   The combined interests, experience and resources of Plaintiff Harris and his

counsel to competently litigate the individual and class claims at issue in the instant case

satisfy the adequacy of representation requirement of FRCP 23(a).

VI.    REQUIREMENTS OF RULE 23(b)

       A.     Rule 23(b)(1)

       517.   Without class certification, the same evidence and issues would be subject to

re-litigation in a multitude of individual lawsuits with an attendant risk of inconsistent

adjudications and conflicting obligations.

       518.   Specifically, all evidence of the NCAA’s and the Louisiana-based Defendant’s

patterns, practices and/or policies, and the issue of whether they are in violation of state

law, would be exchanged and litigated repeatedly.

       519.   Accordingly, certification of the Proposed Louisiana Class is the most efficient

and judicious means of presenting the evidence and arguments necessary to resolve such

questions for Plaintiff Harris, the other members of the Proposed Louisiana Class, the

NCAA and the Louisiana-based Defendant.



                                             -136-
                                                                 www.StudentAthletePay.com
     Case 2:19-cv-05230-JP         Document 134       Filed 11/04/24      Page 144 of 180




       520.    By filing this action, Plaintiff Harris is preserving the rights of the other

members of the Proposed Louisiana Class with respect to the statute of limitations on their

claims. Therefore, not certifying a class would substantially impair and/or impede the

other members’ ability to protect their interests.

       B.      Rule 23(b)(2)

       521.    The NCAA and the Louisiana-based Defendant has acted on grounds,

described herein, generally applicable to Plaintiff Harris and the members of the Proposed

Louisiana Class, by adopting and following systemic patterns, practices and/or policies that

violate the rights provided to Plaintiff Harris and the other members of the Proposed

Louisiana Class under the LLWCL and Louisiana common law.

       522.    These unlawful acts are fostered by the NCAA’s and the Louisiana-based

Defendant’s standard patterns, practices and/or policies, are not sporadic or isolated and

support the request for final injunctive and declaratory relief with respect to Plaintiff

Harris and the Proposed Louisiana Class as a whole.

       523.    Declaratory and injunctive relief are the factual and legal predicates for

Plaintiff Harris and the members of the Proposed Louisiana Class’ entitlement to monetary

and non-monetary remedies for individual losses caused by, and exemplary purposes

necessitated by, such systemic wage and hour and common law violations.

       524.    Accordingly, injunctive and declaratory relief are among the predominant

forms of relief sought in this case.

       C.      Rule 23(b)(3)

       525.    The common issues of fact and law affecting Plaintiff Harris’s claims and

those of the other members of the Proposed Louisiana Class, including, but not limited to,




                                              -137-
                                                                  www.StudentAthletePay.com
      Case 2:19-cv-05230-JP           Document 134        Filed 11/04/24     Page 145 of 180




the common issues identified in the Paragraphs above, predominate over issues affecting

only individual claims.

          526.   A class action is superior to other available means for the fair and efficient

adjudication of Plaintiff Harris’s claims and the claims of the members of the Proposed

Louisiana Class.

          527.   The cost of proving the NCAA’s and the Louisiana-based Defendant’s pattern

and practice of violating the LLWCL and Louisiana common law makes it impracticable for

the members of the Proposed Louisiana Class to pursue their claims individually.

          528.   The class action will not be difficult to manage given the discrete and

ubiquitous violations of the LLWCL and common law at issue.

            PLAINTIFFS’ PROPOSED AMWA CLASS ACTION ALLEGATIONS

I.        CLASS DEFINITION

          529.   Plaintiffs Schoen and Snyder bring Counts XV (AMWA) and XVI (Unjust

Enrichment) of this suit as a class action pursuant to Fed. R. Civ. P. 23 on behalf of

themselves and the following Proposed Arizona Class, defined as:

                         All individuals, in all NCAA sports and of both genders,
                         who were identified on any NCAA Squad List maintained
                         by Arizona-based Defendant32 and all other Division I
                         schools in Arizona pursuant to NCAA Division I Bylaws
                         12.10.2 and/or 15.5.11, at any time within the Arizona
                         unjust enrichment statute of limitations and through the
                         date of final judgment (the “Proposed Arizona Class
                         Period”).

          530.   The unlawful conduct that the NCAA and the Arizona-based Defendant

committed against Plaintiffs Schoen, Snyder and the other members of the Proposed

Arizona Class, includes, but is not limited to:




     32   The Arizona-based Defendant is: the University of Arizona.

                                                 -138-
                                                                       www.StudentAthletePay.com
     Case 2:19-cv-05230-JP        Document 134       Filed 11/04/24       Page 146 of 180




                     Failing to pay Plaintiffs Schoen, Snyder and the other
                      members of the Proposed Arizona Class the prevailing
                      minimum wage under the AMWA;
                     Receiving and benefiting from the uncompensated labors
                      of Plaintiffs Schoen, Snyder and the other members of the
                      Proposed Arizona Class such that to retain said benefit
                      without compensation would be inequitable and rise to the
                      level of unjust enrichment;
                     Devising and implementing a plan to increase the NCAA’s
                      and the Arizona-based Defendant’s earnings and profits
                      by fostering a scheme of securing work from Plaintiff
                      Schoen and the other members of the Proposed Arizona
                      Class without properly paying them any compensation;
                     Inducing Plaintiffs Schoen, Snyder and the other members
                      of the Proposed Arizona Class to perform work while
                      failing to properly compensate them for all hours worked
                      as required by law;
                     Reducing overhead with respect to their labor costs, and
                      therefore realizing additional earnings and profits to their
                      own benefit and to the detriment of Plaintiffs Schoen,
                      Snyder and the other members of the Proposed Arizona
                      Class, by securing the work and efforts of Plaintiff and the
                      members of the Proposed Arizona Class without proper
                      compensation as required by law; and
                     Retaining and continuing to retain such benefits contrary
                      to the fundamental principles of justice, equity, and good
                      conscience.

       531.   Plaintiffs Schoen, Snyder and the other members of the Proposed Arizona

Class have standing to seek the relief sought herein because of the adverse effects that the

NCAA’s and the Arizona-based Defendant’s unlawful patterns, practices and/or policies have

had on them individually and generally.

       532.   The patterns, practices and/or policies described in this Complaint

demonstrate that the NCAA’s and the Arizona-based Defendant’s violations of the AMWA

and Arizona common law are not sporadic or unusual; rather, these violations are part and

parcel to their standard operating patterns, practices and/or policies.




                                             -139-
                                                                 www.StudentAthletePay.com
        Case 2:19-cv-05230-JP        Document 134        Filed 11/04/24       Page 147 of 180




II.         NUMEROSITY AND IMPRACTICALITY OF JOINDER

            533.   The members of the Proposed Arizona Class are sufficiently numerous to

make joinder of their claims impracticable. While the exact number of Proposed Arizona

Class members is unknown because such information is in the exclusive control of the

NCAA and the Arizona-based Defendant, upon information and belief there are thousands

of current and former Student Athletes who have been the victim of the NCAA’s and the

Arizona-based Defendant’s violations of the AMWA and Arizona common law.

            534.   Case in point, upon information and belief, there are currently more than 500

Student Athletes at the Arizona-based Defendant within the four year statute of limitations

for unjust enrichment under Arizona state law.33 Because the Proposed Arizona Class also

includes Student Athlete alumnae of such Defendant, who graduated within the last four

years, the Proposed Arizona Class could total more than 1,000 current and alumnae

Student Athletes at the time of filing.

            535.   For each year of pendency, another 125 Student Athletes, or more, could be

added to the Proposed Arizona Class.

            536.   Although precise determination of the number of Proposed Arizona Class

members is impossible at this time, it is significant and satisfies the numerosity

requirement of FRCP 23(a).

III.        COMMON QUESTIONS OF LAW AND FACT

            537.   The claims alleged on behalf of Plaintiffs Schoen, Snyder and the members of

the Proposed Arizona Class raise questions of law and fact common to all the members of the




       See, e.g., statistics reported under Student Life/Sports on www.CollegeFactual.com (last visited
       33

August 27, 2021).

                                                -140-
                                                                      www.StudentAthletePay.com
      Case 2:19-cv-05230-JP          Document 134       Filed 11/04/24     Page 148 of 180




Proposed Arizona Class, including Plaintiffs Schoen and Snyder. Chief among these

questions are as follows:

                        Whether the NCAA and the Arizona-based Defendant
                         failed to pay Plaintiffs Schoen, Snyder and the other
                         members of the Proposed Arizona Class the prevailing
                         minimum wage under the AMWA;
                        Whether the NCAA and the Arizona-based Defendant
                         received and benefitted from the uncompensated labors
                         of Plaintiff Schoen, Snyder and the other members of the
                         Proposed Arizona Class such that to retain said benefit
                         without compensation would be inequitable and rise to
                         the level of unjust enrichment;
                        Whether the NCAA and the Arizona-based Defendant
                         devised and implemented a plan to increase Defendants’
                         earnings and profits by fostering a scheme of securing
                         work from Plaintiffs Schoen, Snyder and the other
                         members of the Proposed Arizona Class without properly
                         paying them any compensation;
                        Whether the NCAA and the Arizona-based Defendant
                         induced Plaintiffs Schoen, Snyder and the other members
                         of the Proposed Arizona Class to perform work while
                         failing to properly compensate them for all hours worked
                         as required by law;
                        Whether the NCAA and the Arizona-based Defendant
                         reduced overhead with respect to their labor costs, and
                         therefore realized additional earnings and profits to their
                         own benefit and to the detriment of Plaintiffs Schoen,
                         Snyder and the other members of the Proposed Arizona
                         Class by securing the work and efforts of Plaintiff and the
                         members of the Proposed Arizona Class without proper
                         compensation as required by law; and
                        Whether the NCAA and the Arizona-based Defendant
                         retained and continue to retain such benefits contrary to
                         the fundamental principles of justice, equity and good
                         conscience.
       538.   Thus, the commonality requirement of FRCP 23(a) is satisfied.

IV.    TYPICALITY OF CLAIMS AND RELIEF SOUGHT

       539.   Plaintiffs Schoen and Snyder are members of the Proposed Arizona Class they

seek to represent.



                                                -141-
                                                                    www.StudentAthletePay.com
     Case 2:19-cv-05230-JP        Document 134        Filed 11/04/24     Page 149 of 180




       540.   Plaintiffs Schoen’s and Snyder’s claims of are typical of claims of the Proposed

Arizona Class in that they all arise from the same unlawful patterns, practices and/or

policies of the NCAA and the Arizona-based Defendant and are based on the legal theory

that these patterns, practices and/or policies violate legal rights protected by state law.

       541.   Plaintiffs Schoen and Snyder and the members of the Proposed Arizona Class

all allege that they each were the victim of violations of the AMWA and Arizona common

law, including a failure to pay the prevailing minimum wage and unjust enrichment.

       542.   The relief that Plaintiffs Schoen and Snyder seek for the NCAA and the

Arizona-based Defendant’s unlawful patterns, practices and/or policies is typical of the

relief which is sought on behalf of the Proposed Arizona Class.

       543.   Thus, the typicality requirement of FRCP 23(a) is satisfied.

V.     ADEQUACY OF REPRESENTATION

       544.   Plaintiffs Schoen’s and Snyder’s interests are co-extensive with those of the

Proposed Arizona Class she seeks to represent in the instant case.

       545.   Plaintiffs Schoen and Snyder are willing and able to represent the Proposed

Arizona Class fairly and vigorously as she pursues her similar individual claims.

       546.   Plaintiffs Schoen and Snyder have retained counsel who are qualified and

experienced in employment and wage and hour class action litigation and who are subject

matter experts with respect to Defendant’s operations. Plaintiffs’ counsel are able to meet

the time and fiscal demands necessary to litigate a class action of this size and complexity.

       547.   The combined interests, experience and resources of Plaintiffs Schoen, Snyder

and their counsel to competently litigate the individual and class claims at issue in the

instant case satisfy the adequacy of representation requirement of FRCP 23(a).




                                             -142-
                                                                  www.StudentAthletePay.com
      Case 2:19-cv-05230-JP       Document 134       Filed 11/04/24     Page 150 of 180




VI.    REQUIREMENTS OF RULE 23(b)

       A.     Rule 23(b)(1)

       548.   Without class certification, the same evidence and issues would be subject to

re-litigation in a multitude of individual lawsuits with an attendant risk of inconsistent

adjudications and conflicting obligations.

       549.   Specifically, all evidence of the NCAA and the Arizona-based Defendant’s

patterns, practices and/or policies, and the issue of whether they are in violation of state

law, would be exchanged and litigated repeatedly.

       550.   Accordingly, certification of the Proposed Arizona Class is the most efficient

and judicious means of presenting the evidence and arguments necessary to resolve such

questions for Plaintiff Schoen, the other members of the Proposed Arizona Class, the NCAA

and the Arizona-based Defendant.

       551.   By filing this action, Plaintiff Schoen is preserving the rights of the other

members of the Proposed Arizona Class with respect to the statute of limitations on their

claims. Therefore, not certifying a class would substantially impair and/or impede the

other members’ ability to protect their interests.

       B.     Rule 23(b)(2)

       552.   The NCAA and the Arizona-based Defendant has acted on grounds, described

herein, generally applicable to Plaintiff Schoen and the members of the Proposed Arizona

Class, by adopting and following systemic patterns, practices and/or policies that violate the

rights provided to Plaintiff Schoen and the other members of the Proposed Arizona Class

under the AMWA and Arizona common law.

       553.   These unlawful acts are fostered by the NCAA and the Arizona-based

Defendant’s standard patterns, practices and/or policies, are not sporadic or isolated and



                                             -143-
                                                                 www.StudentAthletePay.com
     Case 2:19-cv-05230-JP          Document 134      Filed 11/04/24     Page 151 of 180




support the request for final injunctive and declaratory relief with respect to Plaintiffs

Schoen and Snyder and the Proposed Arizona Class as a whole.

       554.    Declaratory and injunctive relief are the factual and legal predicates for

Plaintiffs Schoen and Snyder and the members of the Proposed Arizona Class’ entitlement

to monetary and non-monetary remedies for individual losses caused by, and exemplary

purposes necessitated by, such systemic wage and hour and common law violations.

       555.    Accordingly, injunctive and declaratory relief are among the predominant

forms of relief sought in this case.

       C.      Rule 23(b)(3)

       556.    The common issues of fact and law affecting Plaintiffs Schoen’s and Snyder’s

claims and those of the other members of the Proposed Arizona Class, including, but not

limited to, the common issues identified in the Paragraphs above, predominate over issues

affecting only individual claims.

       557.    A class action is superior to other available means for the fair and efficient

adjudication of Plaintiffs Schoen’s and Snyder’s claims and the claims of the members of the

Proposed Arizona Class.

       558.    The cost of proving the NCAA’s and the Arizona-based Defendant’s pattern

and practice of violating the AMWA and Arizona common law makes it impracticable for

the members of the Proposed Arizona Class to pursue their claims individually.

       559.    The class action will not be difficult to manage given the discrete and

ubiquitous violations of the AMWA and common law at issue.




                                             -144-
                                                                 www.StudentAthletePay.com
      Case 2:19-cv-05230-JP          Document 134       Filed 11/04/24     Page 152 of 180




            PLAINTIFFS’ PROPOSED IMWL CLASS ACTION ALLEGATIONS

I.        CLASS DEFINITION

          560.   Plaintiffs Schmidt and Snyder brings Counts XVII (IMWL) and XVIII (Unjust

Enrichment) of this suit as a class action pursuant to Fed. R. Civ. P. 23 on behalf of

themselves and the following Proposed Indiana Class, defined as:

                         All individuals, in all NCAA sports and of both genders,
                         who were identified on any NCAA Squad List maintained
                         by Indiana-based Defendants34 and all other Division I
                         schools in Indiana pursuant to NCAA Division I Bylaws
                         12.10.2 and/or 15.5.11, at any time within the Indiana
                         unjust enrichment statute of limitations and through the
                         date of final judgment (the “Proposed Indiana Class
                         Period”).

          561.   The unlawful conduct that the NCAA and the Indiana-based Defendants

committed against Plaintiffs Schmidt and Snyder and the other members of the Proposed

Indiana Class, includes, but is not limited to:

                        Failing to pay Plaintiffs Schmidt and Snyder and the other
                         members of the Proposed Indiana Class the prevailing
                         minimum wage under the IMWL;
                        Receiving and benefiting from the uncompensated labors
                         of Plaintiffs Schmidt and Snyder and the other members of
                         the Proposed Indiana Class such that to retain said benefit
                         without compensation would be inequitable and rise to the
                         level of unjust enrichment;
                        Devising and implementing a plan to increase the NCAA’s
                         and the Indiana-based Defendants’ earnings and profits
                         by fostering a scheme of securing work from Plaintiffs
                         Schmidt and Snyder and the other members of the
                         Proposed Indiana Class without properly paying them any
                         compensation;
                        Inducing Plaintiffs Schmidt and Snyder and the other
                         members of the Proposed Indiana Class to perform work
                         while failing to properly compensate them for all hours
                         worked as required by law;
                        Reducing overhead with respect to their labor costs, and
                         therefore realizing additional earnings and profits to their

     34   The Indiana-based Defendants are: University of Notre Dame and Purdue University.

                                                -145-
                                                                    www.StudentAthletePay.com
       Case 2:19-cv-05230-JP         Document 134        Filed 11/04/24       Page 153 of 180




                         own benefit and to the detriment of Plaintiffs Schmidt and
                         Snyder and the other members of the Proposed Indiana
                         Class, by securing the work and efforts of Plaintiff and the
                         members of the Proposed Indiana Class without proper
                         compensation as required by law; and
                        Retaining and continuing to retain such benefits contrary
                         to the fundamental principles of justice, equity, and good
                         conscience.
           562.   Plaintiffs Schmidt and Snyder and the other members of the Proposed Indiana

Class have standing to seek the relief sought herein because of the adverse effects that the

NCAA’s and the Indiana-based Defendants’ unlawful patterns, practices and/or policies have

had on them individually and generally.

           563.   The patterns, practices and/or policies described in this Complaint

demonstrate that the NCAA’s and the Indiana-based Defendants’ violations of the IMWL

and Indiana common law are not sporadic or unusual; rather, these violations are part and

parcel to their standard operating patterns, practices and/or policies.

II.        NUMEROSITY AND IMPRACTICALITY OF JOINDER

           564.   The members of the Proposed Indiana Class are sufficiently numerous to

make joinder of their claims impracticable. While the exact number of Proposed Indiana

Class members is unknown because such information is in the exclusive control of the

NCAA and the Indiana-based Defendants, upon information and belief there are thousands

of current and former Student Athletes who have been the victim of the NCAA and the

Indiana-based Defendants’ violations of the IMWL and Indiana common law.

           565.   Case in point, upon information and belief, there are currently more than

1,470 Student Athletes at the two Indiana-based Defendants within the two year statute of

limitations for unjust enrichment under Indiana state law.35 Because the Proposed Indiana



       See, e.g., statistics reported under Student Life/Sports on www.CollegeFactual.com (last visited
      35

August 27, 2021) for University of Notre Dame and Purdue University.

                                                -146-
                                                                      www.StudentAthletePay.com
       Case 2:19-cv-05230-JP      Document 134       Filed 11/04/24    Page 154 of 180




Class also includes Student Athlete alumnae of such Defendants, who graduated within the

last two years, the Proposed Indiana Class could total more than 2,190 current and

alumnae Student Athletes at the time of filing.

        566.   For each year of pendency, another 360 Student Athletes, or more, could be

added to the Proposed Indiana Class.

        567.   Although precise determination of the number of Proposed Indiana Class

members is impossible at this time, it is significant and satisfies the numerosity

requirement of FRCP 23(a).

III.    COMMON QUESTIONS OF LAW AND FACT

        568.   The claims alleged on behalf of Plaintiffs Schmidt and Snyder and the

members of the Proposed Indiana Class raise questions of law and fact common to all the

members of the Proposed Indiana Class, including Plaintiffs Schmidt and Snyder. Chief

among these questions are as follows:

                     Whether the NCAA and the Indiana-based Defendants
                      failed to pay Plaintiffs Schmidt and Snyder and the other
                      members of the Proposed Indiana Class the prevailing
                      minimum wage under the IMWL;
                     Whether the NCAA and the Indiana-based Defendants
                      received and benefitted from the uncompensated labors of
                      Plaintiffs Schmidt and Snyder and the other members of
                      the Proposed Indiana Class such that to retain said
                      benefit without compensation would be inequitable and
                      rise to the level of unjust enrichment;
                     Whether the NCAA and the Indiana-based Defendants
                      devised and implemented a plan to increase Defendants’
                      earnings and profits by fostering a scheme of securing work
                      from Plaintiffs Schmidt and Snyder and the other members
                      of the Proposed Indiana Class without properly paying
                      them any compensation;
                     Whether the NCAA and the Indiana-based Defendants
                      induced Plaintiffs Schmidt and Snyder and the other
                      members of the Proposed Indiana Class to perform work
                      while failing to properly compensate them for all hours
                      worked as required by law;

                                            -147-
                                                                www.StudentAthletePay.com
      Case 2:19-cv-05230-JP          Document 134       Filed 11/04/24    Page 155 of 180




                        Whether the NCAA and the Indiana-based Defendants
                         reduced overhead with respect to their labor costs, and
                         therefore realized additional earnings and profits to their
                         own benefit and to the detriment of Plaintiffs Schmidt and
                         Snyder and the other members of the Proposed Indiana
                         Class by securing the work and efforts of Plaintiff and the
                         members of the Proposed Indiana Class without proper
                         compensation as required by law; and
                        Whether the NCAA and the Indiana-based Defendants
                         retained and continue to retain such benefits contrary to
                         the fundamental principles of justice, equity and good
                         conscience.
       569.   Thus, the commonality requirement of FRCP 23(a) is satisfied.

IV.    TYPICALITY OF CLAIMS AND RELIEF SOUGHT

       570.   Plaintiffs Schmidt and Snyder are members of the Proposed Indiana Class they

seek to represent.

       571.   Plaintiffs Schmidt’s and Snyder’s claims of are typical of claims of the Proposed

Indiana Class in that they all arise from the same unlawful patterns, practices and/or

policies of the NCAA and the Indiana-based Defendants and are based on the legal theory

that these patterns, practices and/or policies violate legal rights protected by state law.

       572.   Plaintiffs Schmidt and Snyder and the members of the Proposed Indiana

Class all allege that they each were the victim of violations of the IMWL and Indiana

common law, including a failure to pay the prevailing minimum wage and unjust

enrichment.

       573.   The relief that Plaintiffs Schmidt and Snyder seek for the NCAA’s and the

Indiana-based Defendants’ unlawful patterns, practices and/or policies is typical of the

relief which is sought on behalf of the Proposed Indiana Class.

       574.   Thus, the typicality requirement of FRCP 23(a) is satisfied.




                                               -148-
                                                                   www.StudentAthletePay.com
      Case 2:19-cv-05230-JP       Document 134       Filed 11/04/24     Page 156 of 180




V.     ADEQUACY OF REPRESENTATION

       575.   Plaintiffs Schmidt’s and Snyder’s interests are co-extensive with those of the

Proposed Indiana Class they seek to represent in the instant case.

       576.   Plaintiffs Schmidt and Snyder are willing and able to represent the Proposed

Indiana Class fairly and vigorously as they pursue their similar individual claims.

       577.   Plaintiffs Schmidt and Snyder have retained counsel who are qualified and

experienced in employment and wage and hour class action litigation and who are subject

matter experts with respect to Defendants’ operations. Plaintiffs’ counsel are able to meet

the time and fiscal demands necessary to litigate a class action of this size and complexity.

       578.   The combined interests, experience and resources of Plaintiffs Schmidt and

Snyder and their counsel to competently litigate the individual and class claims at issue in

the instant case satisfy the adequacy of representation requirement of FRCP 23(a).

VI.    REQUIREMENTS OF RULE 23(b)

       A.     Rule 23(b)(1)

       579.   Without class certification, the same evidence and issues would be subject to

re-litigation in a multitude of individual lawsuits with an attendant risk of inconsistent

adjudications and conflicting obligations.

       580.   Specifically, all evidence of the NCAA’s and the Indiana-based Defendants’

patterns, practices and/or policies, and the issue of whether they are in violation of state

law, would be exchanged and litigated repeatedly.

       581.   Accordingly, certification of the Proposed Indiana Class is the most efficient

and judicious means of presenting the evidence and arguments necessary to resolve such

questions for Plaintiffs Schmidt and Snyder, the other members of the Proposed Indiana

Class, the NCAA and the Indiana-based Defendants.



                                             -149-
                                                                 www.StudentAthletePay.com
     Case 2:19-cv-05230-JP         Document 134      Filed 11/04/24      Page 157 of 180




       582.    By filing this action, Plaintiffs Schmidt and Snyder are preserving the rights

of the other members of the Proposed Indiana Class with respect to the statute of

limitations on their claims. Therefore, not certifying a class would substantially impair

and/or impede the other members’ ability to protect their interests.

       B.      Rule 23(b)(2)

       583.    The NCAA and the Indiana-based Defendants have acted on grounds,

described herein, generally applicable to Plaintiffs Schmidt and Snyder and the members of

the Proposed Indiana Class, by adopting and following systemic patterns, practices and/or

policies that violate the rights provided to Plaintiffs Schmidt and Snyder and the other

members of the Proposed Indiana Class under the IMWL and Indiana common law.

       584.    These unlawful acts are fostered by the NCAA and the Indiana-based

Defendants’ standard patterns, practices and/or policies, are not sporadic or isolated and

support the request for final injunctive and declaratory relief with respect to Plaintiffs

Schmidt and Snyder and the Proposed Indiana Class as a whole.

       585.    Declaratory and injunctive relief are the factual and legal predicates for

Plaintiffs Schmidt and Snyder and the members of the Proposed Indiana Class’ entitlement

to monetary and non-monetary remedies for individual losses caused by, and exemplary

purposes necessitated by, such systemic wage and hour and common law violations.

       586.    Accordingly, injunctive and declaratory relief are among the predominant

forms of relief sought in this case.

       C.      Rule 23(b)(3)

       587.    The common issues of fact and law affecting Plaintiffs Schmidt’s and Snyder’s

claims and those of the other members of the Proposed Indiana Class, including, but not




                                             -150-
                                                                 www.StudentAthletePay.com
     Case 2:19-cv-05230-JP          Document 134       Filed 11/04/24   Page 158 of 180




limited to, the common issues identified in the Paragraphs above, predominate over issues

affecting only individual claims.

       588.   A class action is superior to other available means for the fair and efficient

adjudication of Plaintiffs Schmidt and Snyder’s claims and the claims of the members of the

Proposed Indiana Class.

       589.   The cost of proving the NCAA and the Indiana-based Defendants’ pattern and

practice of violating the IMWL and Indiana common law makes it impracticable for the

members of the Proposed Indiana Class to pursue their claims individually.

       590.   The class action will not be difficult to manage given the discrete and

ubiquitous violations of the IMWL and common law at issue.

                                        COUNT I
                                Violations of the FLSA
              (On Behalf of Plaintiffs and the Proposed FLSA Collective)

       591.   All previous Paragraphs are incorporated as though fully set forth herein.

       592.   The Minimum Wage provisions in the FLSA apply to Defendants and protect

Plaintiffs and the members of the Proposed FLSA Collective. See 29 U.S.C. § 206.

       593.   Defendants have been, and continue to be, enterprises engaged in commerce

within the meaning of 29 U.S.C. §§ 203(r) and (s), and to which the Minimum Wage provisions

of 29 U.S.C. § 206(a) apply.

       594.   Plaintiffs have been, and/or continue to be, employees of Defendants within

the meaning of 29 U.S.C. § 203(e).

       595.   Defendants have jointly employed, and/or continue to jointly employ,

Plaintiffs within the meaning of 29 U.S.C. § 203(g).

       596.   By operation of NCAA bylaws, Defendants have jointly agreed to engage in a

widespread pattern, policy and practice of misclassifying Plaintiffs and the members of the



                                            -151-
                                                                 www.StudentAthletePay.com
     Case 2:19-cv-05230-JP       Document 134         Filed 11/04/24   Page 159 of 180




Proposed FLSA Collective as unpaid labor rather than employees, prohibiting payment of

minimum wages to them for any, and all, hours that Defendants suffered or permitted

Plaintiffs and the members of the Proposed FLSA Collective to perform work integral to the

billion dollar Big Business of NCAA sports.

       597.   Defendants were aware, or should have been aware, that Student Athletes,

like fellow students in Work Study, fall within employee status under the FLSA when

Defendants willfully chose not to classify and pay Student Athletes as employees with

reckless disregard of employer duties under the FLSA.

       598.   Plaintiffs and the members of the Proposed FLSA Collective have suffered

damages, and are entitled to recovery of unpaid wages, an additional equal amount as

liquidated damages, attorneys’ fees, costs and other relief under 29 U.S.C. § 216(b).

                                       COUNT II
                  Violations of the Pennsylvania Minimum Wage Act
                     (On Behalf of Plaintiffs Johnson, Cooke and
                          the Proposed Pennsylvania Class)

       599.   All previous Paragraphs are incorporated as though fully set forth herein.

       600.   The Minimum Wage provisions in the Pennsylvania Minimum Wage Act, 43

P.S. §§ 333.101 et seq. (“PMWA”) apply to the NCAA and the Pennsylvania-based

Defendants and protect Plaintiffs Johnson, Cooke and the other members of the Proposed

Pennsylvania Class. See 43 P.S. § 333.104(e).

       601.   The NCAA and the Pennsylvania-based Defendants have been, and continue

to be, employers within the meaning of 43 P.S. § 333.103(g), and to which the Minimum

Wage provisions of 43 P.S. § 333.104(e) apply.

       602.   Plaintiffs Johnson, Cooke and the other members of the Proposed

Pennsylvania Class have been, and/or continue to be, employees of the NCAA and the

Pennsylvania-based Defendants within the meaning of 43 P.S. § 333.103(h).


                                              -152-
                                                                www.StudentAthletePay.com
     Case 2:19-cv-05230-JP        Document 134       Filed 11/04/24      Page 160 of 180




       603.    The NCAA and the Pennsylvania-based Defendants have jointly employed,

and/or continue to jointly employ, Plaintiffs Johnson, Cooke and the other members of the

Proposed Pennsylvania Class within the meaning of 43 P.S. § 333.103(f).

       604.    By operation of NCAA bylaws, the NCAA and the Pennsylvania-based

Defendants have jointly agreed to engage in a widespread pattern, policy and practice of

misclassifying Plaintiffs Johnson, Cooke and the other members of the Proposed

Pennsylvania Class as unpaid labor rather than employees, prohibiting payment of

minimum wages to them for any, and all, hours that the NCAA and the Pennsylvania-based

Defendants suffered or permitted Plaintiffs Johnson, Cooke and the other members of the

Proposed Pennsylvania Class to perform work integral to the billion dollar Big Business of

NCAA sports.

       605.    The NCAA and the Pennsylvania-based Defendants were aware, or should

have been aware, that Student Athletes, like fellow students in Work Study, fall within

employee status under the PMWA when the NCAA and the Pennsylvania-based Defendants

willfully chose not to classify and pay Student Athletes as employees with reckless disregard

of employer duties under the PMWA.

       606.    Plaintiffs Johnson, Cooke and the other members of the Proposed

Pennsylvania Class have suffered damages, and are entitled to recovery of unpaid wages,

attorneys’ fees, costs and other relief under 43 P.S. § 333.113.

                                        COUNT III
                           Pennsylvania Unjust Enrichment
               (On Behalf of Plaintiffs Johnson, Cooke and the Proposed
                                  Pennsylvania Class)

       607.    All previous Paragraphs are incorporated as though fully set forth herein.

       608.    The NCAA and the Pennsylvania-based Defendants received and benefited

from the uncompensated labors of Plaintiffs Johnson, Cooke and the Proposed Pennsylvania


                                             -153-
                                                                   www.StudentAthletePay.com
       Case 2:19-cv-05230-JP      Document 134       Filed 11/04/24     Page 161 of 180




Class such that to retain said benefit without compensation would be inequitable and rise to

the level of unjust enrichment.

        609.   At all relevant times, the NCAA and the Pennsylvania-based Defendants

devised and implemented a plan to increase their earnings and profits by fostering a scheme

of securing work from Plaintiffs Johnson, Cooke and the Proposed Pennsylvania Class

without properly paying compensation.

        610.   Contrary to all good faith and fair dealing, the NCAA and the Pennsylvania-

based Defendants induced Plaintiffs Johnson, Cooke and the Proposed Pennsylvania Class to

perform work while failing to properly compensate them for all hours worked as required by

law.

        611.   By reason of having secured the work and efforts of Plaintiffs Johnson, Cooke

and the Proposed Pennsylvania Class without proper compensation as required by law, the

NCAA and the Pennsylvania-based Defendants enjoyed reduced overhead with respect to

their labor costs, and therefore realized additional earnings and profits to their own benefit

and to the detriment of Plaintiffs Johnson, Cook and the Proposed Pennsylvania Class. The

NCAA and the Pennsylvania-based Defendants retained and continue to retain such benefits

contrary to the fundamental principles of justice, equity and good conscience.

        612.   Accordingly, Plaintiffs Johnson, Cooke and the Proposed Pennsylvania Class

are entitled to judgment in an amount equal to the benefits unjustly retained by the NCAA

and the Pennsylvania-based Defendants.




                                             -154-
                                                                 www.StudentAthletePay.com
    Case 2:19-cv-05230-JP        Document 134       Filed 11/04/24    Page 162 of 180




                                         COUNT IV
              Failure to Pay Minimum Wage Under the New York Labor Law
          (On Behalf of Plaintiffs Kerkeles, Labella, Willebeek-Lemair, Walsh and
                           the Proposed New York Class)

       613.   All previous Paragraphs are incorporated as though fully set forth herein.

       614.   The NYLL requires covered employers, such as the NCAA and the New York-

based Defendants, to pay all non-exempt employees the prevailing minimum wage for all

hours worked and protects Plaintiffs Kerkeles, Labella, Willebeek-Lemair, Walsh and the

other members of the Proposed New York Class.

       615.   The NCAA and the New York-based Defendants have been, and continue to

be, employers within the meaning of the New York Labor Law.

       616.   Plaintiffs Kerkeles, Labella, Willebeek-Lemair, Walsh and the other members

of the Proposed New York Class have been, and/or continue to be, employees of the NCAA

and the New York-based Defendants within the meaning of the New York Labor Law.

       617.   The NCAA and the New York-based Defendants have jointly employed,

and/or continue to jointly employ, Plaintiffs Kerkeles, Labella, Willebeek-Lemair, Walsh

and the other members of the Proposed New York Class within the meaning of the New

York Labor Law.

       618.   By operation of NCAA bylaws, the NCAA and the New York-based Defendants

have jointly agreed to engage in a widespread pattern, policy and practice of misclassifying

Plaintiffs Kerkeles, Labella, Willebeek-Lemair, Walsh and the other members of the

Proposed New York Class as unpaid labor rather than employees, prohibiting payment of

minimum wages to them for any, and all, hours that the NCAA and the New York-based

Defendants suffered or permitted Plaintiffs Kerkeles, Labella, Willebeek-Lemair, Walsh and

the other members of the Proposed New York Class to perform work integral to the billion

dollar Big Business of NCAA sports.


                                            -155-
                                                               www.StudentAthletePay.com
     Case 2:19-cv-05230-JP       Document 134       Filed 11/04/24     Page 163 of 180




       619.   The NCAA and the New York-based Defendants were aware, or should have

been aware, that Student Athletes, like fellow students in Work Study, fall within employee

status under the NYLL when the NCAA and the New York-based Defendants willfully chose

not to classify and pay Student Athletes as employees with reckless disregard of employer

duties under the NYLL. Plaintiffs Kerkeles, Labella, Willebeek-Lemair, Walsh and the

other members of the Proposed New York Class have suffered damages, and are entitled to

recovery of unpaid wages, liquidated damages, attorneys’ fees, costs and other relief.

                                     COUNT V
       Failure to Pay Wages for All Hours Worked in Violation of NYLL §191
      (On Behalf of Plaintiffs Kerkeles, Labella, Willebeek-Lemair, Walsh and
                           the Proposed New York Class)

       620.   All previous Paragraphs are incorporated as though fully set forth herein.

       621.   The NYLL requires covered employers, such as the NCAA and the New York-

based Defendants, to pay employees for all hours worked. Plaintiffs Kerkeles, Labella,

Willebeek-Lemair, Walsh and the other members of the Proposed New York Class were not

exempt from the requirement that they be paid for all hours worked under the NYLL.

       622.   However, based on the reasons set forth herein, the NCAA and the New York

based Defendants did not pay Plaintiffs Kerkeles, Labella, Willebeek-Lemair, Walsh and the

other members of the Proposed New York Class for any of the hours that they worked.

       623.   The NCAA and the New York-based Defendants have been, and continue to

be, employers within the meaning of the New York Labor Law.

       624.   Plaintiffs Kerkeles, Labella, Willebeek-Lemair, Walsh and the other members

of the Proposed New York Class have been, and/or continue to be, employees of the NCAA

and the New York-based Defendants within the meaning of the New York Labor Law.

       625.   The NCAA and the New York-based Defendants have jointly employed,

and/or continue to jointly employ, Plaintiffs Kerkeles, Labella, Willebeek-Lemair, Walsh


                                            -156-
                                                               www.StudentAthletePay.com
     Case 2:19-cv-05230-JP        Document 134       Filed 11/04/24   Page 164 of 180




and the other members of the Proposed New York Class within the meaning of the New

York Labor Law.

       626.   As a result of the NCAA’s and the New York-based Defendants’ failure to pay

Plaintiffs Kerkeles, Labella, Willebeek-Lemair, Walsh and the other members of the

Proposed New York Class their wages for all hours worked, the NCAA and the New York-

based Defendants violated the NYLL.

       627.   The NCAA’s and the New York-based Defendants’ violations of the NYLL

have significantly damaged Plaintiffs Kerkeles, Labella, Willebeek-Lemair, Walsh and the

other members of the Proposed New York Class and entitle them to recover the total amount

of their unpaid straight-time wages, an additional amount in liquidated damages and

attorneys’ fees and costs and interest.

                                     COUNT VI
                           New York Unjust Enrichment
      (On Behalf of Plaintiffs Kerkeles, Labella, Willebeek-Lemair, Walsh and
                           the Proposed New York Class)
       628.   All previous Paragraphs are incorporated as though fully set forth herein.

       629.   The NCAA and the New York-based Defendants received and benefited from

the uncompensated labors of Plaintiffs Kerkeles, Labella, Willebeek-Lemair, Walsh and the

Proposed New York Class such that to retain said benefit without compensation would be

inequitable and rise to the level of unjust enrichment.

       630.   At all relevant times, the NCAA and the New York-based Defendants devised

and implemented a plan to increase their earnings and profits by fostering a scheme of

securing work from Plaintiffs Kerkeles, Labella, Willebeek-Lemair, Walsh and the Proposed

New York Class without properly paying compensation.

       631.   Contrary to all good faith and fair dealing, the NCAA and the New York-based

Defendants induced Plaintiffs Kerkeles, Labella, Willebeek-Lemair, Walsh and the Proposed


                                             -157-
                                                               www.StudentAthletePay.com
     Case 2:19-cv-05230-JP        Document 134       Filed 11/04/24     Page 165 of 180




New York Class to perform work while failing to properly compensate them for all hours

worked as required by law.

       632.   By reason of having secured the work and efforts of Plaintiffs Kerkeles,

Labella, Willebeek-Lemair, Walsh and the Proposed New York Class without proper

compensation as required by law, the NCAA and the New York-based Defendants enjoyed

reduced overhead with respect to their labor costs, and therefore realized additional earnings

and profits to their own benefit and to the detriment of Plaintiffs Kerkeles, Labella,

Willebeek-Lemair, Walsh and the Proposed New York Class. The NCAA and the New York-

based Defendants retained and continue to retain such benefits contrary to the fundamental

principles of justice, equity and good conscience. Accordingly, Plaintiffs Kerkeles, Labella,

Willebeek-Lemair, Walsh and the Proposed New York Class are entitled to judgment in an

amount equal to the benefits unjustly retained by the NCAA and the New York-based

Defendants.

                                     COUNT VII
                 Violations of the Connecticut Minimum Wage Act
          (On Behalf of Plaintiff Ruiz and the Proposed Connecticut Class)

       633.   All previous Paragraphs are incorporated as though fully set forth herein.

       634.   The Minimum Wage provisions in the Connecticut Minimum Wage Act,

CGSA §§32- 58, et seq. apply to the NCAA and the Connecticut-based Defendant and protect

Plaintiff Ruiz and the other members of the Proposed Connecticut Class.

       635.   The NCAA and the Connecticut-based Defendant have been, and continue to

be, employers within the meaning of the CMWA, and to which the CMWA provisions apply.

       636.   Plaintiff Ruiz and the other members of the Proposed Connecticut Class have

been, and/or continue to be, employees of the NCAA and the Connecticut-based Defendant

within the meaning of the CMWA.


                                            -158-
                                                                www.StudentAthletePay.com
     Case 2:19-cv-05230-JP         Document 134     Filed 11/04/24    Page 166 of 180




       637.    The NCAA and the Connecticut-based Defendant have jointly employed,

and/or continue to jointly employ, Plaintiff Ruiz and the other members of the Proposed

Connecticut Class within the meaning of the CMWA.

       638.    By operation of NCAA bylaws, the NCAA and the Connecticut-based

Defendant have jointly agreed to engage in a widespread pattern, policy and practice of

misclassifying Plaintiff Ruiz and the other members of the Proposed Connecticut Class as

unpaid labor rather than employees, prohibiting payment of minimum wages to them for

any, and all, hours that the NCAA and the Connecticut-based Defendant suffered or permitted

Plaintiff Ruiz and the other members of the Proposed Connecticut Class to perform work

integral to the billion dollar Big Business of NCAA sports.

       639.    The NCAA and the Connecticut-based Defendant were aware, or should have

been aware, that Student Athletes, like fellow students in Work Study, fall within employee

status under the CMWA when the NCAA and the Connecticut-based Defendant willfully

chose not to classify and pay Student Athletes as employees with reckless disregard of

employer duties under the CMWA.

       640.    Plaintiff Ruiz and the members of the Proposed Connecticut Class have

suffered damages, and are entitled to recovery of unpaid wages, liquidated damages,

attorneys’ fees, costs and other relief.

                                     COUNT VIII
                          Connecticut Unjust Enrichment
          (On Behalf of Plaintiff Ruiz and the Proposed Connecticut Class)

       641.    All previous Paragraphs are incorporated as though fully set forth herein.

       642.    The NCAA and the Connecticut-based Defendant received and benefited from

the uncompensated labors of Plaintiff Ruiz and the Proposed Connecticut Class such that to




                                            -159-
                                                               www.StudentAthletePay.com
     Case 2:19-cv-05230-JP       Document 134        Filed 11/04/24    Page 167 of 180




retain said benefit without compensation would be inequitable and rise to the level of unjust

enrichment.

       643.   At all relevant times, the NCAA and the Connecticut-based Defendant devised

and implemented a plan to increase their earnings and profits by fostering a scheme of

securing work from Plaintiff Ruiz and the Proposed Connecticut Class without properly

paying compensation.

       644.   Contrary to all good faith and fair dealing, the NCAA and the Connecticut-

based Defendant induced Plaintiff Ruiz and the Proposed Connecticut Class to perform work

while failing to properly compensate them for all hours worked as required by law.

       645.   By reason of having secured the work and efforts of Plaintiff Ruiz and the

Proposed Connecticut Class without proper compensation as required by law, the NCAA and

the Connecticut-based Defendant enjoyed reduced overhead with respect to their labor costs,

and therefore realized additional earnings and profits to their own benefit and to the

detriment of Plaintiff Ruiz and the Proposed Connecticut Class. The NCAA and the

Connecticut-based Defendant retained and continue to retain such benefits contrary to the

fundamental principles of justice, equity and good conscience.

       646.   Accordingly, Plaintiff Ruiz and the Proposed Connecticut Class are entitled to

judgment in an amount equal to the benefits unjustly retained by the NCAA and the

Connecticut-based Defendant.

                                     COUNT IX
               Violations of the North Carolina Wage and Hour Act
       (On Behalf of Plaintiff Suarez and the Proposed North Carolina Class)

       647.   All previous Paragraphs are incorporated as though fully set forth herein.




                                            -160-
                                                                 www.StudentAthletePay.com
    Case 2:19-cv-05230-JP         Document 134      Filed 11/04/24   Page 168 of 180




         648.   The Minimum Wage provisions in the NCWHA apply to the NCAA and the

North Carolina-based Defendant and protect Plaintiff Suarez and the other members of the

Proposed North Carolina Class.

         649.   The NCAA and the North Carolina-based Defendant have been, and continue

to be, employers within the meaning of the NCWHA, and to which the NCWHA provisions

apply.

         650.   Plaintiff Suarez and the other members of the Proposed North Carolina Class

have been, and/or continue to be, employees of the NCAA and the North Carolina-based

Defendant within the meaning of the NCWHA.

         651.   The NCAA and the North Carolina-based Defendant have jointly employed,

and/or continue to jointly employ, Plaintiff Suarez and the other members of the Proposed

North Carolina Class within the meaning of the NCWHA .

         652.   By operation of NCAA bylaws, the NCAA and the North Carolina-based

Defendant have jointly agreed to engage in a widespread pattern, policy and practice of

misclassifying Plaintiff Suarez and the other members of the Proposed North Carolina Class

as unpaid labor rather than employees, prohibiting payment of minimum wages to them for

any, and all, hours that NCAA and the North Carolina-based Defendant suffered or permitted

Plaintiff Suarez and the other members of the Proposed North Carolina Class to perform

work integral to the billion dollar Big Business of NCAA sports.

         653.   The NCAA and the North Carolina-based Defendant were aware, or should

have been aware, that Student Athletes, like fellow students in Work Study, fall within

employee status under the NCWHA when the NCAA and the North Carolina-based

Defendant willfully chose not to classify and pay Student Athletes as employees with

reckless disregard of employer duties under the NCWHA.



                                            -161-
                                                              www.StudentAthletePay.com
     Case 2:19-cv-05230-JP         Document 134      Filed 11/04/24     Page 169 of 180




       654.    Plaintiff Suarez and the members of the Proposed North Carolina Class have

suffered damages, and are entitled to recovery of unpaid wages, liquidated damages,

attorneys’ fees, costs and other relief.

                                      COUNT X
                         North Carolina Unjust Enrichment
       (On Behalf of Plaintiff Suarez and the Proposed North Carolina Class)

       655.    All previous Paragraphs are incorporated as though fully set forth herein.

       656.    The NCAA and the North Carolina-based Defendant received and benefited

from the uncompensated labors of Plaintiff Suarez and the Proposed North Carolina Class

such that to retain said benefit without compensation would be inequitable and rise to the

level of unjust enrichment.

       657.    At all relevant times, the NCAA and the North Carolina-based Defendant

devised and implemented a plan to increase their earnings and profits by fostering a scheme

of securing work from Plaintiff Suarez and the Proposed North Carolina Class without

properly paying compensation.

       658.    Contrary to all good faith and fair dealing, the NCAA and the North Carolina-

based Defendant induced Plaintiff Suarez and the Proposed North Carolina Class to perform

work while failing to properly compensate them for all hours worked as required by law.

       659.    By reason of having secured the work and efforts of Plaintiff Suarez and the

Proposed North Carolina Class without proper compensation as required by law, the NCAA

and the North Carolina-based Defendant enjoyed reduced overhead with respect to their labor

costs, and therefore realized additional earnings and profits to their own benefit and to the

detriment of Plaintiff Suarez and the Proposed North Carolina Class. The NCAA and the

North Carolina-based Defendant retained and continue to retain such benefits contrary to

the fundamental principles of justice, equity and good conscience.


                                            -162-
                                                                www.StudentAthletePay.com
    Case 2:19-cv-05230-JP         Document 134       Filed 11/04/24    Page 170 of 180




       660.     Accordingly, Plaintiff Suarez and the Proposed North Carolina Class are

entitled to judgment in an amount equal to the benefits unjustly retained by the NCAA and

the North Carolina-based Defendant.

                                          COUNT XI
Violations of the Oregon Minimum Wage and Employment Conditions Law
              (On Behalf of Plaintiff Suarez and the Proposed Oregon Class)

       661.     All previous Paragraphs are incorporated as though fully set forth herein.

       662.     The Minimum Wage provisions in the OMWEC apply to the NCAA and the

Oregon-based Defendant and protect Plaintiff Foster and the other members of the Proposed

Oregon Class.

       663.     The NCAA and the Oregon-based Defendant have been, and continue to be,

employers within the meaning of the OMWEC, and to which the OMWEC provisions apply.

       664.     Plaintiff Foster and the other members of the Proposed Oregon Class have

been, and/or continue to be, employees of the NCAA and the Oregon-based Defendant

within the meaning of the OMWEC.

       665.     The NCAA and the Oregon-based Defendant have jointly employed, and/or

continue to jointly employ, Plaintiff Foster and the other members of the Proposed Oregon

Class within the meaning of the OMWEC.

       666.     By operation of NCAA bylaws, the NCAA and the Oregon-based Defendant

have jointly agreed to engage in a widespread pattern, policy and practice of misclassifying

Plaintiff Foster and the other members of the Proposed Oregon Class as unpaid labor rather

than employees, prohibiting payment of minimum wages to them for any, and all, hours that

the NCAA and the Oregon-based Defendant suffered or permitted Plaintiff Foster and the

other members of the Proposed Oregon Class to perform work integral to the billion dollar

Big Business of NCAA sports.


                                             -163-
                                                                www.StudentAthletePay.com
     Case 2:19-cv-05230-JP         Document 134      Filed 11/04/24     Page 171 of 180




       667.     The NCAA and the Oregon-based Defendant were aware, or should have been

aware, that Student Athletes, like fellow students in Work Study, fall within employee

status under the OMWEC when the NCAA and the Oregon-based Defendant willfully chose

not to classify and pay Student Athletes as employees with reckless disregard of employer

duties under the OMWEC.

       668.     Plaintiff Foster and the members of the Proposed Oregon Class have suffered

damages, and are entitled to recovery of unpaid wages, liquidated damages, attorneys’ fees,

costs and other relief.

                                        COUNT XII
                               Oregon Unjust Enrichment
              (On Behalf of Plaintiff Foster and the Proposed Oregon Class)

       669.     All previous Paragraphs are incorporated as though fully set forth herein.

       670.     The NCAA and the Oregon-based Defendant received and benefited from the

uncompensated labors of Plaintiff Foster and the Proposed Oregon Class such that to retain

said benefit without compensation would be inequitable and rise to the level of unjust

enrichment.

       671.     At all relevant times, the NCAA and the Oregon-based Defendant devised and

implemented a plan to increase their earnings and profits by fostering a scheme of securing

work from Plaintiff Foster and the Proposed Oregon Class without properly paying

compensation.

       672.     Contrary to all good faith and fair dealing, the NCAA and the Oregon-based

Defendant induced Plaintiff Foster and the Proposed Oregon Class to perform work while

failing to properly compensate them for all hours worked as required by law.

       673.     By reason of having secured the work and efforts of Plaintiff Foster and the

Proposed Oregon Class without proper compensation as required by law, the NCAA and the


                                             -164-
                                                                 www.StudentAthletePay.com
     Case 2:19-cv-05230-JP        Document 134       Filed 11/04/24    Page 172 of 180




Oregon-based Defendant enjoyed reduced overhead with respect to their labor costs, and

therefore realized additional earnings and profits to their own benefit and to the detriment

of Plaintiff Foster and the Proposed Oregon Class. The NCAA and the Oregon-based

Defendant retained and continue to retain such benefits contrary to the fundamental

principles of justice, equity and good conscience.

       674.   Accordingly, Plaintiff Foster and the Proposed Oregon Class are entitled to

judgment in an amount equal to the benefits unjustly retained by the NCAA and the

Oregon-based Defendant.

                                     COUNT XIII
        Violations of the Lousiana’s Labor and Worker’s Compensation Laws
          (On Behalf of Plaintiff Harris and the Proposed Louisiana Class)

       675.   All previous Paragraphs are incorporated as though fully set forth herein.

       676.   The Minimum Wage provisions in the LLWCL apply to the NCAA and the

Louisiana-based Defendant and protect Plaintiff Harris and the other members of the

Proposed Louisiana Class.

       677.   The NCAA and the Louisiana-based Defendant have been, and continue to be,

employers within the meaning of the LLWCL, and to which the CMWA provisions apply.

       678.   Plaintiff Harris and the other members of the Proposed Louisiana Class have

been, and/or continue to be, employees of the NCAA and the Louisiana-based Defendant

within the meaning of the LLWCL.

       679.   The NCAA and the Louisiana-based Defendant have jointly employed, and/or

continue to jointly employ, Plaintiff Harris and the other members of the Proposed

Louisiana Class within the meaning of the LLWCL.

       680.   By operation of NCAA bylaws, the NCAA and the Louisiana-based Defendant

have jointly agreed to engage in a widespread pattern, policy and practice of misclassifying


                                             -165-
                                                               www.StudentAthletePay.com
     Case 2:19-cv-05230-JP         Document 134       Filed 11/04/24   Page 173 of 180




Plaintiff Harris and the other members of the Proposed Louisiana Class as unpaid labor

rather than employees, prohibiting payment of minimum wages to them for any, and all,

hours that NCAA and the Louisiana-based Defendant suffered or permitted Plaintiff Harris

and the other members of the Proposed Louisiana Class to perform work integral to the

billion dollar Big Business of NCAA sports.

       681.    The NCAA and the Louisiana-based Defendant were aware, or should have

been aware, that Student Athletes, like fellow students in Work Study, fall within employee

status under the LLWCL when the NCAA and the Louisiana-based Defendant willfully

chose not to classify and pay Student Athletes as employees with reckless disregard of

employer duties under the LLWCL.

       682.    Plaintiff Harris and the members of the Proposed Louisiana Class have

suffered damages, and are entitled to recovery of unpaid wages, liquidated damages,

attorneys’ fees, costs and other relief.

                                      COUNT XIV
                            Louisiana Unjust Enrichment
           (On Behalf of Plaintiff Harris and the Proposed Louisiana Class)

       683.    All previous Paragraphs are incorporated as though fully set forth herein.

       684.    The NCAA and the Louisiana-based Defendant received and benefited from

the uncompensated labors of Plaintiff Harris and the Proposed Louisiana Class such that to

retain said benefit without compensation would be inequitable and rise to the level of unjust

enrichment.

       685.    At all relevant times, the NCAA and the Louisiana-based Defendant devised

and implemented a plan to increase their earnings and profits by fostering a scheme of

securing work from Plaintiff Harris and the Proposed Louisiana Class without properly

paying compensation.


                                              -166-
                                                                www.StudentAthletePay.com
     Case 2:19-cv-05230-JP       Document 134       Filed 11/04/24     Page 174 of 180




       686.   Contrary to all good faith and fair dealing, the NCAA and the Louisiana-based

Defendant induced Plaintiff Harris and the Proposed Louisiana Class to perform work while

failing to properly compensate them for all hours worked as required by law.

       687.   By reason of having secured the work and efforts of Plaintiff Harris and the

Proposed Louisiana Class without proper compensation as required by law, the NCAA and

the Louisiana-based Defendant enjoyed reduced overhead with respect to their labor costs,

and therefore realized additional earnings and profits to their own benefit and to the

detriment of Plaintiff Harris and the Proposed Louisiana Class. The NCAA and the

Louisiana-based Defendant retained and continue to retain such benefits contrary to the

fundamental principles of justice, equity and good conscience.

       688.   Accordingly, Plaintiff Harris and the Proposed Louisiana Class are entitled to

judgment in an amount equal to the benefits unjustly retained by the NCAA and the

Louisiana-based Defendant.

                                     COUNT XV
                   Violations of the Arizona Minimum Wage Act
     (On Behalf of Plaintiffs Schoen, Snyder and the Proposed Arizona Class)

       689.   All previous Paragraphs are incorporated as though fully set forth herein.

       690.   The Minimum Wage provisions in the AMWA apply to the NCAA and the

Arizona-based Defendant and protect Plaintiff Schoen and the other members of the

Proposed Arizona Class.

       691.   The NCAA and the Arizona-based Defendant have been, and continue to be,

employers within the meaning of the AMWA , and to which the AMWA provisions apply.

       692.   Plaintiffs Schoen, Snyder and the other members of the Proposed Arizona

Class have been, and/or continue to be, employees of the NCAA and the Arizona-based

Defendant within the meaning of the AMWA.


                                            -167-
                                                                 www.StudentAthletePay.com
     Case 2:19-cv-05230-JP         Document 134     Filed 11/04/24    Page 175 of 180




       693.    The NCAA and the Arizona-based Defendant have jointly employed, and/or

continue to jointly employ, Plaintiff Schoen and the other members of the Proposed Arizona

Class within the meaning of the AMWA.

       694.    By operation of NCAA bylaws, the NCAA and the Arizona-based Defendant

have jointly agreed to engage in a widespread pattern, policy and practice of misclassifying

Plaintiffs Schoen, Snyder and the other members of the Proposed Arizona Class as unpaid

labor rather than employees, prohibiting payment of minimum wages to them for any, and

all, hours that the NCAA and the Arizona-based Defendant suffered or permitted Plaintiffs

Schoen, Snyder and the other members of the Proposed Arizona Class to perform work

integral to the billion dollar Big Business of NCAA sports.

       695.    The NCAA and the Arizona-based Defendant were aware, or should have been

aware, that Student Athletes, like fellow students in Work Study, fall within employee

status under the AMWA when the NCAA and the Arizona-based Defendant willfully chose

not to classify and pay Student Athletes as employees with reckless disregard of employer

duties under the AMWA.

       696.    Plaintiffs Schoen, Snyder and the members of the Proposed Arizona Class have

suffered damages, and are entitled to recovery of unpaid wages, liquidated damages,

attorneys’ fees, costs and other relief.

                                    COUNT XVI
                             Arizona Unjust Enrichment
      (On Behalf of Plaintiffs Schoen, Snyder and the Proposed Arizona Class)

       697.    All previous Paragraphs are incorporated as though fully set forth herein.

       698.    The NCAA and the Arizona-based Defendant received and benefited from the

uncompensated labors of Plaintiffs Schoen, Snyder and the Proposed Arizona Class such that




                                            -168-
                                                               www.StudentAthletePay.com
     Case 2:19-cv-05230-JP        Document 134       Filed 11/04/24     Page 176 of 180




to retain said benefit without compensation would be inequitable and rise to the level of

unjust enrichment.

       699.   At all relevant times, the NCAA and the Arizona-based Defendant devised

and implemented a plan to increase their earnings and profits by fostering a scheme of

securing work from Plaintiffs Schoen, Snyder and the Proposed Arizona Class without

properly paying compensation.

       700.   Contrary to all good faith and fair dealing, the NCAA and the Arizona-based

Defendant induced Plaintiffs Schoen, Snyder and the Proposed Arizona Class to perform

work while failing to properly compensate them for all hours worked as required by law.

       701.   By reason of having secured the work and efforts of Plaintiff Schoen and the

Proposed Arizona Class without proper compensation as required by law, the NCAA and the

Arizona-based Defendant enjoyed reduced overhead with respect to their labor costs, and

therefore realized additional earnings and profits to their own benefit and to the detriment

of Plaintiff Schoen, Snyder and the Proposed Arizona Class. The NCAA and the Arizona-

based Defendant retained and continue to retain such benefits contrary to the fundamental

principles of justice, equity and good conscience.

       702.   Accordingly, Plaintiffs Schoen, Snyder and the Proposed Arizona Class are

entitled to judgment in an amount equal to the benefits unjustly retained by the NCAA and

the Arizona-based Defendant.

                                   COUNT XVII
                  Violations of the Indiana Minimum Wage Law
     (On Behalf of Plaintiff Schmidt, Snyder and the Proposed Indiana Class)

       703.   All previous Paragraphs are incorporated as though fully set forth herein.




                                             -169-
                                                                www.StudentAthletePay.com
     Case 2:19-cv-05230-JP       Document 134       Filed 11/04/24    Page 177 of 180




       704.   The Minimum Wage provisions in the AMWA apply to the NCAA and the

Indiana-based Defendants and protect Plaintiffs Schmidt, Snyder and the other members of

the Proposed Indiana Class.

       705.   The NCAA and the Indiana-based Defendants have been, and continue to be,

employers within the meaning of the IMWL, and to which the IMWL provisions apply.

       706.   Plaintiffs Schmidt, Snyder and the other members of the Proposed Indiana

Class have been, and/or continue to be, employees of the NCAA and the Indiana-based

Defendants within the meaning of the IMWL.

       707.   The NCAA and the Indiana-based Defendants have jointly employed, and/or

continue to jointly employ, Plaintiffs Schmidt, Snyder and the other members of the

Proposed Indiana Class within the meaning of the IMWL.

       708.   By operation of NCAA bylaws, the NCAA and the Indiana-based Defendants

have jointly agreed to engage in a widespread pattern, policy and practice of misclassifying

Plaintiffs Schmidt, Snyder and the other members of the Proposed Indiana Class as unpaid

labor rather than employees, prohibiting payment of minimum wages to them for any, and

all, hours that NCAA and the Indiana-based Defendants suffered or permitted Plaintiffs

Schmidt, Snyder and the other members of the Proposed Indiana Class to perform work

integral to the billion dollar Big Business of NCAA sports.

       709.   The NCAA and the Indiana-based Defendants were aware, or should have

been aware, that Student Athletes, like fellow students in Work Study, fall within employee

status under the IMWL when the NCAA and the Indiana-based Defendants willfully chose

not to classify and pay Student Athletes as employees with reckless disregard of employer

duties under the IMWL.




                                            -170-
                                                               www.StudentAthletePay.com
     Case 2:19-cv-05230-JP         Document 134      Filed 11/04/24     Page 178 of 180




       710.    Plaintiffs Schmidt, Snyder and the members of the Proposed Indiana Class

have suffered damages, and are entitled to recovery of unpaid wages, liquidated damages,

attorneys’ fees, costs and other relief.

                                   COUNT XVIII
                             Indiana Unjust Enrichment
     (On Behalf of Plaintiffs Schmidt, Snyder and the Proposed Indiana Class)

       711.    All previous Paragraphs are incorporated as though fully set forth herein.

       712.    The NCAA and the Indiana-based Defendants received and benefited from the

uncompensated labors of Plaintiffs Schmidt, Snyder and the Proposed Indiana Class such that

to retain said benefit without compensation would be inequitable and rise to the level of

unjust enrichment.

       713.    At all relevant times, the NCAA and the Indiana-based Defendants devised

and implemented a plan to increase their earnings and profits by fostering a scheme of

securing work from Plaintiffs Schmidt, Snyder and the Proposed Indiana Class without

properly paying compensation.

       714.    Contrary to all good faith and fair dealing, the NCAA and the Indiana-based

Defendants induced Plaintiffs Schmidt, Snyder and the Proposed Indiana Class to perform

work while failing to properly compensate them for all hours worked as required by law.

       715.    By reason of having secured the work and efforts of Plaintiffs Schmidt, Snyder

and the Proposed Indiana Class without proper compensation as required by law, the NCAA

and the Indiana-based Defendants enjoyed reduced overhead with respect to their labor costs,

and therefore realized additional earnings and profits to their own benefit and to the

detriment of Plaintiffs Schmidt, Snyder and the Proposed Indiana Class. The NCAA and the

Indiana-based Defendants retained and continue to retain such benefits contrary to the

fundamental principles of justice, equity and good conscience.


                                             -171-
                                                                 www.StudentAthletePay.com
     Case 2:19-cv-05230-JP         Document 134         Filed 11/04/24      Page 179 of 180




        716.   Accordingly, Plaintiffs Schmidt, Snyder and the Proposed Indiana Class are

entitled to judgment in an amount equal to the benefits unjustly retained by the NCAA and

the Indiana-based Defendants.

                                    PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs seek the following relief on behalf of themselves and all

others similarly situated:

        (a)    An order certifying this litigation to proceed as an FLSA collective action
               pursuant to 29 U.S.C. 216(b);

        (b)    Prompt notice, pursuant to 29 U.S.C. 216(b), of this litigation to all potential
               members of the Proposed FLSA Collective;36

        (c)    An order certifying this litigation to proceed as a class action pursuant to
               Fed. R. Civ. P. 23 on behalf of the Proposed Pennsylvania Class, the Proposed
               New York Class, the Proposed Connecticut Class, the Proposed Oregon Class,
               the Proposed Oregon Class, the Proposed Louisiana Class, the Proposed
               Indiana Class, and the Proposed Indiana Class;

        (d)    Economic damages and prejudgment interest to the fullest extent permitted
               under the law;

        (e)    Disgorgement of any monies that have caused Defendants to become unjustly
               enriched;

        (f)    Non-economic damages, including compensatory and punitive damages, to
               the fullest extent permitted by law;

        (g)    Liquidated damages to the fullest extent permitted under the law;

        (h)    Litigation costs, expenses and attorneys’ fees to the fullest extent permitted
               under the law;

        (i)    A declaration that NCAA bylaws, as uniformly interpreted and applied by
               Defendants to prohibit the proper classification and compensation of Student
               Athletes, violate wage and hour laws; and



   36   Pursuant to the Family Educational Rights and Privacy Act, 20 U.S.C. § 1232g (“FERPA”),
a/k/a the Buckley Amendment, a student may require a school to not disclose certain “directory
information” to third parties, including information necessary to send notice to FLSA Class members
such as names; permanent home addresses and/ or temporary local or campus addresses; and email
addresses. To ensure FERPA compliance and efficient case management, Plaintiff requests that the
Court order Defendant NCAA member schools to send notice.

                                               -172-
                                                                    www.StudentAthletePay.com
    Case 2:19-cv-05230-JP        Document 134         Filed 11/04/24     Page 180 of 180




      (j)    Such other and further relief as this Court deems just and proper.

                                     JURY DEMAND

      Plaintiffs demand a jury trial on all triable claims and issues of fact.

Dated: November 4, 2024                        Respectfully submitted,

                                               WIGDOR LLP




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                                                    Proposed Counsel for the Members of
                                                    the Proposed FLSA Collective,
                                                    the Proposed Pennsylvania Class,
                                                    the Proposed New York Class,
                                                    the Proposed Connecticut Class,
                                                    the Proposed North Carolina Class,
                                                    the Proposed Oregon Class,
                                                    the Proposed Louisiana Class,
                                                    the Proposed Arizona Class, and
                                                    the Proposed Indiana Class.




                                            -173-
                                                                 www.StudentAthletePay.com
